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         Exhibit C
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                           IN THE UNITED STATES DISTRICT COURT
 7
                                 FOR THE DISTRICT OF ARIZONA
 8
 9     United States of America,                               CR-18-00422-PHX-SMB
10
                            Plaintiff,
11              vs.                                    UNITED STATES’ PROPOSED JURY
                                                               INSTRUCTIONS
12
       Michael Lacey, et al.,
13
14                          Defendants.
15
16         The United States submits the attached Proposed Jury Instructions, which includes both
17 parties’ proposed instructions. Where applicable, the instructions have been modified to fit
18 the facts of this case, as noted with an asterisk. In accordance with the Court’s guidance for
19 jury instructions, the full text of all requested instructions is included below and each proposed
20 instruction begins on a new page. Bracketed material remaining in the attached instructions
21 indicates areas needing clarification or input from the Court.
22         Section I contains model instructions. If the instruction is stipulated to by the parties
23 then it is preceded by “ST.” If only one party requests the instruction, then the instruction is
24 preceded by either “PL” (Plaintiff) or “DF” (Defendant). Section II contains non-model
25 instructions to which the parties have stipulated.         Section III contains the non-model
26 instructions requested by the United States. Section IV contains non-model instructions
27 requested by Defendants and the United States’ objections.
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 1    I.   MODEL INSTRUCTIONS
 2    1.   Preliminary Instructions
 3         ST    1.1    Duty of Jury
 4         PL    1.2    The Charge – Presumption of Innocence*
 5         DF    1.2    The Charge – Presumption of Innocence*
 6         ST    1.3    What Is Evidence*
 7         ST    1.4    What Is Not Evidence
 8         ST    1.5    Direct and Circumstantial Evidence
 9         ST    1.6    Ruling on Objections
10         ST    1.7    Credibility of Witnesses
11         ST    1.8    Conduct of the Jury
12         ST    1.9    No Transcript Available to Jury
13         ST    1.10   Taking Notes
14         ST    1.11   Outline of Trial
15         PL    1.13   Separate Consideration for Each Defendant
16         DF    1.13   Separate Consideration for Each Defendant
17         ST    1.16   Bench Conferences and Recesses
18    2.   Instructions In The Course Of Trial
19         ST    2.1    Cautionary Instruction – First Recess
20         ST    2.2    Stipulated Testimony [if necessary]
21         ST    2.3    Stipulations of Fact [if necessary]
22         ST    2.12   Evidence for Limited Purpose [if necessary]
23    3.   Instructions At End Of Case
24         ST    3.1    Duties of Jury to Find Facts and Follow Law
25         PL    3.2    Charge Against Defendant Not Evidence – Presumption of Innocence –
26                      Burden of Proof*
27         DF    3.2    Charge Against Defendant Not Evidence – Presumption of Innocence –
28                      Burden of Proof*

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 1         ST    3.3    Defendant’s Decision Not to Testify [if necessary]
 2         ST    3.4    Defendant’s Decision to Testify [if necessary]
 3         PL    3.5    Reasonable Doubt – Defined
 4         DF    3.5    Reasonable Doubt – Defined
 5         ST    3.6    What Is Evidence*
 6         ST    3.7    What Is Not Evidence*
 7         ST    3.8    Direct and Circumstantial Evidence
 8         ST    3.9    Credibility of Witnesses
 9         ST    3.10   Activities Not Charged*
10         PL    3.13   Separate Consideration of Multiple Counts—Multiple Defendants
11         DF    3.13   Separate Consideration of Multiple Counts—Multiple Defendants
12         ST    3.18   On or About—Defined*
13    4.   Consideration Of Particular Evidence
14         ST    4.9    Testimony of Witnesses Involving Special Circumstances—Immunity,
15                      Benefits, Accomplice, Plea*
16         ST    4.14   Opinion Evidence, Expert Witness*
17         ST    4.15   Dual Role Testimony*
18         ST    4.16   Charts and Summaries Not Admitted into Evidence [if necessary]
19         ST    4.17   Charts and Summaries Admitted into Evidence
20    5.   Responsibility
21         PL    5.7    Knowingly – Defined*
22         PL    5.8    Deliberate Ignorance*
23    6.   Specific Defenses
24         DF    6.10   Mere Presence*
25    7.   Jury Deliberations
26         ST    7.1    Duty to Deliberate
27         ST    7.2    Consideration of Evidence – Conduct of the Jury
28         ST    7.3    Use of Notes

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 1         ST    7.4    Jury Consideration of Punishment
 2         ST    7.5    Verdict Form
 3         ST    7.6    Communication With Court
 4    8.   Offenses Under Title 18
 5         PL    8.20   Conspiracy—Elements (Count 1)*
 6         DF    8.20   Conspiracy—Elements (Count 1)*
 7         DF    8.22   Multiple Conspiracies
 8         PL    8.23   Conspiracy—Knowledge of and Associated with Other Conspirators*
 9         DF    8.23   Conspiracy—Knowledge of and Associated with Other Conspirators*
10         PL    8.144 Travel Act—Interstate or Foreign Travel in Aid of Racketeering
11                      Enterprises*
12         DF    8.144 Travel Act—Interstate or Foreign Travel in Aid of Racketeering
13                      Enterprises*
14         PL    8.25   Conspiracy—Liability for Travel Act Violations Committed by Co-
15                      Conspirator (Pinkerton Charge)*
16         DF    8.25   Conspiracy—Liability for Travel Act Violations Committed by Co-
17                      Conspirator (Pinkerton Charge)*
18         PL    8.20   Conspiracy—Elements (Count 52)*
19         DF    8.20   Conspiracy—Elements (Count 52)*
20         PL    8.147 Laundering Monetary Instruments*
21         DF    8.147 Laundering Monetary Instruments*
22         PL    8.25   Conspiracy—Liability for Concealment Money Laundering Violations
23                      Committed by Co-Conspirator (Pinkerton Charge)*
24         DF    8.25   Conspiracy—Liability    for   International   Promotional   Money
25                      Laundering Violations Committed by Co-Conspirator (Pinkerton
26                      Charge)*
27         PL    8.148 Transporting Funds to Promote Unlawful Activity*
28         DF    8.148 Transporting Funds to Promote Unlawful Activity*

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 1           PL   8.25   Conspiracy—Liability     for   International   Promotional   Money
 2                       Laundering Violations Committed by Co-Conspirator (Pinkerton
 3                       Charge)*
 4           DF   8.25   Conspiracy—Liability     for   International   Promotional   Money
 5                       Laundering Violations Committed by Co-Conspirator (Pinkerton
 6                       Charge)*
 7           PL   8.150 Money Laundering*
 8           DF   8.150 Money Laundering*
 9           PL   8.149 Transporting Monetary Instruments for the Purpose of Laundering*
10           DF   8.149 Transporting Monetary Instruments for the Purpose of Laundering*
11           DF   8.22   Multiple Conspiracies*
12    II.    NON-MODEL STIPULATED INSTRUCTIONS
13    III.   NON-MODEL INSTRUCTIONS REQUESTED BY THE UNITED STATES
14           PL   “Business Enterprise” Defined
15           PL   “Uses Any Facility in Interstate Commerce” Defined
16           PL   “Facilitate” Defined
17           PL   Specific Intent Defined
18           PL   Proof of Knowledge or Intent
19           PL   State Law Need Not Be Violated for Defendants to Be Found Guilty Under the
20                Travel Act
21    IV.    NON-MODEL INSTRUCTIONS REQUESTED BY DEFENDANTS WITH
22           THE UNITED STATES’ OBJECTIONS
23           DF   Specific Intent
24           DF   Defendant’s Good Faith
25           DF   Defense Theory of the Case
26           DF   Conspiracy—Willfulness Defined
27           DF   First Amendment Protection—Protected Free Speech
28           DF   First Amendment Protection—Websites Hosting Third-Party Ads

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 1         DF    First Amendment Protection— “Adult” Services Are Legal
 2         DF    First Amendment Protection—Examples of Legal “Adult” Services
 3         DF    First Amendment Protection—Website Has the Right to Exercise Editorial
 4               Control and Judgment
 5         DF    First Amendment Protection—Offensive and Sexual Speech
 6         DF    First Amendment Protection—Speech Presumed Protected
 7         DF    First Amendment Protection—Ads Presumed Protected
 8         DF    First Amendment Protection—Coded Advertisement Language
 9         DF    First Amendment Protection—Government Cannot Punish Legal Speech to
10               Suppress Illegal Speech
11         DF    First Amendment Protection—Protected Publication of Third-Party Speech
12         DF    First Amendment Protection—No Requirement to Shut Down
13         DF    First Amendment Protection—No Requirement to Investigate
14         DF    First Amendment Protection—Publication Does Not Create Criminal
15               Culpability
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 1                                       1.1 DUTY OF JURY
 2           Jurors: You now are the jury in this case, and I want to take a few minutes to tell
 3    you something about your duties as jurors and to give you some preliminary instructions.
 4    At the end of the trial I will give you more detailed [written] instructions that will control
 5    your deliberations. When you deliberate, it will be your duty to weigh and to evaluate all
 6    the evidence received in the case and, in that process, to decide the facts. To the facts as
 7    you find them, you will apply the law as I give it to you, whether you agree with the law
 8    or not. You must decide the case solely on the evidence and the law before you. Perform
 9    these duties fairly and impartially. You should not be influenced by any person’s race,
10    color, religious beliefs, national ancestry, sexual orientation, gender identity, gender, or
11    economic circumstances. Also, do not allow yourself to be influenced by personal likes or
12    dislikes, sympathy, prejudice, fear, public opinion, or biases, including unconscious biases.
13    Unconscious biases are stereotypes, attitudes, or preferences that people may consciously
14    reject but may be expressed without conscious awareness, control, or intention. Like
15    conscious bias, unconscious bias can affect how we evaluate information and make
16    decisions.
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 1          UNITED STATES’ PROPOSED INSTRUCTION 1.2 THE CHARGE—
 2                              PRESUMPTION OF INNOCENCE
 3           This is a criminal case brought by the United States government. The United States
 4    charges Defendants with conspiracy, violations of the Travel Act, and money laundering.
 5    The charges against Defendants are contained in the indictment. The indictment 1 simply
 6    describes the charges the United States brings against Defendants. The indictment is not
 7    evidence and does not prove anything.
 8           Defendants have pleaded not guilty to the charges and are presumed innocent unless
 9    and until the United States proves Defendants guilty beyond a reasonable doubt. In
10    addition, Defendants have the right to remain silent and never have to prove innocence or
11    present any evidence.
12           In order to help you follow the evidence, I will now give you a brief summary of
13    the elements of the crimes that the United States must prove to make its case against each
14    charged defendant:
15           Count 1 is conspiracy—the three elements of conspiracy are as follows:
16           First, there was an agreement between two or more persons to commit at least one
17    Travel Act offense as charged in the indictment;
18           Second, the defendant became a member of the conspiracy knowing of at least one
19    of its objects, and intending to help accomplish it and
20           Third, one of the members of the conspiracy performed at least one overt act for the
21    purpose of carrying out the conspiracy.
22           Counts 2-51 are Travel Act counts—the two elements to support a Travel Act
23    conviction are as follows:
24           First, the defendant used the used the mail or any facility in interstate commerce with
25    the intent to promote, manage, establish, carry on, or facilitate the promotion, management,
26    establishment, or carrying on, of any business enterprise involving prostitution offenses in
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              All references to “indictment” in these instructions refer to the United States’
      superseding indictment (Doc. 230).
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 1    violation of the laws of the State in which they are committed or of the United States; and
 2             Second, after doing so the defendant performed or attempted to perform an act that
 3    did promote, manage, establish, carry on, or facilitate the promotion, management,
 4    establishment, or carrying on, of any business enterprise involving prostitution offenses.
 5             Further, you may find the defendants guilty of the Travel Act as charged in Counts 2-
 6    51 of the indictment if the United States has proved each of the following elements beyond
 7    a reasonable doubt:
 8             First, a member of the conspiracy committed the Travel Act offense as alleged in that
 9    count;
10             Second, the person was a member of the conspiracy charged in Count 1 of the
11    indictment;
12             Third, the person committed the Travel Act offense alleged in furtherance of the
13    conspiracy;
14             Fourth, the defendant was a member of the same conspiracy at the time the offense
15    charged in Counts 2-51 was committed; and
16             Fifth, the offense fell within the scope of the unlawful agreement and could
17    reasonably have been foreseen to be a necessary or natural consequence of the unlawful
18    agreement.
19             Count 52 is conspiracy to commit money laundering—the two elements of money
20    laundering conspiracy are as follows:
21             First, there was an agreement between two or more persons to commit at least one
22    crimes alleged in the money laundering conspiracy, and
23             Second, that the defendant became a member of the conspiracy knowing of at least
24    one of its objects and intending to help accomplish it.
25             Counts 53-62 are concealment money laundering—the three elements of concealment
26    money laundering are as follows:
27             First, the defendant conducted a financial transaction involving property that
28    represented the proceeds of promoting, managing, establishing, carrying on, or facilitating

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 1    the promotion, management, establishment, or carrying on, of any business enterprise
 2    involving prostitution offenses.
 3           Second, the defendant knew that the property represented the proceeds of some form
 4    of unlawful activity; and
 5           Third, the defendant knew that the transaction was designed in whole or in part to
 6    conceal and disguise the nature, the location, the source, the ownership, or the control of the
 7    proceeds of the specified unlawful activity.
 8           Counts 63-68 are international promotional money laundering—the two elements of
 9    international promotional money laundering are as follows:
10           First, the defendant transported money from a place in the United States to or through
11    a place outside the United States or to a place in the United States from or through a place
12    outside the United States; and
13           Second, the defendant acted with the intent to promote the carrying on of the specified
14    criminal activity in the indictment.
15           Counts 69-99 are transactional money laundering—the five elements of transactional
16    money laundering are as follows:
17           First, the defendant knowingly engaged or attempted to engage in a monetary
18    transaction;
19           Second, the defendant knew the transaction involved criminally derived property;
20           Third, the property had a value greater than $10,000;
21           Fourth, the property was, in fact, derived from specified unlawful activity, that is
22    promoting or facilitating the promotion of any business enterprise involving prostitution
23    offenses; and
24           Fifth, the transaction occurred in the United States.
25           Count 100 is international concealment money laundering—the three elements of
26    international concealment money laundering are as follows:
27           First, the defendant transported money from a place in the United States to or through
28    a place outside the United States;

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 1           Second, the defendant knew that the money represented the proceeds of promoting or
 2    facilitating the promotion of any business enterprise involving prostitution offenses; and
 3           Third, the defendant knew the transportation was designed in whole or in part to
 4    conceal or disguise the nature, location, source, ownership, or control of the proceeds of
 5    promoting or facilitating the promotion of any business enterprise involving prostitution
 6    offenses.
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 1                        DEFENDANTS’ PROPOSED INSTRUCTION
 2                    1.2 THE CHARGE—PRESUMPTION OF INNOCENCE
 3           This is a criminal case brought by the United States government. The government
 4    charges the defendants with conspiracy, violations of the Travel Act, and money
 5    laundering. The charges against the defendants are contained in the indictment. The
 6    indictment simply describes the charges the government brings against the defendants. The
 7    indictment is not evidence and does not prove anything.
 8           Each defendant has pleaded not guilty to all the charges and is presumed innocent
 9    unless the government proves that defendant guilty beyond a reasonable doubt. In addition,
10    each defendant has the right to remain silent and never has to prove innocence or present
11    any evidence.
12           In order to help you follow the evidence, I will now give you a brief summary of
13    the elements of the crimes that the government must prove to make its case against each
14    defendant:
15           Count 1 is conspiracy—the three elements of conspiracy are as follows:
16           First, beginning in or around 2004, and ending on or about April 2018, there was an
17    agreement between two or more persons to commit a violation of the Travel Act by
18    promoting, or facilitating the promotion of, prostitution offenses committed by a particular
19    business enterprise in violation of the laws of the State in which they are committed, as
20    charged in Count 1 of the indictment;
21           Second, that defendant became a member of the conspiracy knowing of at least one
22    of its illegal objects and with the specific intent of helping promote, or facilitate the
23    promotion of, prostitution offenses committed by a particular business enterprise in
24    violation of the laws of the State in which they are committed; and
25           Third, one of the members of the conspiracy performed at least one overt act on or
26    after March 28, 2013, for the purpose of carrying out the conspiracy. Without at least one
27    defendant’s overt act to specifically promote, or facilitate the promotion of, prostitution
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 1    offenses committed by a particular business enterprise in violation of the laws of the State
 2    in which they are committed, you cannot find a conspiracy.
 3           Counts 2-51 are Travel Act counts—the two elements to support a Travel Act
 4    conviction are as follows:
 5           First, that defendant used the mail or any facility in interstate commerce with the
 6    specific intent to promote, or facilitate the promotion of, the prostitution offenses
 7    committed by a particular business enterprise in violation of the laws of the State in which
 8    they were committed, as alleged in each Count; and
 9           Second, after doing so, that defendant performed an act to promote, or facilitate the
10    promotion of, the prostitution offenses committed by a particular business enterprise
11    associated with that particular ad specified in each Count.
12           Further, you may find a defendant guilty of violating the Travel Act as charged in
13    Counts 2-51 of the indictment if the government has proved each of the following elements
14    beyond a reasonable doubt:
15           First, a person named in Count 1 of the indictment committed the crime of violating
16    the Travel Act by promoting, or facilitating the promotion of, prostitution offenses
17    committed by a particular business enterprise in violation of the laws of the State in which
18    they are committed;
19           Second, the person named in Count 1 was a member of the conspiracy as charged
20    in Count 1 of the indictment;
21           Third, the person named in Count 1 committed the crime of promoting, or
22    facilitating the promotion of, prostitution offenses committed by a business enterprise in
23    furtherance of the conspiracy;
24           Fourth, the defendant was a member of the same conspiracy at the time the offenses
25    charged in Counts 2-51 were committed;
26           Fifth, the offense fell within the scope of the unlawful agreement and could
27    reasonably have been foreseen to be a necessary or natural consequence of the unlawful
28    agreement.

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 1           Count 52 is conspiracy to commit money laundering—the three elements of money
 2    laundering conspiracy are as follows:
 3           First, beginning in or around 2004, and ending on or about April 2018, there was an
 4    agreement between two or more persons to commit concealment money laundering in
 5    violation of Section 1956(a)(1)(B)(i), international promotional money laundering in
 6    violation of Section 1956(a)(2)(A), transactional money laundering in violation of Section
 7    1957(a), and international concealment money laundering in violation of Section
 8    1956(a)(2)(B)(i); and
 9           Second, a defendant became a member of the conspiracy to commit concealment,
10    international promotional, transactional, and international concealment money laundering
11    knowing of at least one of its illegal objects and with the specific intent to help commit one
12    or more of the substantive money laundering offenses charged (whose elements are listed
13    below); and
14           Third, one of the members of the conspiracy performed at least one overt act on or
15    after March 28, 2013, for the purpose of carrying out the conspiracy to commit
16    concealment, international promotional, transactional, and international concealment
17    money laundering.
18           Counts 53-62 are concealment money laundering—the three elements of
19    concealment money laundering are as follows:
20           First, the defendant conducted a financial transaction involving property that
21    represented the proceeds of the knowing and willful promotion, or facilitation of the
22    promotion of, prostitution offense of a particular business enterprise in violation of 18
23    U.S.C. § 1952(a)(3)(A), specifically (i) a business enterprise involved in at least one of the
24    fifty advertisements that is the subject of Counts 2 – 51 and (ii) a business enterprise for
25    which you found that Defendant guilty of promoting or facilitating the promotion of;
26           Second, the defendant knew that the property represented the proceeds of some form
27    of unlawful activity; and
28           Third, the defendant knew that the transaction was designed in whole or in part to

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 1    conceal and disguise the nature, the location, the source, the ownership, or the control of
 2    the proceeds of the specified unlawful activity.
 3           Counts 63-68 are international promotional money laundering—the two elements
 4    of international promotional money laundering are as follows:
 5           First, the defendant transported money from a place in the United States to or
 6    through a place outside the United States or to a place in the United States from or through
 7    a place outside the United States; and
 8           Second, the defendant acted with the intent to promote, or facilitate the promotion
 9    of, a particular business enterprise involving prostitution offenses in violation of 18 U.S.C.
10    § 1952(a)(3)(A), specifically (i) a business enterprise involved in at least one of the fifty
11    advertisements that is the subject of Counts 2 – 51 and (ii) a business enterprise for which
12    you found that defendant guilty of promoting or facilitating the promotion of.
13           Counts 69-99 are transactional money laundering—the five elements of
14    transactional money laundering are as follows:
15           First, the defendant knowingly engaged or attempted to engage in a monetary
16    transaction;
17           Second, the defendant knew the specific transaction charged involved specific
18    criminally derived property;
19           Third, the property had a value greater than $10,000;
20           Fourth, the property was, in fact, derived from the knowing and willful promotion,
21    or facilitation of the promotion of, the prostitution offenses committed by a particular
22    business enterprise in violation of 18 U.S.C. § 1952(a)(3)(A), specifically (i) a business
23    enterprise involved in at least one of the fifty advertisements that is the subject of Counts
24    2 – 51 and (ii) a business enterprise for which you found that Defendant guilty of promoting
25    or facilitating the promotion of; and
26           Fifth, the transaction occurred in the United States.
27           Count 100 is international concealment money laundering—the three elements of
28    international concealment money laundering are as follows:

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 1           First, the defendant transported money from a place in the United States to or
 2    through a place outside the United States;
 3           Second, the defendant knew that the money represented the proceeds of the knowing
 4    and willful promotion, or facilitation of the promotion of, the prostitution offenses
 5    committed by a particular business enterprise in violation of 18 U.S.C. § 1952(a)(3)(A),
 6    specifically (i) a business enterprise involved in at least one of the fifty advertisements that
 7    is the subject of Counts 2 – 51 and (ii) a business enterprise for which you found that
 8    defendant guilty of promoting or facilitating the promotion of; and
 9           Third, the defendant knew the transportation was designed in whole or in part to
10    conceal or disguise the nature, location, source, ownership, or control of the proceeds of
11    the knowing and willful promotion, or facilitation of the promotion of, the prostitution
12    offenses committed by a business enterprise in violation of 18 U.S.C. § 1952(a)(3)(A).
13
14                                      Supporting Authorities
15           See United States v. Lacey, et al. (D. Ariz.), Case No. 18-CR-00422-PHX-SMB,
16    Doc. No. 946 at 13 (Order denying motion to dismiss) (“[Defendants] were not indicted
17    for facilitating the amorphous notion of ‘prostitution.’ They were indicted for facilitating
18    (via publishing ads) on fifty distinct occasions where prostitutes, prostitution-related
19    businesses, or other groups were involved in the business of prostitution.”); see United
20    States v. Lacey, et al. (D. Ariz.), Case No. 18-CR-00422-PHX-SMB, Transcript of
21    December 4, 2020 Hearing (“And I think one of the key things in my reason for denying
22    the recusal is that this case is not about Backpage. Backpage was prosecuted in a separate
23    case, entered a plea in a separate case. This case is about these individual defendants and
24    whether they had specific knowledge of these ads as facilitating illegal activity.”).
25                               UNITED STATES’ OBJECTIONS
26           Defendants’ isolated quote from the Court’s May 4, 2020 Order denying their
27    Motion to Dismiss Indictment for Failure to Allege the Necessary Elements of the Travel
28    Act (Doc. 946) fails to support their proposed instruction. In disagreeing with Defendants’

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 1    assertion that the SI failed to identify the “unlawful activity” under the Travel Act that
 2    forms the basis for Travel Act charges, the Court wrote: “Based on the allegations here,
 3    Defendants are not charged with anything related to gambling, narcotics, bribery, extortion
 4    or arson. Rather, they are clearly charged with intending to facilitate and thereafter
 5    facilitating or attempting to facilitate businesses involved in prostitution. See 18 U.S.C.
 6    § 1952(b)(i)(1).” (Doc. 946 at 9; see also id. at 11 (“Additionally, and as noted, the ‘to
 7    wit: prostitution offenses’ language directs Defendants to which ‘unlawful activity’ is
 8    charged under each Travel Act count.”) (citing (Doc. 230 (“SI”)¶ 201).) Addressing the
 9    individual substantive Travel Act charges in Counts 2-51, the Court also observed that “the
10    SI alleges fifty instances where Defendants posted ads on Backpage.com to facilitate
11    specific individual prostitutes or pimps involved in the business of prostitution” and used
12    language that “almost identically mirrors the Travel Act’s text.” (Doc. 946 at 11, citing
13    SI¶¶ 200-201.) Later, rejecting Defendants’ suggestion that the SI indicted a “‘boundless
14    conspiracy’ to facilitate prostitution in general,” the Court wrote that “[s]uch a claim is
15    simply untrue” because Defendants “were not indicted for facilitating the amorphous
16    notion of ‘prostitution.’ They were indicted for facilitating (via publishing ads) on fifty
17    distinct occasions where prostitutes, prostitution-related businesses, or other groups were
18    involved in the business of prostitution.” (Doc. 946 at 13.) The Court went on to explain
19    that these fifty instances were part and parcel of “a continuous course of conduct where
20    Defendants facilitated ‘unlawful activity’ [including] numerous pimps, prostitutes and
21    traffickers in violation of the Travel Act.” (Doc. 946 at 13-14.)
22           Defendants’ proposed instruction incorporates many of the errors discussed in Part
23    I.8 (Offenses Under Title 18), below. These errors include, without limitation:
24    Count 1 – Conspiracy
25           -   In the first element, Defendants insist that a Travel Act violation must involve
26               “promoting, or facilitating the promotion of, prostitution offenses committed by
27               a particular business enterprise.” (emphasis added). The word “particular” is
28               unnecessary and confusing. The statute states that “unlawful activity” under the

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 1              Travel Act is defined as “any business enterprise involving . . . prostitution
 2              offenses in violation of the laws of the State in which they are committed or of
 3              the United States.” 18 U.S.C. § 1952(b)(i)(1). Unlike Defendants’ proposed
 4              instruction, the United States’ instruction tracks the statutory definition of
 5              “unlawful activity.” Moreover, this Court has recognized that “[i]nstead of
 6              alleging formal labels, what must be alleged for the ‘unlawful activity’ element
 7              under Section 1952(b)(i) are allegations showing ‘a continuous course of
 8              criminal conduct.’” (Doc. 946 at 10.)
 9          -   In the second element, Defendants add the word “illegal,” which is redundant
10              and not part of the Model Instruction. The first element in the Model Instruction
11              states, in pertinent part, “there was an agreement between two or more persons
12              to commit at least one crime as charged in the indictment,” while the second
13              element makes clear the crime requires that “the defendant became a member of
14              the conspiracy knowing of at least one of its objects and intending to help
15              accomplish it.” The word “illegal” doesn’t clarify any aspect of this crime and
16              shouldn’t be part of the instruction.
17          -   In the third element, Defendants again add language to the Model Instruction
18              that is unnecessary. The final sentence in the third element is redundant and
19              restates the language in the first element. Moreover, Defendants erroneously
20              state that the overt act must be performed by one of the defendants. Under
21              established law, any person who is a member of the conspiracy—a category of
22              persons not limited to Defendants—may perform the overt act. See Model
23              Instruction 8.20.
24    Counts 2-51 – Travel Act
25          -   Defendants’ proposed instruction includes, in the first three elements under the
26              Pinkerton theory of liability, that “a person named in Count 1” must have
27              committed the Travel Act violation. This instruction is too restrictive and does
28              not appropriately convey Pinkerton liability. For a defendant to be found guilty

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 1              at trial under a Pinkerton theory, the co-conspirator need not be named in the
 2              indictment. United States v. Carpenter, 961 F.2d 824, 828 n.3 (9th Cir. 1992)
 3              (“As an unindicted co-conspirator, Shahabian’s acts and statements in
 4              furtherance of the conspiracy may be attributed to Carpenter.”) (citing Pinkerton
 5              v. United States, 328 U.S. 640, 646-47 (1946)). Here, the Court has already
 6              recognized that Pinkerton liability extends to individuals not named in the
 7              Superseding Indictment. (Doc. 793 at 19) (discussing Pinkerton and fact that
 8              “C.F” was a co-conspirator of Defendants). See also United States v. Long, 301
 9              F.3d 1095, 1103 (9th Cir 2002) (“The Pinkerton doctrine is a judicially-created
10              rule that makes a conspirator criminally liable for the substantive offenses
11              committed by a co-conspirator when they are reasonably foreseeable and
12              committed in furtherance of the conspiracy.”). Both the applicable law and facts
13              support the Court instructing the jury using the United States’ proposed
14              instruction.
15    Count 52 – Conspiracy
16          -   Defendants’ proposed instruction includes an overt act requirement, which isn’t
17              part of a money laundering conspiracy. An overt act is not part of a money
18              laundering conspiracy. Whitfield v. United States, 543 U.S. 209, 210-11 (2005)
19              (“These cases present the question whether conviction for conspiracy to commit
20              money laundering, in violation of 18 U.S.C. § 1956(h), requires proof of an overt
21              act in furtherance of the conspiracy. We hold that it does not.”); id. at 214
22              (“Because the text of § 1956(h) does not expressly make the commission of an
23              overt act an element of the conspiracy offense, the Government need not prove
24              an overt act to obtain a conviction.”).
25    Counts 53-100 – Various Money Laundering Offenses
26          -   The parties’ proposed instructions are similar except Defendants propose
27              a much more stringent definition of the specified unlawful activity. As
28              this Court has previously recognized, that instruction is contrary to

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 1             governing law. “[T]he first money laundering statute that Defendants are
 2             indicted under does not require the Government to allege or prove the
 3             underlying offenses.” (Doc. 946 at 17.) See 18 U.S.C. § 1956(c)(1) (“the
 4             term ‘knowing that the property involved in a financial transaction
 5             represents the proceeds of some form of unlawful activity’ means that the
 6             person knew the property involved in the transaction represented
 7             proceeds from some form, though not necessarily which form, of activity
 8             that constitutes a felony.” (emphasis added)).
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 1                                  1.3 WHAT IS EVIDENCE
 2          The evidence you are to consider in deciding what the facts are consists of:
 3          (1) the sworn testimony of any witness; and
 4          (2) the exhibits that are received in evidence; and
 5          (3) any facts to which the parties agree.
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 1                                1.4 WHAT IS NOT EVIDENCE
 2           The following things are not evidence, and you must not consider them as
 3    evidence in deciding the facts of this case:
 4           (1) statements and arguments of the attorneys;
 5           (2) questions and objections of the attorneys;
 6           (3) testimony that I instruct you to disregard; and
 7           (4) anything you may see or hear when the court is not in session even if what you
 8    see or hear is done or said by one of the parties or by one of the witnesses.
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 1                    1.5 DIRECT AND CIRCUMSTANTIAL EVIDENCE
 2           Evidence may be direct or circumstantial. Direct evidence is direct proof of a fact,
 3    such as testimony by a witness about what that witness personally saw or heard or did.
 4    Circumstantial evidence is indirect evidence, that is, it is proof of one or more facts from
 5    which one can find another fact.
 6           You are to consider both direct and circumstantial evidence. Either can be used to
 7    prove any fact. The law makes no distinction between the weight to be given to either direct
 8    or circumstantial evidence. It is for you to decide how much weight to give to any evidence.
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 1                                1.6 RULING ON OBJECTIONS
 2           There are rules of evidence that control what can be received in evidence. When a
 3    lawyer asks a question or offers an exhibit in evidence and a lawyer on the other side thinks
 4    that it is not permitted by the rules of evidence, that lawyer may object. If I overrule the
 5    objection, the question may be answered or the exhibit received. If I sustain the objection,
 6    the question cannot be answered, or the exhibit cannot be received. Whenever I sustain an
 7    objection to a question, you must ignore the question and must not guess what the answer
 8    would have been.
 9           Sometimes I may order that evidence be stricken from the record and that you
10    disregard or ignore the evidence. That means that when you are deciding the case, you must
11    not consider the evidence that I told you to disregard.
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 1                               1.7 CREDIBILITY OF WITNESSES
 2            In deciding the facts in this case, you may have to decide which testimony to believe
 3    and which testimony not to believe. You may believe everything a witness says, or part of
 4    it, or none of it.
 5            In considering the testimony of any witness, you may take into account:
 6            (1) the witness’s opportunity and ability to see or hear or know the things testified
 7    to;
 8            (2) the witness’s memory;
 9            (3) the witness’s manner while testifying;
10            (4) the witness’s interest in the outcome of the case, if any;
11            (5) the witness’s bias or prejudice, if any;
12            (6) whether other evidence contradicted the witness’s testimony;
13            (7) the reasonableness of the witness’s testimony in light of all the evidence; and
14            (8) any other factors that bear on believability.
15            You must avoid bias, conscious or unconscious, based on a witness’s race, color,
16    religious beliefs, national ancestry, sexual orientation, gender identity, gender, or economic
17    circumstances in your determination of credibility.
18            The weight of the evidence as to a fact does not necessarily depend on the number
19    of witnesses who testify about it. What is important is how believable the witnesses are,
20    and how much weight you think their testimony deserves.
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 1                                 1.8 CONDUCT OF THE JURY
 2           I will now say a few words about your conduct as jurors.
 3           First, keep an open mind throughout the trial, and do not decide what the verdict
 4    should be until you and your fellow jurors have completed your deliberations at the end of
 5    the case.
 6           Second, because you must decide this case based only on the evidence received in
 7    the case and on my instructions as to the law that applies, you must not be exposed to any
 8    other information about the case or to the issues it involves during the course of your jury
 9    duty. Thus, until the end of the case or unless I tell you otherwise:
10           Do not communicate with anyone in any way and do not let anyone else
11    communicate with you in any way about the merits of the case or anything to do with it.
12    This restriction includes discussing the case in person, in writing, by phone or electronic
13    means, via email, via text messaging, or any Internet chat room, blog, website or
14    application, including but not limited to Facebook, YouTube, Twitter, Instagram,
15    LinkedIn, Snapchat, or any other forms of social media. This restriction also applies to
16    communicating with your fellow jurors until I give you the case for deliberation, and it
17    applies to communicating with everyone else including your family members, your
18    employer, the media or press, and the people involved in the trial, although you may notify
19    your family and your employer that you have been seated as a juror in the case, and how
20    long you expect the trial to last. But, if you are asked or approached in any way about your
21    jury service or anything about this case, you must respond that you have been ordered not
22    to discuss the matter. In addition, you must report the contact to the court.
23           Because you will receive all the evidence and legal instruction you properly may
24    consider to return a verdict: do not read, watch, or listen to any news or media accounts or
25    commentary about the case or anything to do with it; do not do any research, such as
26    consulting dictionaries, searching the Internet or using other reference materials; and do
27    not make any investigation or in any other way try to learn about the case on your own. Do
28    not visit or view any place discussed in this case, and do not use Internet programs or other

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 1    devices to search for or view any place discussed during the trial. Also, do not do any
 2    research about this case, the law, or the people involved—including the parties, the
 3    witnesses or the lawyers—until you have been excused as jurors. If you happen to read or
 4    hear anything touching on this case in the media, turn away and report it to me as soon as
 5    possible.
 6           These rules protect each party’s right to have this case decided only on evidence
 7    that has been presented here in court. Witnesses here in court take an oath to tell the truth,
 8    and the accuracy of their testimony is tested through the trial process. If you do any research
 9    or investigation outside the courtroom, or gain any information through improper
10    communications, then your verdict may be influenced by inaccurate, incomplete or
11    misleading information that has not been tested by the trial process. Each of the parties is
12    entitled to a fair trial by an impartial jury, and if you decide the case based on information
13    not presented in court, you will have denied the parties a fair trial. Remember, you have
14    taken an oath to follow the rules, and it is very important that you follow these rules.
15           A juror who violates these restrictions jeopardizes the fairness of these proceedings
16    [, and a mistrial could result that would require the entire trial process to start over]. If any
17    juror is exposed to any outside information, please notify the court immediately.
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 1                        1.9 NO TRANSCRIPT AVAILABLE TO JURY
 2           At the end of the trial you will have to make your decision based on what you recall
 3    of the evidence. You will not have a written transcript of the trial. I urge you to pay close
 4    attention to the testimony as it is given.
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 1                                     1.10 TAKING NOTES
 2           If you wish, you may take notes to help you remember the evidence. If you do take
 3    notes, please keep them to yourself until you and your fellow jurors go to the jury room to
 4    decide the case. Do not let note-taking distract you from being attentive. When you leave
 5    court for recesses, your notes should be left in the [courtroom] [jury room] [envelope in
 6    the jury room]. No one will read your notes.
 7           Whether or not you take notes, you should rely on your own memory of the
 8    evidence. Notes are only to assist your memory. You should not be overly influenced by
 9    your notes or those of your fellow jurors.
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 1                                   1.11 OUTLINE OF TRIAL
 2           The next phase of the trial will now begin. First, each side may make an opening
 3    statement. An opening statement is not evidence. It is simply an outline to help you
 4    understand what that party expects the evidence will show. A party is not required to make
 5    an opening statement.
 6           The United States will then present evidence and counsel for Defendants may cross-
 7    examine. Then, if Defendants choose to offer evidence, counsel for the United States may
 8    cross-examine.
 9           After the evidence has been presented, [I will instruct you on the law that applies to
10    the case and the attorneys will make closing arguments] [the attorneys will make closing
11    arguments and I will instruct you on the law that applies to the case].
12           After that, you will go to the jury room to deliberate on your verdict.
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 1           UNITED STATES’ PROPOSED INSTRUCTION 1.13 -- SEPARATE
 2                       CONSIDERATION FOR EACH DEFENDANT
 3           Although the defendants are being tried together, you must give separate
 4    consideration to each defendant. In doing so, you must determine which evidence in the
 5    case applies to each defendant, disregarding any evidence admitted solely against some
 6    other defendant[s]. The fact that you may find one of the defendants guilty or not guilty
 7    should not control your verdict as to any other defendant.
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 1                       DEFENDANTS’ PROPOSED 1.13 INSTRUCTION
 2           Although the defendants are being tried together, you must give separate
 3    consideration to each defendant. In doing so, you must determine which evidence in the
 4    case applies to each defendant, disregarding any evidence admitted solely against some
 5    other defendant[s]. The fact that you may find one of the defendants guilty or not guilty
 6    should not control your verdict as to any other defendant.
 7           Only the defendants are on trial. Backpage.com is not on trial. You must evaluate
 8    the evidence as to each individual defendant, and not as to Backpage.com or any other
 9    person.
10                                     Supporting Authorities
11           Ninth Circuit Manual of Model Criminal Jury Instructions 1.13 (online versions of
12    May 25, 2021); see United States v. Lacey, et al. (D. Ariz), Case No. 18-CR-00422-PHX-
13    SMB, Transcript of December 4, 2020 Hearing (“And I think one of the key things in my
14    reason for denying the recusal is that this case is not about Backpage. Backpage was
15    prosecuted in a separate case, entered a plea in a separate case. This case is about these
16    individual defendants and whether they had specific knowledge of these ads as facilitating
17    illegal activity.”).
18                               UNITED STATES’ OBJECTIONS
19           Defendants propose the same 1.13 instruction as the United States, but add an extra
20    paragraph at the end. The United States objects.
21           First, this extra language is unnecessary. The Model instruction aptly sets forth the
22    law as it should be applied by the jury. Second, the added language is confusing. While
23    it’s true that Backpage.com is not a defendant at trial (because it already pleaded guilty),2
24    it is also true that the six defendants created, and at relevant times owned, controlled,
25    managed, and oversaw the website’s operations. As the Superseding Indictment alleges:
26    “The website www.backpage.com (‘Backpage’) was, until being shut down by federal law
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                 United States v. Backpage.com, LLC, CR-18-465-PHX-DJH at Doc. 8-2.
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 1    enforcement authorities in April 2018, notorious for being the internet’s leading source of
 2    prostitution advertisements.” (SI¶ 1.)
 3           “Backpage was created in 2004 by defendant Michael Lacey (“LACEY”),
 4    defendant James Larkin (“LARKIN”), and third individual, C.F. From 2004-15, LACEY
 5    and LARKIN oversaw the website’s policies and strategic direction. Additionally, LACEY
 6    and LARKIN retained significant control over the website (and continued receiving tens
 7    of millions of dollars of Backpage-related distributions) after purportedly selling their
 8    interests in Backpage in 2015.” (SI¶ 2.)
 9          “Defendant SCOTT SPEAR served as the Executive Vice President of one of
10    Backpage’s parent companies and held, at times, an ownership interest in Backpage of
11    approximately 4%.” (SI¶ 3.)
12          “Defendant JOHN “JED” BRUNST (“BRUNST”) served as the Chief Financial
13    Officer of Backpage and several of Backpage’s parent companies and held, at times, an
14    ownership interest in Backpage of approximately 6%.” (SI¶ 4.)
15          “Defendant ANDREW PADILLA (“PADILLA”) served as Backpage’s Operations
16    Manager.” (SI¶ 5.)
17          “Defendant JOYE VAUGHT (“VAUGHT”) served as Backpage’s assistant
18    Operations Manager.” (SI¶ 6.)
19          In short, while Backpage.com isn’t on trial, the remaining defendants owned,
20    managed, or operated the website, and they were largely responsible for the website’s
21    strategic business decisions. The jury should be permitted to evaluate the evidence and
22    make a determination about whether each individual defendant is guilty of crimes alleged
23    against them in the SI. Part of that evaluation will be determining each individual
24    defendant’s culpability in managing, owning, or operating Backpage.com.
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 1                      1.16 BENCH CONFERENCES AND RECESSES
 2           During the trial, I may need to take up legal matters with the attorneys privately,
 3    either by having a conference at the bench when the jury is present in the courtroom, or by
 4    calling a recess. Please understand that while you are waiting, we are working. The purpose
 5    of these conferences is not to keep relevant information from you, but to decide how certain
 6    evidence is to be treated under the rules of evidence and to avoid confusion and error.
 7           Of course, we will do what we can to keep the number and length of these
 8    conferences to a minimum. I may not always grant an attorney’s request for a conference.
 9    Do not consider my granting or denying a request for a conference as any indication of my
10    opinion of the case or what your verdict should be.
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 1                    2.1 CAUTIONARY INSTRUCTION—FIRST RECESS
 2           At the End of Each Day of the Case:
 3           As I indicated before this trial started, you as jurors will decide this case based solely
 4    on the evidence presented in this courtroom. This means that, after you leave here for the
 5    night, you must not conduct any independent research about this case, the matters in the
 6    case, the legal issues in the case, or the individuals or other entities involved in the case.
 7    This is important for the same reasons that jurors have long been instructed to limit their
 8    exposure to traditional forms of media information such as television and newspapers. You
 9    also must not communicate with anyone, in any way, about this case. And you must ignore
10    any information about the case that you might see while browsing the internet or your
11    social media feeds.
12           At the Beginning of Each Day of the Case:
13           As I reminded you yesterday and continue to emphasize to you today, it is important
14    that you decide this case based solely on the evidence and the law presented here. So you
15    must not learn any additional information about the case from sources outside the
16    courtroom. To ensure fairness to all parties in this trial, I will now ask each of you whether
17    you have learned about or shared any information about this case outside of this courtroom,
18    even if it was accidental.
19    [ALTERNATIVE 1 (in open court): if you think that you might have done so, please let
20    me know now by raising your hand. [Wait for a show of hands]. I see no raised hands;
21    however, if you would prefer to talk to the court privately in response to this question,
22    please notify a member of the court’s staff at the next break. Thank you for your careful
23    adherence to my instructions.]
24    [ALTERNATIVE 2 (during voir dire with each juror, individually): Have you learned
25    about or shared any information about this case outside of this courtroom? . . . Thank you
26    for your careful adherence to my instructions.]
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 1                               2.2 STIPULATED TESTIMONY
 2                                         [if necessary]
 3           The parties have agreed what [name of witness]’s testimony would be if called as a
 4    witness. You should consider that testimony in the same way as if it had been given here
 5    in court.
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 1                               2.3 STIPULATIONS OF FACT
 2                                          [if necessary]
 3          The parties have agreed to certain facts that have been stated to you. Those facts are
 4    now conclusively established.
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 1                         2.12 EVIDENCE FOR LIMITED PURPOSE
 2                                         [if necessary]
 3          You are about to hear evidence that [describe evidence to be received for limited
 4    purpose]. I instruct you that this evidence is admitted only for the limited purpose of
 5    [describe purpose] and, therefore, you must consider it only for that limited purpose and
 6    not for any other purpose.
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 1                 3.1 DUTIES OF JURY TO FIND FACTS AND FOLLOW LAW
 2           Members of the jury, now that you have heard all the evidence, it is my duty to
 3    instruct you on the law that applies to this case. A copy of these instructions will be
 4    available in the jury room for you to consult.
 5           It is your duty to weigh and to evaluate all the evidence received in the case and, in
 6    that process, to decide the facts. It is also your duty to apply the law as I give it to you to
 7    the facts as you find them, whether you agree with the law or not. You must decide the
 8    case solely on the evidence and the law. Do not allow personal likes or dislikes, sympathy,
 9    prejudice, fear, or public opinion to influence you. You should also not be influenced by
10    any person’s race, color, religious beliefs, national ancestry, sexual orientation, gender
11    identity, gender, economic circumstances 3 [, profession, occupation, celebrity, or position
12    in life or in the community]. You will recall that you took an oath promising to do so at the
13    beginning of the case.
14           You must follow all these instructions and not single out some and ignore others;
15    they are all important. Please do not read into these instructions or into anything I may have
16    said or done any suggestion as to what verdict you should return—that is a matter entirely
17    up to you.
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                 Modified to conform with the language in Model Criminal Jury Instruction 1.1.
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 1        UNITED STATES’ PROPOSED INSTRUCTION 3.2 CHARGE AGAINST
 2    DEFENDANT NOT EVIDENCE—PRESUMPTION OF INNOCENCE—BURDEN
 3                                          OF PROOF
 4          The indictment is not evidence. The defendants have pleaded not guilty to the
 5    charges. The defendants are presumed to be innocent unless and until the United States
 6    proves the defendants guilty beyond a reasonable doubt. In addition, the defendants do not
 7    have to testify or present any evidence. The defendants do not have to prove innocence;
 8    the United States has the burden of proving every element of the charges beyond a
 9    reasonable doubt.
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 1                      DEFENDANTS’ PROPOSED 3.2 INSTRUCTION
 2           I instruct you that you must presume each defendant to be innocent of the crimes
 3    charged. The indictment is not evidence. Each defendant has pleaded not guilty to the
 4    charges. Each defendant is presumed to be innocent unless the government proves him or
 5    her guilty beyond a reasonable doubt. The defendants do not have to testify or present any
 6    evidence. The defendants do not have to prove innocence. Thus, each defendant, although
 7    accused of crimes in the indictment, begins the trial with a “clean slate”—with no evidence
 8    against him or her.
 9           The indictment, as you already know, is not evidence of any kind. The defendants
10    are, of course, not on trial for any act or crime not contained in the indictment. The law
11    permits nothing but legal evidence presented before the jury in court to be considered in
12    support of any charge against a defendant. The presumption of innocence alone, therefore,
13    is sufficient to acquit each defendant.
14           The government has the burden of proving every element of each charge beyond a
15    reasonable doubt for each defendant. The burden is always upon the prosecution to prove
16    guilt beyond a reasonable doubt. This burden never shifts to a defendant for the law never
17    imposes upon a defendant in a criminal case the burden or duty of calling any witnesses or
18    producing any evidence. The defendant is not even obligated to produce any evidence by
19    cross-examining the witnesses for the government.
20
21                                       Supporting Authorities
22           Ninth Circuit Manual of Model Criminal Jury Instructions 3.2 (2021); 1A Fed. Jury
23    Prac. & Instr. § 12:10 (6th ed.), 1A Fed. Jury Prac. & Instr. § 12:10 (6th ed.).
24
25                               UNITED STATES’ OBJECTIONS
26           Defendants propose an alternative 3.2 Instruction. The United States believes the
27    Model Instruction is sufficient.
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 1                     3.3 DEFENDANT’S DECISION NOT TO TESTIFY
 2                                            [if necessary]
 3           A defendant in a criminal case has a constitutional right not to testify. In arriving at
 4    your verdict, the law prohibits you from considering in any manner that the defendant did
 5    not testify.
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 1                       3.4 DEFENDANT’S DECISION TO TESTIFY
 2                                        [if necessary]
 3          The defendant has testified. You should treat this testimony just as you would the
 4    testimony of any other witness.
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 1                      UNITED STATES’ PROPOSED INSTRUCTION 3.5
 2                              REASONABLE DOUBT—DEFINED
 3             Proof beyond a reasonable doubt is proof that leaves you firmly convinced the
 4    defendant is guilty. It is not required that the United States prove guilt beyond all possible
 5    doubt.
 6             A reasonable doubt is a doubt based upon reason and common sense and is not based
 7    purely on speculation. It may arise from a careful and impartial consideration of all the
 8    evidence, or from lack of evidence.
 9             If after a careful and impartial consideration of all the evidence, you are not
10    convinced beyond a reasonable doubt that the defendant is guilty, it is your duty to find the
11    defendant not guilty. On the other hand, if after a careful and impartial consideration of all
12    the evidence, you are convinced beyond a reasonable doubt that the defendant is guilty, it
13    is your duty to find the defendant guilty.
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 1                        DEFENDANTS’ PROPOSED 3.5 INSTRUCTION
 2             Proof beyond a reasonable doubt is proof that leaves you firmly convinced a
 3    defendant is guilty. It is not required that the government prove guilt beyond all possible
 4    doubt.
 5             A reasonable doubt is a doubt based upon reason and common sense—the kind of
 6    doubt that would make a reasonable person hesitate to act—and is not based purely on
 7    speculation. It may arise from a careful and impartial consideration of all the evidence, or
 8    from lack of evidence.
 9             Unless the government proves, beyond a reasonable doubt, that a defendant has
10    committed each and every element of the offenses charged in the indictment, and that a
11    defendant acted with criminal intend and lacked good faith, you must find that defendant
12    not guilty of the offenses. If you view the evidence in the case as reasonably permitting
13    either of two conclusions—one of innocence, the other of guilt—the jury must, of course,
14    adopt the conclusion of innocence.
15
16                                      Supporting Authorities
17             Ninth Circuit Manual of Model Criminal Jury Instructions 3.5 (2021); 1A Fed. Jury
18    Prac. & Instr. § 12:10 (6th ed.), 1A Fed. Jury Prac. & Instr. § 12:10 (6th ed.).
19
20                                UNITED STATES’ OBJECTIONS
21             Defendants propose an alternative 3.5 Instruction that provides additional language
22    beyond the Model Instruction. This added language to the instruction is unnecessary based
23    on the additional instructions the Court will provide on the elements of the charged crimes.
24    The Model Instruction is appropriate.
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 1                                  3.6 WHAT IS EVIDENCE
 2          The evidence you are to consider in deciding what the facts are consists of:
 3          (1) the sworn testimony of any witness; and
 4          (2) the exhibits that are received in evidence; and
 5          (3) any facts to which the parties agree.
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 1                                3.7 WHAT IS NOT EVIDENCE
 2           The following things are not evidence, and you must not consider them as
 3    evidence in deciding the facts of this case:
 4           (1) statements and arguments of the attorneys;
 5           (2) questions and objections of the attorneys;
 6           (3) testimony that I instruct you to disregard; and
 7           (4) anything you may see or hear when the court is not in session even if what you
 8    see or hear is done or said by one of the parties or by one of the witnesses.
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 1                    3.8 DIRECT AND CIRCUMSTANTIAL EVIDENCE
 2           Evidence may be direct or circumstantial. Direct evidence is direct proof of a fact,
 3    such as testimony by a witness about what that witness personally saw or heard or did.
 4    Circumstantial evidence is indirect evidence, that is, it is proof of one or more facts from
 5    which one can find another fact.
 6           You are to consider both direct and circumstantial evidence. Either can be used to
 7    prove any fact. The law makes no distinction between the weight to be given to either direct
 8    or circumstantial evidence. It is for you to decide how much weight to give to any evidence.
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 1                               3.9 CREDIBILITY OF WITNESSES
 2            In deciding the facts in this case, you may have to decide which testimony to believe
 3    and which testimony not to believe. You may believe everything a witness says, or part of
 4    it, or none of it.
 5            In considering the testimony of any witness, you may take into account:
 6            (1) the witness’s opportunity and ability to see or hear or know the things testified
 7    to;
 8            (2) the witness’s memory;
 9            (3) the witness’s manner while testifying;
10            (4) the witness’s interest in the outcome of the case, if any;
11            (5) the witness’s bias or prejudice, if any;
12            (6) whether other evidence contradicted the witness’s testimony;
13            (7) the reasonableness of the witness’s testimony in light of all the evidence; and
14            (8) any other factors that bear on believability.
15            Sometimes a witness may say something that is not consistent with something else
16    he or she said. Sometimes different witnesses will give different versions of what
17    happened. People often forget things or make mistakes in what they remember. Also, two
18    people may see the same event but remember it differently. You may consider these
19    differences, but do not decide that testimony is untrue just because it differs from other
20    testimony.
21            However, if you decide that a witness has deliberately testified untruthfully about
22    something important, you may choose not to believe anything that witness said. On the
23    other hand, if you think the witness testified untruthfully about some things but told the
24    truth about others, you may accept the part you think is true and ignore the rest.
25            The weight of the evidence as to a fact does not necessarily depend on the number
26    of witnesses who testify. What is important is how believable the witnesses were, and how
27    much weight you think their testimony deserves.
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 1                             3.10 ACTIVITIES NOT CHARGED
 2          You are here only to determine whether the defendants are guilty or not guilty of
 3    the charges in the indictment. The defendants are not on trial for any conduct or offense
 4    not charged in the indictment.
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 1             UNITED STATES’ PROPOSED INSTRUCTION 3.13 SEPARATE
 2       CONSIDERATION OF MULTIPLE COUNTS—MULTIPLE DEFENDANTS
 3           A separate crime is charged against one or more of the defendants in each count.
 4    The charges have been joined for trial. You must decide the case of each defendant on each
 5    crime charged against that defendant separately. Your verdict on any count as to any
 6    defendant should not control your verdict on any other count or as to any other defendant.
 7           All the instructions apply to each defendant and to each count unless a specific
 8    instruction states that it applies only to a specific defendant or count.
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 1                      DEFENDANTS’ PROPOSED 3.13 INSTRUCTION
 2           A separate crime is charged against one or more of the defendants in each count.
 3    The charges have been joined for trial. You must decide the case of each defendant on each
 4    crime charged against that defendant separately. Your verdict on any count as to any
 5    defendant should not control your verdict on any other count or as to any other defendant.
 6           All the instructions apply to each defendant and to each count unless a specific
 7    instruction states that it applies only to a specific defendant or count.
 8           Only the defendants are on trial. Backpage.com is not on trial. You must evaluate
 9    the evidence as to each individual defendant, not as to Backpage.com or any other person.
10
11                                      Supporting Authorities
12           Ninth Circuit Manual of Model Criminal Jury Instructions 3.13 (2021); see United
13    States v. Lacey, et al. (D. Ariz.), Case No. 18-CR-00422-PHX-SMB, Doc. No. 946 at 13
14    (Order denying motion to dismiss) (“[Defendants] were not indicted for facilitating the
15    amorphous notion of ‘prostitution.’ They were indicted for facilitating (via publishing ads)
16    on fifty distinct occasions where prostitutes, prostitution-related businesses, or other
17    groups were involved in the business of prostitution.”); see United States v. Lacey, et al.
18    (D. Ariz.), Case No. 18-CR-00422-PHX-SMB, Transcript of December 4, 2020 Hearing
19    (“And I think one of the key things in my reason for denying the recusal is that this case is
20    not about Backpage. Backpage was prosecuted in a separate case, entered a plea in a
21    separate case. This case is about these individual defendants and whether they had specific
22    knowledge of these ads as facilitating illegal activity.”).
23                               UNITED STATES’ OBJECTIONS
24           Defendants propose the same 3.13 instruction as the United States, but add an extra
25    paragraph at the end. The United States objects for the same reasons set forth in its
26    objection to Defendants’ proposed instruction 1.13.
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 1                               3.18 ON OR ABOUT—DEFINED*
 2           The indictment charges that the offenses alleged in Counts 2-51, 53-100, was
 3    committed “on or about” a certain date.
 4           Although it is necessary for the United States to prove beyond a reasonable doubt
 5    that the offenses were committed on a date reasonably near the date alleged in Counts 2-
 6    51, 53-100 the indictment, it is not necessary for the United States to prove that the offense
 7    was committed precisely on the date charged.
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 1                4.9 TESTIMONY OF WITNESSES INVOLVING SPECIAL
 2         CIRCUMSTANCES—IMMUNITY, BENEFITS, ACCOMPLICE, PLEA*
 3           You have heard testimony from Carl Ferrer and Dan Hyer, witnesses who pleaded
 4    guilty to a crime arising out of the same events for which the defendants are on trial. This
 5    guilty plea is not evidence against the defendants, and you may consider it only in
 6    determining the witnesses’ believability.
 7           For these reasons, in evaluating the testimony of Carl Ferrer and Dan Hyer, you
 8    should consider the extent to which or whether their testimony may have been influenced
 9    by the fact that they have already pleaded guilty. In addition, you should examine the
10    testimony of Carl Ferrer and Dan Hyer with greater caution than that of other witnesses.
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 1                       4.14 OPINION EVIDENCE, EXPERT WITNESS
 2           You [have heard] [are about to hear] testimony from [name] who [testified] [will
 3    testify] to opinions and the reasons for [his] [her] opinions. This opinion testimony is
 4    allowed because of the education or experience of this witness.
 5           Such opinion testimony should be judged like any other testimony. You may accept
 6    it or reject it, and give it as much weight as you think it deserves, considering the witness’s
 7    education and experience, the reasons given for the opinion, and all the other evidence in
 8    the case.
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 1                                4.15 DUAL ROLE TESTIMONY
 2           You [have heard] [are about to hear] testimony from [name] who [testified] [will
 3    testify] to both facts and opinions and the reasons for [his] [her] opinions.
 4           Fact testimony is based on what the witness saw, heard or did. Opinion testimony is
 5    based on the education or experience of the witness.
 6           As to the testimony about facts, it is your job to decide which testimony to believe
 7    and which testimony not to believe. You may believe everything a witness says, or part of
 8    it, or none of it. [Take into account the factors discussed earlier in these instructions that
 9    were provided to assist you in weighing the credibility of witnesses.]
10           As to the testimony about the witness's opinions, this opinion testimony is allowed
11    because of the education or experience of this witness. Opinion testimony should be judged
12    like any other testimony. You may accept all of it, part of it, or none of it. You should give
13    it as much weight as you think it deserves, considering the witness's education and
14    experience, the reasons given for the opinion, and all the other evidence in the case.
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 1         4.16 CHARTS AND SUMMARIES NOT ADMITTED INTO EVIDENCE
 2          During the trial, certain charts and summaries were shown to you in order to help
 3    explain the evidence in the case. These charts and summaries were not admitted into
 4    evidence and will not go into the jury room with you. They are not themselves evidence
 5    or proof of any facts. If they do not correctly reflect the facts or figures shown by the
 6    evidence in the case, you should disregard these charts and summaries and determine the
 7    facts from the underlying evidence.
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 1            4.17 CHARTS AND SUMMARIES ADMITTED INTO EVIDENCE
 2          Certain charts and summaries have been admitted into evidence. Charts and
 3    summaries are only as good as the underlying supporting material. You should, therefore,
 4    give them only such weight as you think the underlying material deserves.
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 1     UNITED STATES’ PROPOSED INSTRUCTION 5.7 KNOWINGLY—DEFINED
 2           An act is done knowingly if the defendant is aware of the act, and does not act or
 3    fail to act through ignorance, mistake, or accident. You may consider evidence of the
 4    defendants’ words, acts, or omissions, along with all the other evidence, in deciding
 5    whether the defendant acted knowingly.
 6
 7                                     DEFENSE OBJECTION
 8           The Travel Act and money laundering charges are specific intent crimes. Therefore,
 9    it would be reversible error to provide a “Knowingly” instruction here. See United States
10    v. Gibson Specialty Co., 507 F.2d 446, 449 (9th Cir. 1974) (Travel Act violation is a
11    specific intent crime); United States v. Gallo, 782 F.2d 1191, 1194 (4th Cir. 1986) (same);
12    United States v. James, 210 F.3d 1342, 1345 (11th Cir. 2000) (same); see Ninth Circuit
13    Model Criminal Jury Instructions at 8.146 cmt. (“Because it is a specific intent crime, it is
14    reversible error to give Instruction 5.7 (Knowingly–Defined) in a money laundering case.”)
15    (citing United States v. Stein, 37 F.3d 1407, 1410 (9th Cir. 1994); United States v. Turman,
16    122 F.3d 1167, 1169 (9th Cir. 1997)).
17           See Ninth Circuit Model Criminal Jury Instructions at 8.146 cmt. (“Because it is a
18    specific intent crime, it is reversible error to give Instruction 5.7 (Knowingly–Defined) in
19    a money laundering case.”) Defendants propose a specific intent instruction to accurately
20    advise the jury of the required mens rea for the charged offenses. See United States v.
21    Lacey, et al. (D. Ariz.), Case No. 18-CR-00422-PHX-SMB, Doc. No. 946 at 13 (Order
22    denying motion to dismiss) (“[Defendants] were not indicted for facilitating the amorphous
23    notion of ‘prostitution.’ They were indicted for facilitating (via publishing ads) on fifty
24    distinct occasions where prostitutes, prostitution-related businesses, or other groups were
25    involved in the business of prostitution.”); see United States v. Lacey, et al. (D. Ariz.), Case
26    No. 18-CR-00422-PHX-SMB, Transcript of December 4, 2020 Hearing (“And I think one
27    of the key things in my reason for denying the recusal is that this case is not about
28    Backpage. Backpage was prosecuted in a separate case, entered a plea in a separate case.

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 1    This case is about these individual defendants and whether they had specific knowledge of
 2    these ads as facilitating illegal activity.”).
 3                                    UNITED STATES’ RESPONSE
 4              Knowledge is an important element of several of the crimes charged in the SI.
 5    Critically, knowledge is a sine qua non of intent, as the Court recognized in its May 4, 2020
 6    Order:
 7              “To establish Defendants’ violation of the Travel Act, the Government must
                prove, among other things, that Defendants acted with a culpable state of
 8              mind.” United States v. Welch, 327 F.3d 1081, 1095 (10th Cir. 2003). “In
                other words, the Travel Act requires a defendant act not only with knowledge
 9              of what he is doing, but also with the objective of promoting some unlawful
                activity.” Id. As a result, there must be allegations that each Defendant had a
10              “specific intent to promote, manage, establish, carry on or facilitate one of
                the prohibited activities.” United States v. Gibson Specialty Co., 507 F.2d
11              446, 449 (9th Cir. 1974) (citing United States v. Gebhard, 441 F.2d 1261 (6th
                Cir. 1971)); see also United States v. Polizzi, 500 F.2d 856, 876–77 (9th Cir.
12              1974) (describing this element as a “specific intent to facilitate an activity
                which the accused knew to be unlawful”).
13
      (Doc. 946 at 14 (emphasis added).)
14
                The Court went on to emphasize that Defendants’ alleged awareness—i.e.,
15
      knowledge—that the vast majority of adult and escort ads on Backpage were for
16
      prostitution, combined with other allegations, further supported the SI’s allegations of
17
      intent:
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                First, the SI alleges Defendants “used the mail and any facility in interstate
19              and foreign commerce with intent to otherwise promote, manage, establish,
                carry on, and facilitate the promotion, management, establishment, and
20              carrying on of an unlawful activity, to wit: prostitution offenses . . . .” (SI ¶
                201 (emphasis added)). It also alleges “Defendants were aware that the vast
21              majority of the ‘adult’ and ‘escort’ ads appearing on Backpage were actually
                ads for prostitution and took steps to intentionally facilitate that illegal
22              activity.” (Id. ¶ 9; see also id. ¶¶ 10-11.) Only by ignoring these allegations
                can it seriously be argued that Defendants’ intent to facilitate unlawful
23              activity is not alleged.
24    (Doc. 946 at 15; see also id. at 16 (the SI additionally alleges Defendants “received notice
25    by various third parties that a majority of their ‘adult services’ ads were being used to
26    support these prostitution ventures”).)
27              Indeed, Defendants’ proposed “specific intent” instruction includes a similar
28    definition of “knowingly.” (“To establish specific intent, the government must prove

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 1    beyond a reasonable doubt that the defendant knowingly did an act which the law forbids,
 2    purposely and intending to violate the law. Such intent may be determined from all the
 3    facts and circumstances surrounding the case. An act or a failure to act is knowingly done
 4    if done voluntarily and intentionally, not because of mistake or accident, or other innocent
 5    reason.”) (emphasis added). Both parties propose a “specific intent” instruction, so the
 6    jury will not be not be confused as to the requisite mens rea. But, because specific intent
 7    can be inferred from knowledge, this instruction is appropriate.
 8           Additional authorities underscore that intent can be inferred from knowledge in a
 9    variety of circumstances—including several that fit comfortably within the allegations of
10    the SI. In People v. Lauria, 59 Cal. Rptr. 628, 635 (Cal. Ct. App. 1967), for example, the
11    court reversed a conspiracy conviction of a defendant who operated a telephone messaging
12    service knowing that some of his customers were using his services to further their
13    prostitution businesses. After detailed legal analysis, the court found that the supplier’s
14    specific intent to facilitate unlawful activity may be inferred from knowledge in any one of
15    several circumstances (none of which was present in Lauria), including:
16       • “[P]roof . . . of inflated charges” for goods or services used for illegal activities (the
17           United States anticipates introducing evidence that Backpage charged much higher
18           fees for its “adult” and “escort” ads than for ads in its non-adult sections);
19       • “[E]vidence of any unusual volume of business with prostitutes,” such as where
20           “sales for illegal use amount to a high proportion of the seller’s total business” (the
21           United States anticipates introducing evidence that Backpage derived the lion’s
22           share of its revenues from prostitution ads); or
23       • Selling goods or services that “serve no other purpose than to advertise the
24           professional services of the prostitutes” (the United States anticipates introducing
25           evidence that the vast majority of Backpage’s “adult” and “escort” ads were
26           prostitution ads).
27    Lauria, 59 Cal. Rptr. at 632-33. See also Wayne R. LaFave, 2 Substantive Criminal Law
28    (SUBCRL) § 12.2(c)(3), Providing goods or services, (3d ed., Oct. 2020 update) (“Intent

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 1    may also be inferred from the fact that the seller has made inflated charges, that he has
 2    supplied goods or services which have no legitimate use, or that the sales to the illegal
 3    operation have become the dominant proportion of the seller’s business.”); id. (courts have
 4    also focused on “the quantity of the sales; the continuity of the relationship between seller
 5    and buyer; the seller’s initiative or encouragement; and the nature of the goods,” and on
 6    deceptive or “secretive” tactics used by the seller).
 7           Moreover, Lauria found that no inference would be needed in cases involving
 8    “[d]irect evidence of participation, such as advice from the supplier of legal goods or
 9    services to the user of those goods or services on their use for illegal purposes. . . . When
10    the intent to further and promote the criminal enterprise comes from the lips of the supplier
11    himself, ambiguities of inference from circumstance need not trouble us.” Id. at 632. The
12    United States anticipates introducing evidence showing, inter alia, that Backpage
13    managers and employees helped customers craft their ads to reduce the risk of law
14    enforcement detection without changing the underlying message (moderation), created ads
15    for prostitutes and pimps and offered to publish them for a trial period for no or reduced
16    fees (aggregation), entered into affiliation agreements with bulk prostitution advertisers
17    like Dollar Bill (who received discounts, commissions or other fees from Backpage), and
18    paid thousands of dollars to The Erotic Review, a Yelp-like website for buyers and sellers
19    of commercial sex, in a cross-referral/cross-linkage business arrangement.
20           In yet another example of the interplay between Travel Act violations and
21    “knowledge,” Senior District Judge David Campbell—during grand jury proceedings in
22    this case—recognized that federal law “criminalize[s] the knowing publication of an
23    advertisement for illegal prostitution or other illegal activity.” (Doc. 194-1 at 66.) Even
24    Defendants’ attorney agreed with Judge Campbell about when Defendants could be held
25    criminally liable.   (Doc. 446-1 at 39 (“[I]f there is actual knowledge, say through
26    participation in a venture, you’re conspiring with somebody, you know they posted an ad,
27    you know the person involved is underage, that’s a prosecutable crime, Your Honor.”).)
28           Model Instruction 5.7 “Knowingly—Defined” should be given.

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 1            UNITED STATES’ PROPOSED INSTRUCTION 5.8 DELIBERATE
 2                                           IGNORANCE
 3           You may find that the defendant acted knowingly if you find beyond a reasonable
 4    doubt that the defendant:
 5           1. was aware of a high probability that the vast majority of the “adult” and “escort”
 6    ads appearing on Backpage.com were actually ads for prostitution, and
 7           2. deliberately avoided learning the truth.
 8           You may not find such knowledge, however, if you find that the defendant actually
 9    believed that the vast majority of the “adult” and “escort” ads appearing on Backpage.com
10    were not ads for prostitution, or if you find that the defendant was simply negligent,
11    careless, or foolish.
12
13                                     DEFENSE OBJECTION
14           The government’s proposed Jewell instruction, one that typically is used in drug
15    smuggling cases, is inappropriate here. See Ninth Circuit Model Criminal Jury Instructions
16    at 5.8 (providing the example of a defendant being aware of a high probability that “drugs
17    were in the defendant’s automobile”); United States v. Jewell, 532 F.2d 697, 698 (9th Cir.
18    1976) (involving drugs sealed in a secret compartment of a car). Here, the Travel Act and
19    money laundering charges are specific intent crimes. Therefore, it would be reversible
20    error to provide a “Deliberate Ignorance” instruction to the jurors here. See Jewell, 532
21    F.2d at 700-701 (such an instruction is only appropriate where the underlying crime
22    requires mere knowledge); see United States v. Gibson Specialty Co., 507 F.2d 446, 449
23    (9th Cir. 1974) (holding that the violation of the Travel Act is a specific intent crime and
24    that “[t]he presumption that one intends the natural and probable consequences of his
25    actions is insufficient in this context to establish intent to facilitate criminal activity.”);
26    United States v. Gallo, 782 F.2d 1191, 1194 (4th Cir. 1986) (same); United States v. James,
27    210 F.3d 1342, 1345 (11th Cir. 2000) (same); see Ninth Circuit Model Criminal Jury
28    Instructions at 8.146 cmt. (“Because it is a specific intent crime, it is reversible error to

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 1    give Instruction 5.7 (Knowingly–Defined) in a money laundering case.”) (citing United
 2    States v. Stein, 37 F.3d 1407, 1410 (9th Cir. 1994); United States v. Turman, 122 F.3d
 3    1167, 1169 (9th Cir. 1997)).
 4           Further, such an instruction is only appropriate “if the jury rejects the government’s
 5    case as to actual knowledge.” United States v. Heredia, 483 F.3d 913, 922 (9th Cir. 2007)
 6    (“In deciding whether to give a willful blindness instruction, in addition to an actual
 7    knowledge instruction, the district court must determine whether the jury could rationally
 8    find willful blindness even though it has rejected the government's evidence of actual
 9    knowledge.     If   so,   the   court   may     also   give   a Jewell instruction.”).    And
10    “[e]ven if the factual predicates of the instruction are present, the district judge has
11    discretion to refuse it.” Id.
12           Further, even if such an instruction were appropriate, whether a given Defendant
13    “was aware of a high probability that the vast majority of the ‘adult’ and ‘escort’ ads
14    appearing on Backpage.com were actually ads for prostitution” is not a substitute for the
15    government having to prove beyond a reasonable doubt that each Defendant specifically
16    intended to facilitate the prostitution offenses committed by a particular business enterprise
17    through the publication of fifty advertisements at issue. See United States v. Lacey, et al.
18    (D. Ariz.), Case No. 18-CR-00422-PHX-SMB, Doc. No. 946 at 13 (Order denying motion
19    to dismiss) (“[Defendants] were not indicted for facilitating the amorphous notion of
20    ‘prostitution.’ They were indicted for facilitating (via publishing ads) on fifty distinct
21    occasions where prostitutes, prostitution-related businesses, or other groups were involved
22    in the business of prostitution.”); see United States v. Lacey, et al. (D. Ariz.), Case No. 18-
23    CR-00422-PHX-SMB, Transcript of December 4, 2020 Hearing (“And I think one of the
24    key things in my reason for denying the recusal is that this case is not about Backpage.
25    Backpage was prosecuted in a separate case, entered a plea in a separate case. This case is
26    about these individual defendants and whether they had specific knowledge of these ads as
27    facilitating illegal activity.”). Willful blindness therefore cannot meet the elements of the
28    offenses.

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 1            The government’s proposed Jewell instruction also is inconsistent with the First
 2    Amendment. The government’s proposed instruction would suggest that the jury can use
 3    the publication of presumptively protected and lawful speech as the factual basis for a
 4    finding that defendants intended to violate the law. The government proposes to instruct
 5    the jury that defendants were obligated to assume that presumptively protected and lawful
 6    speech was unprotected speech and to censor that speech. The First Amendment prohibits
 7    this.
 8            Finally, even if a Jewell instruction was appropriate in this case, the government’s
 9    proposed instruction ignores the language of Jewell restricting the instruction to
10    circumstances where a defendant’s ignorance “was solely and entirely a result of . . . a
11    conscious purpose to avoid learning the truth.” United States v. Jewell, 532 F.2d 697, 704
12    (9th Cir. 1976).
13                                 UNITED STATES’ RESPONSE
14            Defendants are wrong that a Jewell instruction can’t be given when the alleged
15    crimes require specific intent. As the Ninth Circuit recently recognized:
16            We have repeatedly held that a Jewell instruction is proper in specific-intent
              cases (including conspiracy cases). See United States v. Ramos-Atondo, 732
17
              F.3d 1113, 1120 (9th Cir. 2013) (rejecting appellants’ argument that “it is
18            impossible to conspire to be deliberately ignorant” and holding that “the
              Jewell standard eliminates the need to establish such positive knowledge to
19
              obtain a conspiracy conviction”); United States v. Heredia, 483 F.3d 913,
20            922 & n.13 (9th Cir. 2007) (en banc) (approving of Jewell instruction in
              possession-with-intent-to-distribute prosecution, and observing that “willful
21            blindness is tantamount to knowledge”); United States v. Nosal, 844 F.3d
22            1024, 1039–40 (9th Cir. 2016) (approving Jewell instruction in aiding-and-
              abetting case)…. [T]he district court did not err in instructing the jury.
23
24    United States v. Asefi, 788 F. App’x 449, 452 (9th Cir. 2019).

25            The “theory of deliberate ignorance need not be exclusive, it may be an argument

26    alternative to actual knowledge.” Ramos-Atondo, 732 F.3d 1113, 1120. The instruction

27    does not “risk[] lessening the state of mind that a jury must find” and is appropriately given

28    when a jury could rationally find willful blindness. Heredia, 483 F.3d at 922 & 924.

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 1           Defendants’ comment that the charges are based on “presumptively protected and
 2    lawful speech” is misplaced in this case, which concerns prostitution advertising (a form
 3    of commercial speech that is categorically excluded from First Amendment protection), as
 4    more fully explained in the United States’ objections to Defendants’ case-specific
 5    instructions in Part IV, infra. The SI clearly alleges that Defendants had ample notice that
 6    prostitution advertising was rampant on Backpage, and that Defendants took numerous
 7    steps to expand and capitalize on Backpage’s role as the internet’s primary source of
 8    prostitution advertising.
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 1          DEFENDANTS’ PROPOSED INSTRUCTION 6.10 MERE PRESENCE
 2           Mere presence at the scene of a crime or mere knowledge that a crime is being
 3    committed is not sufficient to establish that a defendant committed the crime of violating
 4    the Travel Act by promoting, or facilitating the promotion of, prostitution offenses
 5    committed by a particular business enterprise in violation of the laws of the State in which
 6    they are committed or the crime of money laundering. The defendant must be a participant
 7    and not merely a knowing spectator. The defendant’s presence may be considered by the
 8    jury along with other evidence in the case.
 9
10    [This instruction should track the elements and definition of “prostitution” that the
11    government provided to the grand jury at the time this indictment was returned. See Doc.
12    No. 1171.]
13
14                                      Supporting Authorities
15           Ninth Circuit Manual of Model Criminal Jury Instructions 6.10, 8.144 (2021)
16    (modified to reflect charges); Woodhull Freedom Foundation v. United States, 334 F.
17    Supp. 3d 185, 199-201 (D.D.C. 2018), rev’d. 948 F.3d 363 (D.C. Cir. 2020); see United
18    States v. Lacey, et al. (D. Ariz.), Case No. 18-CR-00422-PHX-SMB, Doc. No. 946 at 13
19    (Order denying motion to dismiss) (“[Defendants] were not indicted for facilitating the
20    amorphous notion of ‘prostitution.’ They were indicted for facilitating (via publishing ads)
21    on fifty distinct occasions where prostitutes, prostitution-related businesses, or other
22    groups were involved in the business of prostitution.”); see United States v. Lacey, et al.
23    (D. Ariz.), Case No. 18-CR-00422-PHX-SMB, Transcript of December 4, 2020 Hearing
24    (“And I think one of the key things in my reason for denying the recusal is that this case is
25    not about Backpage. Backpage was prosecuted in a separate case, entered a plea in a
26    separate case. This case is about these individual defendants and whether they had specific
27    knowledge of these ads as facilitating illegal activity.”).
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 1                              UNITED STATES’ OBJECTIONS
 2           The Comment to this Model Criminal Jury Instruction demonstrates why this
 3    instruction is unnecessary for this case. “Such a ‘mere presence’ instruction is unnecessary
 4    if the government’s case is not solely based on the defendant’s presence and the jury has
 5    been instructed on the elements of the crime.” See United States v. Tucker, 641 F.3d 1110,
 6    1123 (9th Cir. 2011); see also United States v. Gooch, 506 F.3d 1156, 1160 (9th Cir. 2007).
 7    The evidence at trial will demonstrate that each defendant was more than “merely present”
 8    for the alleged crimes. See United States v. Howell, 231 F.3d 615, 629 (9th Cir. 2000).
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 1                                   7.1 DUTY TO DELIBERATE
 2           When you begin your deliberations, elect one member of the jury as your [presiding
 3    juror] [foreperson] who will preside over the deliberations and speak for you here in court.
 4           You will then discuss the case with your fellow jurors to reach agreement if you can
 5    do so. Your verdict, whether guilty or not guilty, must be unanimous.
 6           Each of you must decide the case for yourself, but you should do so only after you
 7    have considered all the evidence, discussed it fully with the other jurors, and listened to the
 8    views of your fellow jurors.
 9           Do not be afraid to change your opinion if the discussion persuades you that you
10    should. But do not come to a decision simply because other jurors think it is right.
11           It is important that you attempt to reach a unanimous verdict but, of course, only if
12    each of you can do so after having made your own conscientious decision. Do not change
13    an honest belief about the weight and effect of the evidence simply to reach a verdict.
14           Perform these duties fairly and impartially. Do not allow personal likes or dislikes,
15    sympathy, prejudice, fear, or public opinion to influence you. You should also not be
16    influenced by any person’s race, color, religious beliefs, national ancestry, sexual
17    orientation, gender identity, gender, economic circumstances 4 [, profession, occupation,
18    celebrity, or position in life or in the community].
19           It is your duty as jurors to consult with one another and to deliberate with one
20    another with a view towards reaching an agreement if you can do so. During your
21    deliberations, you should not hesitate to reexamine your own views and change your
22    opinion if you become persuaded that it is wrong.
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                 Modified to conform with the language in Model Criminal Jury Instruction 1.1.
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 1           7.2 CONSIDERATION OF EVIDENCE—CONDUCT OF THE JURY
 2           Because you must base your verdict only on the evidence received in the case and
 3    on these instructions, I remind you that you must not be exposed to any other information
 4    about the case or to the issues it involves. Except for discussing the case with your fellow
 5    jurors during your deliberations:
 6           Do not communicate with anyone in any way and do not let anyone else
 7    communicate with you in any way about the merits of the case or anything to do with it.
 8    This restriction includes discussing the case in person, in writing, by phone or electronic
 9    means, via email, text messaging, or any Internet chat room, blog, website or any other
10    forms of social media. This restriction applies to communicating with your family
11    members, your employer, the media or press, and the people involved in the trial. If you
12    are asked or approached in any way about your jury service or anything about this case,
13    you must respond that you have been ordered not to discuss the matter and to report the
14    contact to the court.
15           Do not read, watch, or listen to any news or media accounts or commentary about
16    the case or anything to do with it; do not do any research, such as consulting dictionaries,
17    searching the Internet or using other reference materials; and do not make any investigation
18    or in any other way try to learn about the case on your own.
19           The law requires these restrictions to ensure the parties have a fair trial based on the
20    same evidence that each party has had an opportunity to address. A juror who violates these
21    restrictions jeopardizes the fairness of these proceedings[, and a mistrial could result that
22    would require the entire trial process to start over]. If any juror is exposed to any outside
23    information, please notify the court immediately.
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 1                                     7.3 USE OF NOTES
 2          Some of you have taken notes during the trial. Whether or not you took notes, you
 3    should rely on your own memory of what was said. Notes are only to assist your memory.
 4    You should not be overly influenced by your notes or those of your fellow jurors.
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 1                     7.4 JURY CONSIDERATION OF PUNISHMENT
 2          The punishment provided by law for this crime is for the court to decide. You may
 3    not consider punishment in deciding whether the United States has proved its case against
 4    the defendant beyond a reasonable doubt.
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 1                                      7.5 VERDICT FORM
 2           A verdict form has been prepared for you. [Explain verdict form as needed.] After
 3    you have reached unanimous agreement on a verdict, your [presiding juror] [foreperson]
 4    should complete the verdict form according to your deliberations, sign and date it, and
 5    advise the [clerk] [bailiff] that you are ready to return to the courtroom.
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 1                          7.6 COMMUNICATION WITH COURT
 2          If it becomes necessary during your deliberations to communicate with me, you may
 3    send a note through the [clerk] [bailiff], signed by any one or more of you. No member of
 4    the jury should ever attempt to communicate with me except by a signed writing, and I will
 5    respond to the jury concerning the case only in writing or here in open court. If you send
 6    out a question, I will consult with the lawyers before answering it, which may take some
 7    time. You may continue your deliberations while waiting for the answer to any question.
 8    Remember that you are not to tell anyone—including me—how the jury stands,
 9    numerically or otherwise, on any question submitted to you, including the question of the
10    guilt of the defendant, until after you have reached a unanimous verdict or have been
11    discharged.
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 1            UNITED STATES’ PROPOSED 8.20 CONSPIRACY—ELEMENTS*
 2           The defendants are charged in Count 1 of the indictment with conspiring to violate
 3    the Travel Act in violation of Section 1952(a)(3)(A) of Title 18 of the United States Code.
 4    In order for the defendants to be found guilty of that charge, the United States must prove
 5    each of the following elements beyond a reasonable doubt:
 6           First, beginning in or around 2004, and ending on or about April 2018, there was an
 7    agreement between two or more persons to commit at least one Travel Act crime as charged
 8    in the indictment, namely promoting or facilitating the promotion of any business
 9    enterprise involving prostitution offenses in violation of 18 U.S.C. § 1952(a)(3)(A) and
10    § 1952(b)(i)(1);
11           Second, the defendant became a member of the conspiracy knowing of at least one
12    of its objects and intending to help accomplish it; and
13           Third, one of the members of the conspiracy performed at least one overt act on or
14    after March 28, 2013, for the purpose of carrying out the conspiracy.
15           A conspiracy is a kind of criminal partnership—an agreement of two or more
16    persons to commit one or more crimes. The crime of conspiracy is the agreement to do
17    something unlawful; it does not matter whether the crime agreed upon was committed.
18           For a conspiracy to have existed, it is not necessary that the conspirators made a
19    formal agreement or that they agreed on every detail of the conspiracy. It is not enough,
20    however, that they simply met, discussed matters of common interest, acted in similar
21    ways, or perhaps helped one another. You must find that there was a plan to commit at
22    least one of the crimes alleged in the indictment as an object of the conspiracy with all of
23    you agreeing as to the particular crime, i.e., Travel Act violations, which the conspirators
24    agreed to commit.
25           One becomes a member of a conspiracy by willfully participating in the unlawful
26    plan with the intent to advance or further some object or purpose of the conspiracy, even
27    though the person does not have full knowledge of all the details of the conspiracy.
28    Furthermore, one who willfully joins an existing conspiracy is as responsible for it as the

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 1    originators. On the other hand, one who has no knowledge of a conspiracy, but happens to
 2    act in a way which furthers some object or purpose of the conspiracy, does not thereby
 3    become a conspirator. Similarly, a person does not become a conspirator merely by
 4    associating with one or more persons who are conspirators, nor merely by knowing that a
 5    conspiracy exists.
 6           An overt act does not itself have to be unlawful. A lawful act may be an element of
 7    a conspiracy if it was done for the purpose of carrying out the conspiracy. The United States
 8    is not required to prove that the defendant personally did one of the overt acts.
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 1                     DEFENDANTS’ PROPOSED 8.20 INSTRUCTION
 2           The defendants are charged in Count 1 of the indictment with conspiring to violate
 3    the Travel Act in violation of Section 1952(a)(3)(A) of Title 18 of the United States Code.
 4    In order for a defendant to be found guilty of that charge, the government must prove each
 5    of the following elements beyond a reasonable doubt for that defendant:
 6           First, beginning in or around 2004, and ending on or about April 2018, there was an
 7    agreement between two or more persons to commit a violation of the Travel Act by
 8    promoting, or facilitating the promotion of, prostitution offenses committed by a particular
 9    business enterprise in violation of the laws of the State in which they are committed, as
10    charged in Count 1 of the indictment;
11           Second, that defendant became a member of the conspiracy knowing of at least one
12    of its illegal objects and with the specific intent of helping promote, or facilitate the
13    promotion of, prostitution offenses committed by a particular business enterprise in
14    violation of the laws of the State in which they are committed; and
15           Third, one of the members of the conspiracy performed at least one overt act on or
16    after March 28, 2013, for the purpose of carrying out the conspiracy. Without at least one
17    defendant’s overt act to specifically promote, or facilitate the promotion of, prostitution
18    offenses committed by a particular business enterprise in violation of the laws of the State
19    in which they are committed, you cannot find a conspiracy.
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21               What Is a Conspiracy, and How Does One Become a Member?
22           A conspiracy is a kind of criminal partnership—an agreement of two or more
23    persons to commit one or more crimes. The crime of conspiracy is the agreement to do
24    something unlawful; it does not matter whether the crime agreed upon was committed.
25           For a conspiracy to have existed, it is not necessary that the conspirators made a
26    formal agreement or that they agreed on every detail of the conspiracy. It is not enough,
27    however, that they simply met, discussed matters of common interest, acted in similar
28    ways, or perhaps helped one another. You must find that there was a plan to commit at

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 1    least one of the crimes alleged in the indictment as an illegal object of the conspiracy with
 2    all of you agreeing as to the particular crime, i.e., a specific publication of an ad in violation
 3    of the Travel Act, which the conspirators agreed to commit.
 4           One becomes a member of a conspiracy by willfully participating in the unlawful
 5    plan with the intent to advance or further some illegal object or purpose of the conspiracy,
 6    even though the person does not have full knowledge of all the details of the conspiracy.
 7    Furthermore, one who willfully joins an existing conspiracy is as responsible for it as the
 8    originators. On the other hand, one who has no knowledge of a conspiracy, but happens to
 9    act in a way which furthers some illegal object or purpose of the conspiracy, does not
10    thereby become a conspirator. Similarly, a person does not become a conspirator merely
11    by associating with one or more persons who are conspirators, nor merely by knowing that
12    a conspiracy exists. To become a co-conspirator a person must have an intention and
13    agreement to accomplish the same, specific criminal objective as his or her co-conspirators.
14           An overt act does not itself have to be unlawful. A lawful act may be an element of
15    a conspiracy if it was done for the purpose of carrying out the unlawful conspiracy. The
16    government is not required to prove that a Defendant personally did one of the overt acts.
17           Proof of an underlying substantive crime does not, without more, prove the
18    existence of a conspiracy to commit that crime.
19
20                         What Is “Travel Act—Facilitate Prostitution”?
21           The elements of the Travel Act are not satisfied if a defendant merely did an act that
22    promoted, or facilitated the promotion of, prostitution offenses committed by a particular
23    business enterprise. The elements are not satisfied unless a defendant specifically intended
24    his or her act to facilitate the prostitution offenses committed by a particular business
25    enterprise .
26           The government cannot meet its burden to prove that a defendant had the specific
27    intent to participate in and further the prostitution offenses committed by a particular
28    business enterprise associated with the ad by proving:

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 1              • the defendant had after-the-fact knowledge that some people who advertised
 2                  on Backpage.com engaged in prostitution offenses or that some or even many
 3                  past ads on Backpage.com related to unlawful activity;
 4              • the defendant knew Backpage.com might facilitate prostitution in the
 5                  abstract;
 6              • the defendant was indifferent to the actions of the purchasers of classified
 7                  ads on Backpage.com; or
 8              • the defendant knew that a particular advertiser might, at times, engage in
 9                  prostitution offenses.
10    Rather, to satisfy the specific intent requirements of the Travel Act, the government must
11    prove beyond a reasonable doubt, for each Count, that each defendant in some significant
12    manner associated himself or herself with a particular business enterprise associated with
13    the ad charged in that Count with the intent to promote, or facilitate the promotion of, the
14    prostitution offenses committed by that business enterprise. As such, to find a defendant
15    guilty of conspiring to violate the Travel Act, you must find that the government proved
16    beyond a reasonable doubt that the defendant joined a conspiracy with the specific intent
17    to associate himself or herself with a particular criminal venture for the purpose of
18    advancing its prostitution offenses. A defendant cannot intend to promote or facilitate a
19    business enterprise he or she does not know exists.
20
21                                    Unanimity Requirements
22           For a defendant to be found guilty of Count 1 (Conspiracy to Violate the Travel
23    Act), you must find beyond a reasonable doubt that the defendant joined in a plan to commit
24    at least one illegal object of the alleged conspiracy – specifically intending to promote, or
25    facilitate the promotion of, prostitution offenses committed by a particular business
26    enterprise upon which you all agree.
27
28    [This instruction should track the elements and definition of “prostitution” that the

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 1    government provided to the grand jury at the time this indictment was returned. See Doc.
 2    No. 1171.]
 3
 4                                      Supporting Authorities
 5           Ninth Circuit Manual of Model Criminal Jury Instructions 7.9, 8.20, 8.144 (2021);
 6    Barry Tarlow, Defense of a Federal Conspiracy Prosecution, 4 J.Crim.Defense 183, 201-
 7    02 (1978) (explaining that the object of the conspiracy must be unlawful); United States v.
 8    Lennick, 18 F.3d 814, 819 (9th Cir. 1994) (“Proof of the underlying substantive crime,
 9    however, does not, without more, prove the existence of a conspiracy.”); United States v.
10    Lapier, 796 F.3d 1090 (9th Cir. 2015) (failure to give specific unanimity instruction was
11    plain error because half of jury could have found defendant guilty of joining one conspiracy
12    while other half of jury could have found defendant guilty of joining second conspiracy);
13    United States v. Pomponio, 429 U.S. 10, 12 (1976) (willfulness is the “intentional violation
14    of a known legal duty”).
15           In Woodhull Freedom Foundation v. United States, the government argued that for
16    prosecutions under the Travel Act, the prosecutor must prove “not simply that the
17    defendant was aware of a potential result of the criminal offense, but instead that the
18    defendant intended to ‘explicitly further[]’ a specified unlawful act.” 334 F. Supp. 3d 185,
19    199-201 (D.D.C. 2018), rev’d. 948 F.3d 363 (D.C. Cir. 2020). The court agreed with the
20    government and held that the law applies only to “specific unlawful acts with respect to a
21    particular individual, not the broad subject-matter of prostitution.” Id. Most recently, in
22    defending the district court decision in that case, DOJ repeated its position that in a
23    prosecution under the Travel Act, the government must allege that the Defendant acted to
24    intentionally promote or facilitate a “specific, unlawful instance of prostitution.” Brief for
25    the United States in Woodhull Freedom Found. v. United States, No. 18-5298 (D.C. Cir.
26    Apr. 15, 2019) (Doc. No. 1782997) at 21-22.
27           To prove a conspiracy charge, the government must prove the “requisite intent for
28    the substantive crime.” United States v. Kaplan, 836 F.3d 1199, 1212 (9th Cir. 2016).

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 1           See also United States v. Lacey, et al. (D. Ariz.), Case No. 18-CR-00422-PHX-
 2    SMB, Doc. No. 946 at 13 (Order denying motion to dismiss) (“[Defendants] were not
 3    indicted for facilitating the amorphous notion of ‘prostitution.’ They were indicted for
 4    facilitating (via publishing ads) on fifty distinct occasions where prostitutes, prostitution-
 5    related businesses, or other groups were involved in the business of prostitution.”); see
 6    United States v. Lacey, et al. (D. Ariz.), Case No. 18-CR-00422-PHX-SMB, Transcript of
 7    December 4, 2020 Hearing (“And I think one of the key things in my reason for denying
 8    the recusal is that this case is not about Backpage. Backpage was prosecuted in a separate
 9    case, entered a plea in a separate case. This case is about these individual defendants and
10    whether they had specific knowledge of these ads as facilitating illegal activity.”).
11           United States v. James, 210 F.3d 1342, 1345 (11th Cir. 2000) (“The elements of a
12    Travel Act charge are: 1) that the defendant traveled in interstate commerce on or about
13    the time, and between the places, charged in the indictment; 2) that the defendant engaged
14    in that travel with the specific intent to promote, manage, establish or carry on an unlawful
15    activity, as defined; and 3) that the defendant thereafter knowingly and willfully committed
16    an act to promote, manage, establish or carry on such unlawful activity.”); United States v.
17    Hagmann, 950 F.2d 175, 182 (5th Cir. 1991) (“The essential elements of the Travel Act . .
18    . are: (i) travel in interstate or foreign commerce, or use of the mail (or any facility) in
19    interstate or foreign commerce; (ii) with the specific intent to promote, manage, establish,
20    or carry on—or distribute the proceeds of—unlawful activity; and (iii) knowing and willful
21    commission of an act in furtherance of that intent subsequent to the act of travel.”)
22    (emphasis in original); United States v. Echeverri-Jaramillo, 777 F.2d 933, 937 (4th Cir.
23    1985) (“in order to prove such a violation, under 18 U.S.C. § 1952(a) it must be shown that
24    1) the defendant traveled in interstate commerce on or about the time and between the
25    places noted in the indictment; 2) that the defendant engaged in such travel with the specific
26    intent to promote, manage, establish or carry on an unlawful activity and that 3) the
27    defendant did thereafter knowingly and willfully commit an act to promote, manage,
28    establish or carry on such an unlawful activity.”); United States v. Stagman, 446 F.2d 489,

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 1    491 (6th Cir. 1971) (“the majority of the Courts of Appeals which have directly addressed
 2    this question . . . have stated that knowing and wilful [sic] intent to violate state laws is an
 3    element of the crime proscribed by the Travel Act”) (citing decisions of the 4th, 7th, 8th,
 4    and 9th Circuits).
 5                                UNITED STATES’ OBJECTIONS
 6           Defendants propose a much lengthier conspiracy instruction that contains
 7    misstatements of the law. The Court should provide the Model Instruction on conspiracy,
 8    which provides a much clearer explanation of the applicable law than Defendants’
 9    proposed instruction.     Here are some of the problems with Defendants’ proposed
10    instruction.
11           -   In the first element, Defendants insist that a Travel Act violation must involve
12               “promoting, or facilitating the promotion of, prostitution offenses committed by
13               a particular business enterprise.” (emphasis added). The word “particular” is
14               unnecessary and confusing. The statute states that “unlawful activity” under the
15               Travel Act is defined as “any business enterprise involving . . . prostitution
16               offenses in violation of the laws of the State in which they are committed or of
17               the United States.” 18 U.S.C. § 1952(b)(i)(1). This Court has recognized this
18               fact previously: “Instead of alleging formal labels, what must be alleged for the
19               ‘unlawful activity’ element under Section 1952(b)(i) are allegations showing ‘a
20               continuous course of criminal conduct.’” (Doc. 946 at 10) (case citations
21               omitted). The Court also suggested that each ad is evidence of a business
22               enterprise: “each ad identified [in the SI] carries an indicia of a commercial or
23               business enterprise because each one invites multiple commercial transactions
24               by soliciting the public to engage in prostitution.” (Doc. 946 at 12, n.7) (citing
25               Charles v. City of Los Angeles, 697 F.3d 1146, 1151 (9th Cir. 2012) (noting that
26               advertisements “propose a commercial transaction”).)               Further, unlike
27               Defendants’ proposed instruction, the United States’ instruction tracks the
28               statutory definition of “unlawful activity.”

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 1          -   In the second element, Defendants add the word “illegal,” which is redundant
 2              and not part of the Model Instruction. The first element in the Model Instruction
 3              states, in pertinent part, “there was an agreement between two or more persons
 4              to commit at least one crime as charged in the indictment,” while the second
 5              element makes clear the crime requires that “the defendant became a member of
 6              the conspiracy knowing of at least one of its objects and intending to help
 7              accomplish it.” The word “illegal” doesn’t clarify any aspect of this crime and
 8              shouldn’t be part of the instruction.
 9          -   In the third element, Defendants again add language to the Model Instruction
10              that is unnecessary. The final sentence in the third element is redundant and
11              restates the language in the first element. Moreover, Defendants erroneously
12              state that the overt act must be performed by one of the defendants. Under
13              established law, any person who is a member of the conspiracy—a category of
14              persons not limited to Defendants—may perform the overt act. See Model
15              Instruction 8.20.
16          -   The remainder of Defendants’ proposed instruction is not needed and contains
17              Defendants’ arguments for why the jury should find them not guilty. (E.g., “[a]
18              defendant cannot intend to promote or facilitate a business enterprise he or she
19              does not know exists.”). Instructions are not the place for arguments.
20          -   Defendants add a section titled “unanimity requirements” to their proposed
21              instruction. A specific unanimity instruction may be required when there are
22              multiple conspiracies at issue. See United States v. Echeverry, 719 F.2d 974,
23              975 (9th Cir. 1983). Here, however, the United States has only alleged one
24              conspiracy—conspiracy to violate 18 U.S.C. § 1952(a)(3)(A). (Doc. 230 at 49.)
25              This instruction isn’t needed.
26          -   Defendants’ intent and knowledge assertions are further addressed in separate
27              sections of these instructions that discuss these elements.
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 1           Defendants also cite Woodhull Freedom Found. v. United States, 334 F. Supp. 3d
 2    185 (D.D.C. 2018), which dismissed on standing grounds a facial challenge by sex worker
 3    advocacy groups to the Allow States and Victims to Fight Online Sex Trafficking Act of
 4    2017 (FOSTA). FOSTA created a new federal offense for operating “an interactive
 5    computer service…with the intent to promote or facilitate the prostitution of another
 6    person.” 18 U.S.C. § 2421(A)(a) (emphasis added). The court held the plaintiffs lacked a
 7    credible threat of prosecution because “key textual indications…make clear that FOSTA
 8    targets specific acts of illegal prostitution,” not abstract advocacy. 334 F. Supp. 3d at 200.
 9    These “textual indications” included FOSTA’s reference to the “‘prostitution of another
10    person,’ which denotes specific unlawful acts.” Id. at 199-200. While the court found the
11    plaintiffs’ standing arguments flawed for the “additional reason []” that § 2421A “mirrors”
12    the Travel Act, which had never been used to prosecute advocacy, id. at 199-200, the Travel
13    Act contains no text specifically referencing “the prostitution of another person.”
14           Defendants also assert the “DOJ repeated [in the Woodhull appeal] that in a
15    prosecution under the Travel Act, the government must allege that the defendant acted to
16    intentionally promote or facilitate a ‘specific, unlawful instance of prostitution.’”
17    However, the quoted text refers not to the United States’ discussion of the Travel Act, but
18    to § 2421A of FOSTA. (Gov’t Br., Woodhull Freedom Found. v. United States, No. 18-
19    5298 (D.C. Cir. Apr. 15, 2019) (Doc.#1782997) at 20-21.) The United States went on to
20    characterize § 2421A and the Travel Act as “substantially similar” in that both statutes
21    “prohibit[ ] using the internet ‘with intent to’ ‘promote…or facilitate the promotion’ of
22    illegal ‘prostitution offenses’”—a reading consistent with the government’s instructions
23    here. Id.
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 1                    DEFENDANTS’ PROPOSED 8.22 INSTRUCTION—
 2                            MULTIPLE CONSPIRACIES (Count 1)
 3           Count 1 of the indictment alleges a single conspiracy to commit a violation of the
 4    Travel Act by promoting, or facilitating the promotion of, prostitution offenses committed
 5    by a particular business enterprise in violation of the laws of the State in which they are
 6    committed. You must decide whether the single conspiracy to violate the Travel Act as
 7    charged in Count 1 of the indictment existed, and, if it did, who at least some of its members
 8    were. If you find that the single conspiracy to violate the Travel Act charged in Count 1
 9    did not exist, then you must return a not guilty verdict, even though you may find that some
10    other conspiracy existed. For example, if you find that Count 1 concerns two or more
11    conspiracies, you must find each defendant not guilty of the single conspiracy alleged in
12    Count 1. Similarly, if you find that any defendant was not a member of the conspiracy to
13    violate the Travel Act charged in Count 1, then you must find that defendant not guilty,
14    even though that Defendant may have been a member of some other conspiracy.
15
16    [This instruction should track the elements and definition of “prostitution” that the
17    government provided to the grand jury at the time this indictment was returned. See Doc.
18    No. 1171.]
19
20                                      Supporting Authorities
21           Model Crim. Jury Instr. 9th Cir. 8.22 (2021) (modified to reflect the charges in the
22    indictment); see United States v. Lacey, et al. (D. Ariz.), Case No. 18-CR-00422-PHX-
23    SMB, Doc. No. 946 at 13 (Order denying motion to dismiss) (“[Defendants] were not
24    indicted for facilitating the amorphous notion of ‘prostitution.’ They were indicted for
25    facilitating (via publishing ads) on fifty distinct occasions where prostitutes, prostitution-
26    related businesses, or other groups were involved in the business of prostitution.”); see
27    United States v. Lacey, et al. (D. Ariz.), Case No. 18-CR-00422-PHX-SMB, Transcript of
28    December 4, 2020 Hearing (“And I think one of the key things in my reason for denying

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 1    the recusal is that this case is not about Backpage. Backpage was prosecuted in a separate
 2    case, entered a plea in a separate case. This case is about these individual defendants and
 3    whether they had specific knowledge of these ads as facilitating illegal activity.”).
 4                               UNITED STATES’ OBJECTIONS
 5           This instruction should only be given when Defendants raise a multiple conspiracy
 6    defense. United States v. Job, 871 F.3d 852, 867 (9th Cir. 2017). To support such an
 7    instruction, evidence would need to be presented at trial in which a jury could reasonably
 8    conclude that some of the defendants were only involved in separate conspiracies unrelated
 9    to the overall conspiracy charged in the indictment. Id. That’s not the case here. The
10    conspiracy charged in Count One would not give rise to a reasonable juror believing that
11    multiple conspiracies occurred. Id. at 868 (“Although a single conspiracy can include
12    ‘several subagreements or subgroups of conspirators,’ that does not mean there are separate
13    conspiracies.”) “A single conspiracy exists, as compared with multiple conspiracies, where
14    there is ‘one overall agreement’ to perform various functions to achieve the objectives of
15    the conspiracy.” United States v. Bauer, 84 F.3d 1549, 1560 (9th Cir. 1996).
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 1     UNITED STATES’ PROPOSED 8.23 CONSPIRACY—KNOWLEDGE OF AND
 2                     ASSOCIATION WITH OTHER CONSPIRATORS*
 3           A conspiracy may continue for a long period of time and may include the
 4    performance of many transactions. It is not necessary that all members of the conspiracy
 5    join it at the same time, and one may become a member of a conspiracy without full
 6    knowledge of all the details of the unlawful scheme or the names, identities, or locations
 7    of all of the other members.
 8           Even though a defendant did not directly conspire with every other defendant or
 9    every other conspirator in the overall scheme, the defendant has, in effect, agreed to
10    participate in the conspiracy if the United States proves each of the following beyond a
11    reasonable doubt:
12           First, that the defendant directly conspired with one or more conspirators to carry
13    out at least one of the objects of the conspiracy;
14           Second, that the defendant knew or had reason to know that other conspirators were
15    involved with those with whom the defendant directly conspired; and
16           Third, that the defendant had reason to believe that whatever benefits the defendant
17    might get from the conspiracy were probably dependent upon the success of the entire
18    venture.
19           It is not a defense that a person’s participation in a conspiracy was minor or for a
20    short period of time.
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 1       DEFENDANTS’ PROPOSED 8.23 CONSPIRACY—KNOWLEDGE OF AND
 2                     ASSOCIATION WITH OTHER CONSPIRATORS*
 3           A conspiracy may continue for a long period of time and may include the
 4    performance of many transactions. It is not necessary that all members of the conspiracy
 5    join it at the same time, and one may become a member of a conspiracy without full
 6    knowledge of all the details of the unlawful scheme or the names, identities, or locations
 7    of all of the other members.
 8           Even though a defendant did not directly conspire with every other defendant or
 9    every other conspirator in the overall scheme, that defendant has, in effect, agreed to
10    participate in the conspiracy if the government proves each of the following beyond a
11    reasonable doubt:
12           First, that a defendant directly conspired with one or more conspirators to carry out
13    at least one of the illegal objects of the conspiracy by specifically intending to promote, or
14    facilitate the promotion of, prostitution offenses committed by a particular business
15    enterprise upon which you all agree;
16           Second, that a defendant knew or had reason to know that other conspirators were
17    involved with those with whom the defendant directly conspired; and
18           Third, that a defendant had reason to believe that whatever benefits he or she might
19    get from the conspiracy were probably dependent upon the success of the entire enterprise.
20           It is not a defense that a person’s participation in a conspiracy was minor or for a
21    short period of time.
22    [This instruction should track the elements and definition of “prostitution” that the
23    government provided to the grand jury at the time this indictment was returned. See Doc.
24    No. 1171.]
25                                      Supporting Authorities
26           Model Crim. Jury Instr. 9th Cir. 8.23 (2021).
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 1                                UNITED STATES’ OBJECTIONS
 2           The parties’ proposed 8.23 Instructions are identical except for the first element.
 3    Defendants add language that is unnecessary. The elements of the Travel Act are instructed
 4    on below and this additional language adds nothing but wordiness to the overall instructions.
 5    Also, the request that the instructions track the definition of “prostitution” that was given to
 6    the grand jury is wholly unnecessary. This is so because (a) how the grand jurors were
 7    instructed, if at all, is of no moment when determining the appropriate jury instructions for
 8    a petit jury, and (b) the particular state statutes defining “prostitution offenses” need not be
 9    part of this conspiracy instruction.
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 1         UNITED STATES’ PROPOSED 8.144 TRAVEL ACT—INTERSTATE OR
 2             FOREIGN TRAVEL IN AID OF RACKETEERING ENTERPRISE
 3                                     (18 U.S.C. § 1952(a)(3))*
 4           The defendants are charged in Counts 2-51 of the indictment with violating Section
 5    1952(a)(3) of Title 18 of the United States Code, a statute also referred to as “the Travel
 6    Act.” In order for the defendants to be found guilty of Counts 2-51, the United States must
 7    prove, for each count, the following elements beyond a reasonable doubt:
 8           First, the defendant used any facility in interstate commerce with the intent to
 9    promote, manage, establish, carry on, or facilitate the promotion, management,
10    establishment, or carrying on, of any business enterprise involving prostitution offenses in
11    violation of the laws of the State in which they are committed (as specified below) or of the
12    United States, and
13           Second, after doing so the defendant performed or attempted to perform an act that
14    did promote, manage, establish, carry on, or facilitate the promotion, management,
15    establishment, or carrying on, of any business enterprise involving prostitution offenses,
16    specifically, by publishing on Backpage.com the ads listed in Counts 2-51 of the indictment.
17
18           Counts 2, 4, 27, 29-30, 33, 35, 37, 40 and 43 concern prostitution offenses in violation
19    of the laws of the State of Massachusetts.          A prostitution offense in violation of
20    Massachusetts General Laws Ch. 272 § 53A(a) occurs when:
21           (1) A person engaged, agreed to engage, or offered to engage, in sexual conduct with
22              another person; and
23           (2) The sexual conduct was, or was to be, done in return for a fee.
24           The term “sexual conduct” includes sexual intercourse; anal intercourse; fellatio, or
25    oral sex involving contact between the mouth of one person and the penis of another person;
26    cunnilingus, or oral sex involving contact between the mouth of one person and the female
27    sex organs—the vagina, vulva or labia—of another person; masturbation of another person;
28    or any intrusion of a part of one person’s body or some other object into the genital or anal

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 1    opening of another person’s body.
 2
 3           Counts 3, 6-11, 18, 25-26, and 28 concern prostitution offenses in violation of the
 4    laws of the State of Washington. A prostitution offense in violation of Revised Code of
 5    Washington § 9A.88.030 occurs when:
 6           (1) A person engaged, agreed to engage, or offered to engage in sexual conduct with
 7              another person; and
 8           (2) The sexual conduct, agreement, or offer was in return for a fee.
 9           “Sexual conduct” means sexual contact or sexual intercourse. “Sexual contact”
10    means any touching of the sexual or other intimate parts of a person done for the purpose of
11    gratifying sexual desire of either party or a third party. “Sexual intercourse” means that the
12    sexual organ of the male entered and penetrated the sexual organ of the female and occurs
13    upon any penetration, however slight, or any penetration of the vagina or anus however
14    slight, by an object, when committed on one person by another, whether such persons are of
15    the same or opposite sex, or any act of sexual contact between persons involving the sex
16    organs of one person and the mouth or anus of another whether such persons are of the same
17    or opposite sex.
18
19           Counts 14-15, 21-22, and 31 concern prostitution offenses in violation of the laws of
20    the State of Arizona. A prostitution offense in violation of Arizona Revised Statute § 13-
21    3214 occurs when:
22           A person knowingly engaged, agreed, or offered to engage in sexual conduct with
23    another person under a fee arrangement with any person for money or any other valuable
24    consideration.
25           “Sexual conduct” means sexual contact, sexual intercourse, oral sexual contact, or
26    sadomasochistic abuse.
27           “Sexual contact” means any direct or indirect fondling or manipulating of any part of
28    the genitals, anus or female breast.

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 1            “Sexual intercourse” means penetration into the penis, vulva or anus by any part of
 2    the body or by an object.
 3            “Oral sexual contact” means oral contact with the penis, vulva or anus.
 4            “Sadomasochistic abuse” means flagellation or torture by or on a person who is nude
 5    or clad in undergarments or in revealing or bizarre costume or the condition of being fettered,
 6    bound or otherwise physically restrained on the part of one so clothed.
 7
 8            Counts 12-13, 23, and 34 concern prostitution offenses in violation of the laws of the
 9    State of California. A prostitution offense in violation of California Penal Code § 647(b)(1)
10    occurs when:
11            An individual solicits, or agrees to engage in, or engages in, any act of prostitution
12    with the intent to receive compensation, money, or anything of value from another person.
13            An act of prostitution occurs when a person has sexual intercourse or does a lewd act
14    with someone else in exchange for money or other compensation. A lewd act means
15    touching the genitals, buttocks, or female breast of either the prostitute or customer with
16    some part of the other person’s body for the purpose of sexual arousal or gratification.
17
18            Counts 45-47 and 51 concern prostitution offenses in violation of the laws of the State
19    of New York. A prostitution offense in violation of New York Penal Law Article 230.00
20    occurs when:
21            A person engaged, agreed, or offered to engage, in sexual conduct with another person
22    for a fee.
23
24            Counts 19-20 and 50 concern prostitution offenses in violation of the laws of the State
25    of Texas. A prostitution offense in violation of Texas Penal Code § 43.02(a)-(b) occurs
26    when:
27            A person knowingly offered or agreed to pay or receive a fee from another to engage
28    in sexual conduct.

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 1              “Sexual conduct” includes deviate sexual intercourse, sexual contact, and sexual
 2    intercourse.
 3              “Sexual intercourse” means any penetration of the female sex organ by the male sex
 4    organ.
 5              “Sexual contact” means any touching of the anus, breast, or any part of the genitals
 6    of another person with intent to arouse or gratify the sexual desire of any person.
 7              “Fee” means the payment or offer of payment in the form of money, goods, services,
 8    or other benefits.
 9              “Deviate sexual intercourse” means any contact between the genitals of one person
10    and the mouth or anus of another person.
11              A person acts knowingly, or with knowledge, with respect to the nature of his conduct
12    or to circumstances surrounding his conduct when he is aware of the nature of his conduct
13    or that the circumstances exist. A person acts knowingly or with knowledge with respect to
14    a result of his conduct when he is aware that his conduct is reasonably certain to cause the
15    result.
16
17              Counts 16-17 concern prostitution offenses in violation of the laws of the State of
18    Colorado. A prostitution offense in violation of Colorado Revised Statutes § 18-7-201
19    occurs when:
20              A person performed, offered, or agreed to perform, any act of sexual intercourse,
21    fellatio, cunnilingus, masturbation, or anal intercourse, with any person who was not his or
22    her spouse, in exchange for money or other thing of value.
23              A prostitution offense in violation of Colorado Revised Statutes § 18-7-202 occurs
24    when:
25              A person solicited another for the purpose of prostitution.
26              Colorado law provides the following definitions:
27              “Anal intercourse” means contact between human beings of the genital organs of one
28    and the anus of another.

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 1           “Fellatio” means any act of oral stimulation of the penis.
 2           “Cunnilingus” means any act of oral stimulation of the vulva or clitoris.
 3           “Masturbation” means stimulation of the genital organs by manual or other bodily
 4    contact exclusive of sexual intercourse.
 5           “Thing of value” includes real property, tangible and intangible personal property,
 6    contract rights, choses in action, services, confidential information, medical records
 7    information, and any rights of use or enjoyment connected therewith.
 8
 9           Counts 38 and 42 concern prostitution offenses in violation of the laws of the State of
10    Ohio. A prostitution offense in violation of Ohio Revised Code § 2907.25 occurs when:
11           The defendant engaged in sexual activity for hire.
12           A prostitution offense violation of Ohio Revised Code § 2907.231 occurs when:
13           The defendant recklessly induces, entices, or procures another to engage in sexual
14    activity for hire in exchange for the person giving anything of value to the other person.
15           Ohio law provides the following definitions:
16           “Sexual activity” means sexual conduct or sexual contact, or both.
17           “Sexual conduct” means vaginal intercourse between a male and female; anal
18    intercourse, fellatio, and cunnilingus between persons regardless of sex; and, without
19    privilege to do so, the insertion, however slight, of any part of the body or any instrument,
20    apparatus, or other object into the vaginal or anal opening of another. Penetration, however
21    slight, is sufficient to complete vaginal or anal intercourse.
22           “Sexual contact” means any touching of an erogenous zone of another, including
23    without limitation the thigh, genitals, buttock, pubic region, or, if the person is a female, a
24    breast, for the purpose of sexually arousing or gratifying either person.
25           “For hire” means for pay or compensation.
26           “Sexual activity for hire” means an implicit or explicit agreement to provide sexual
27    activity in exchange for anything of value paid to the person engaging in such sexual activity,
28    to any person trafficking that person, or to any person associated with either such person.

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 1
 2            Counts 36 and 49 concern prostitution offenses in violation of the laws of the State of
 3    Nevada. A prostitution offense in violation of Nevada Revised Statutes § 201.354 occurs
 4    when:
 5            A person engaged in prostitution or solicitation therefor, except in a licensed house
 6    of prostitution.
 7            “Prostitution” means engaging in sexual conduct with another person in return for a
 8    fee, monetary consideration or other thing of value.
 9            “Sexual conduct” means sexual intercourse, oral-genital contact or any touching of
10    the sexual organs or other intimate parts of a person for the purpose of arousing or gratifying
11    the sexual desire of either person.
12
13            Counts 24 and 44 concern prostitution offenses in violation of the laws of the State
14    of Michigan. A prostitution offense in violation of Michigan Penal Code § 750.449a
15    occurs when:
16            A person engaged or offered to engage the services of another person, not his or her
17    spouse, for the purpose of prostitution, lewdness, or assignation, by the payment in money
18    or other forms of consideration.
19
20            Count 32 concern prostitution offenses in violation of the laws of the State of
21    Louisiana. A prostitution offense in violation of Louisiana Revised Statutes §14:82 occurs
22    when:
23            A person engaged in indiscriminate sexual intercourse for compensation, or solicited
24    another with the intent to engage in indiscriminate sexual intercourse for compensation.
25            “Sexual intercourse” means anal, oral, or vaginal sexual intercourse.
26
27            Count 48 concern prostitution offenses in violation of the laws of the State of Florida.
28    A prostitution offense in violation of Florida Statutes § 796.07 occurs when:

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 1           A person offered to commit, committed, or engaged in prostitution, lewdness, or
 2    assignation.
 3           -OR-
 4           A person solicited, induced, enticed, or procured another to commit prostitution,
 5    lewdness, or assignation.
 6           “Prostitution” is the giving or receiving of the body for sexual activity for hire but
 7    excludes sexual activity between spouses.
 8           “Lewdness” is any indecent or obscene act. “Indecent” means wicked, lustful,
 9    unchaste, licentious, or sensual intention on the part of the person doing the act.
10           “Sexual activity” means oral, anal, or vaginal penetration by, or union with, the sexual
11    organ of another; anal or vaginal penetration of another by any other object; or the handling
12    or fondling of the sexual organ of another for the purpose of masturbation; however, the term
13    does not include acts done for bona fide medical purposes.
14           “Assignation” includes the making of any appointment or engagement for prostitution
15    or lewdness or any act in furtherance of such appointment or engagement.
16           To “solicit” means to command, encourage, hire, or request another person to engage
17    in specific conduct.
18           To “procure” means to persuade, induce, prevail upon or cause a person to do
19    something.
20
21           Count 39 concern prostitution offenses in violation of the laws of the State of
22    Alabama. A prostitution offense in violation of Alabama Criminal Code § 13A-12-121
23    occurs under any of the following:
24           (1)     A person committed an act of prostitution. Prostitution is defined as the
25    commission by a person of any natural or unnatural sexual act, sodomy, or sexual contact for
26    monetary consideration or other thing of value.
27           (2)     A person solicited, compelled, or coerced any person to have sexual
28    intercourse or participate in any natural or unnatural sexual act, deviant sexual intercourse,

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 1    or sexual contact for monetary consideration or other thing of marketable value.
 2             (3)    A person agreed to engage in sexual intercourse, deviant sexual intercourse, or
 3    sexual contact with another or participate in the act for monetary consideration or other thing
 4    of marketable value and give or accept monetary consideration or other thing of value in
 5    furtherance of the agreement.
 6             (4)    A person knowingly did any of the following:
 7                       a) Caused or aided a person to commit or engage in prostitution.
 8                       b) Procured or solicited patrons for prostitution.
 9                       c) Provided persons or premises for prostitution purposes.
10                       d) Received or accepted money or other thing of value pursuant to a prior
11                           agreement with any person whereby he or she participated or is to
12                           participate in the proceeds of any prostitution activity.
13                       e) Operated or assisted in the operation of a house of prostitution or a
14                           prostitution enterprise.
15
16             Count 41 concern prostitution offenses in violation of the laws of the State of
17    Arkansas. A prostitution offense in violation of Arkansas Code § 5-70-102 occurs when:
18             A person engaged in, agreed, or offered to engage in sexual activity with any other
19    person in return for or in expectation of a fee.
20             “Sexual activity” means sexual intercourse, deviate sexual activity, or sexual contact.
21             “Sexual intercourse” means penetration, however slight, of the labia majora by a
22    penis.
23             “Deviate sexual activity” means any act of sexual gratification involving: (A) the
24    penetration, however slight, of the anus or mouth of a person by the penis of another person;
25    or (B) the penetration, however slight, of the labia majora or anus of a person by any body
26    member or foreign instrument manipulated by another person.
27             “Sexual contact” means any act of sexual gratification involving the touching, directly
28    or through clothing, of the sex organs, buttocks, or anus of a person or the breast of a female.

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 1
 2            Count 5 concern prostitution offenses in violation of the laws of the State of Maine.
 3    A prostitution offense in violation of Maine Revised Statutes 17-A §§ 853-A & 851 occurs
 4    when:
 5            A person engages in, or agrees to engage in, or offers to engage in a sexual act or
 6    sexual contact in return for a pecuniary benefit to be received by the person engaging in
 7    prostitution or a 3rd person.
 8            “Sexual act” means: (1) Any act between 2 persons involving direct physical contact
 9    between the genitals of one and the mouth or anus of the other, or direct physical contact
10    between the genitals of one and the genitals of the other; (2) Any act between a person and
11    an animal being used by another person which act involves direct physical contact between
12    the genitals of one and the mouth or anus of the other, or direct physical contact between
13    the genitals of one and the genitals of the other; or (3) Any act involving direct physical
14    contact between the genitals or anus of one and an instrument or device manipulated by
15    another person when that act is done for the purpose of arousing or gratifying sexual desire
16    or for the purpose of causing bodily injury or offensive physical contact.
17            “Sexual contact” means any touching of the genitals or anus, directly or through
18    clothing, other than as would constitute a sexual act, for the purpose of arousing or
19    gratifying sexual desire or for the purpose of causing bodily injury or offensive physical
20    contact.
21
22                                     Supporting Authorities
23            Massachusetts General Laws Ch. 272 § 53A(a); Massachusetts Criminal Model
24    Jury Instruction 7.480—Sexual Conduct for a Fee.
25            Revised Code of Washington § 9A.88.030; Washington Pattern Jury Instructions—
26    Criminal § 48.02 Prostitution-Elements; § 48.12 Sexual Conduct—Definition (April 2021
27    update).
28            Arizona Revised Statute §§ 13-3211; 13-3214; Revised Arizona Jury Instructions

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 1     (Criminal) §§ 32.11; 32.14.
 2            California Penal Code § 647(b)(1); Judicial Council of California Criminal Jury
 3     Instructions (2020 Edition) CALCRIM §§ 1153-55.
 4            New York Penal Law Article 230.00; New York Criminal Jury Instructions and
 5     Model Colloquies for Article 230 Prostitution Offenses (there is no statutory definition of
 6     the term “sexual conduct” that is expressly applicable to the statutes contained in Penal
 7     Law article 230; See Prus v. Holder, 660 F.3d 144 (2d Cir. 2011) (“Although ‘sexual
 8     conduct’ is not defined in Article 230, the plain language of the statute makes clear that
 9     prostitution in New York encompasses accepting payment for sexual acts beyond . . .
10     “‘sexual intercourse’”).
11            Texas Penal Code § 43.02(a)-(b); Texas Criminal Jury Charges § 10:390.10.
12            Colorado Revised Statutes, §§ 18-7-201 and 18-7-202; Colorado Jury Instructions
13     Criminal 2018, §§ 7-2:01 Prostitution and 7-2:03 Soliciting Another for Prostitution;
14     Instruction F:16 (defining “anal intercourse”); F:81 (defining “cunnilingus”); F:147
15     (defining “fellatio”); F:217 (defining “masturbation”); F:371 (defining “thing of value”);
16     (the term “sexual intercourse” is not defined in section 18-7-201).
17            Ohio Revised Code §§ 2907.01, 2907.25, 2907.231; 2 Ohio Jury Instructions
18     Criminal § 507.25.
19            Nevada Revised Statutes §§ 201.354, 201.295.
20            Michigan Penal Code § 750.449a.
21            Louisiana Revised Statutes §14:82.
22            Florida Statutes § 796.07; 1 FL Standard Jury Instructions in Criminal Cases 23.5
23     and 23.6.
24            Alabama Criminal Code §§ 13A-12-120, 13A-12-121.
25            Arkansas Code §§ 5-70-102, 5-70-101, 5-14-101.
26            Maine Revised Statutes 17-A §§ 853-A, 851, 251.
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 1                                  DEFENDANTS’ PROPOSED
 2               8.144 TRAVEL ACT—INTERSTATE OR FOREIGN TRAVEL
 3                         IN AID OF RACKETEERING ENTERPRISE
 4                                      (18 U.S.C. § 1952(a)(3))
 5                                    (Counts 2-51 – Travel Act)
 6            Each defendant is charged in Counts 2-51 of the indictment with violating Section
 7     1952(a)(3) of Title 18 of the United States Code. In order for a defendant to be found
 8     guilty of those charges, the government must prove each of the following elements beyond
 9     a reasonable doubt for that defendant as to each charge:
10            First, that defendant used the mail or any facility in interstate commerce with the
11     specific intent to promote, or facilitate the promotion of, the prostitution offenses
12     committed by a particular business enterprise in violation of the laws of the State in which
13     they were committed, as alleged in each Count; and
14            Second, after doing so, that defendant performed an act to promote, or facilitate the
15     promotion of, the prostitution offenses committed by a particular business enterprise
16     associated with that particular ad specified in each Count.
17            The elements of the Travel Act are not satisfied if a defendant merely did an act that
18     promoted, or facilitated the promotion of, prostitution offenses committed by a particular
19     business enterprise. The elements of the Travel Act are only established if the government
20     proves beyond a reasonable doubt that a defendant knowingly and willfully intended his or
21     her act to facilitate the prostitution offenses committed by a particular business enterprise
22     associated with that ad.
23            The government cannot meet its burden to prove that a defendant had the specific
24     intent to participate in and further the prostitution offenses committed by a particular
25     business enterprise associated with the ad by proving:
26               • the defendant had after-the-fact knowledge that some people who advertised
27                   on Backpage.com engaged in prostitution offenses or that some or even many
28                   past ads on Backpage.com related to unlawful activity;

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 1                  • the defendant knew Backpage.com might facilitate prostitution in the
 2                     abstract;
 3                  • the defendant was indifferent to the actions of the purchasers of classified
 4                     ads on Backpage.com; or
 5                  • the defendant knew that a particular advertiser might, at times, engage in
 6                      prostitution offenses.
 7     Rather, to satisfy the specific intent requirements of the Travel Act, the government must
 8     prove beyond a reasonable doubt, for each Count, that each defendant in some significant
 9     manner associated himself or herself with a particular business enterprise associated with
10     the ad charged in that Count with the intent to promote, or facilitate the promotion of, the
11     prostitution offenses committed by that business enterprise.
12               The existence of a “business enterprise” is an element of this crime and, unless the
13     government has proven to you beyond a reasonable doubt the existence of a “business
14     enterprise” as to each count, you must return a verdict of not guilty. A defendant cannot
15     intend to promote or facilitate a business enterprise he or she does not know exists. The
16     government also must prove beyond a reasonable doubt that the act each defendant
17     performed in furtherance of the business enterprise was done with the specific intent to
18     facilitate each element of the underlying state crime.
19
20                                     First Amendment Application
21               In addition to the requirements of the Travel Act, under the First Amendment, the
22     jury cannot find a defendant guilty of a crime based on the publication of a presumptively
23     protected third-party classified ad, unless the government proves beyond a reasonable
24     doubt that:
25        (i)       the defendant had actual knowledge of the particular ad, and
26        (ii)      the defendant had actual knowledge that the particular ad related to unlawful
27                  activity, and
28

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 1        (iii)   the defendant personally took an action causing the particular ad to be
 2                published on, or to continue to be published on, Backpage.com with the aim of
 3                furthering the illegal activity.
 4            It is not enough for the government to show that a defendant knew that some adult
 5     ads might lead to others committing crimes. If this is all the government demonstrates,
 6     you must find the defendant not guilty.           In order to find the defendant guilty, the
 7     government must prove beyond a reasonable doubt that a defendant specifically intended
 8     that the prostitution offenses of a particular business enterprises be committed. Specific
 9     intent is defined in the following instruction.
10
11
12     [This instruction should track the elements and definition of “prostitution” that the
13     government provided to the grand jury at the time this indictment was returned. See Doc.
14     No. 1171.]
15
16                                        Supporting Authorities
17            Model Crim. Jury Instr. 9th Cir. 8.144 (2021) (modified to reflect the charges in the
18     indictment); Woodhull Freedom Foundation v. United States, 334 F. Supp. 3d 185, 199-
19     201 (D.D.C. 2018), rev’d. 948 F.3d 363 (D.C. Cir. 2020) (where the United States took the
20     position that for prosecutions under the Travel Act, the government must prove “not simply
21     that the defendant was aware of a potential result of the criminal offense, but instead that
22     the defendant intended to ‘explicitly further[]’ a specified unlawful act.”).
23            See Backpage.com v. Dart, 807 F.3d 229, 234 (7th Cir. 2015) (“‘[A]n intermediary
24     . . . normally is indifferent to the content of what it transmits. Even entities that know the
25     information’s content do not become liable for the sponsor’s deeds. Does a newspaper that
26     carries an advertisement for ‘escort services’ or ‘massage parlors’ aid and abet the crime
27     of prostitution, if it turns out that some (or many) of the advertisers make money from that
28     activity?’ Doe v. GTE Corp., 347 F.3d 655, 659 (7th Cir. 2003) . . . Backpage is an

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 1     intermediary between the advertisers of adult services and visitors to Backpage’s
 2     website.”); In re Aimster Copyright Litig., 334 F.3d 643, 651 (7th Cir. 2003) (“A retailer
 3     of slinky dresses is not guilty of aiding and abetting prostitution even if he knows that some
 4     of his customers are prostitutes….”).
 5            United States v Gibson Specialty Co., 507 F.2d 446, 450 fn. 8 (9th Cir. 1974) (“The
 6     presumption that one intends the natural and probable consequences of his actions is
 7     insufficient in this context to establish intent to facilitate criminal activity. It is as likely as
 8     not that a vendor similar to the defendants in this proceeding is totally indifferent to the
 9     actions of his purchaser.”)
10            See United States v. Rundo, 990 F.3d 709, 719-720 (9th Cir. 2021) (“’the intent to
11     engage in one of the prohibited acts is a personal prerequisite to punishment under [the
12     Anti-Riot Act] . . . Simply put, knowing that some might choose to become violent is not
13     at all the same as intending that they do so.”).
14            Backpage.com, LLC v. McKenna, 881 F. Supp. 2d 1262, 1281 (W.D. Wash. 2012)
15     (“The third-party publication of offers to engage in illegal transactions does not fall within
16     ‘well-defined and narrowly limited classes of speech’ that fall outside of First Amendment
17     protection.”) (quoting Chaplinsky v. New Hampshire, 315 U.S. 568, 571-72 (1942)).
18            See United States v. Lacey, et al. (D. Ariz.), Case No. 18-CR-00422-PHX-SMB,
19     Doc. No. 946 at 13 (Order denying motion to dismiss) (“[Defendants] were not indicted
20     for facilitating the amorphous notion of ‘prostitution.’ They were indicted for facilitating
21     (via publishing ads) on fifty distinct occasions where prostitutes, prostitution-related
22     businesses, or other groups were involved in the business of prostitution.”); see United
23     States v. Lacey, et al. (D. Ariz.), Case No. 18-CR-00422-PHX-SMB, Transcript of
24     December 4, 2020 Hearing (“And I think one of the key things in my reason for denying
25     the recusal is that this case is not about Backpage. Backpage was prosecuted in a separate
26     case, entered a plea in a separate case. This case is about these individual defendants and
27     whether they had specific knowledge of these ads as facilitating illegal activity.”).
28            United States v. Jones, 909 F.2d 533, 539 (D.C.Cir.1990) (a proper Travel Act jury

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 1     instruction “would inform the jury that the defendant must have performed or attempted to
 2     perform an act in furtherance of the business, with the intent that each element of the
 3     underlying state crime be completed”); Deptula v. Attorney General of U.S., 642 Fed.
 4     Appx. 184 (3rd Cir. 2016) (“to obtain a Travel Act conviction, the government must prove
 5     . . . that the defendant had the specific intent to facilitate each element of the relevant
 6     offense.”); United States v. Bertman, 686 F.2d 772, 774 (9th Cir. 1982) (“When the
 7     unlawful activity charged in the indictment is the violation of state law, the commission of
 8     or the intent to commit such a violation is an element of the federal offense.”).
 9
10                                UNITED STATES’ OBJECTIONS
11            The Court should give the Travel Act instructions proposed by the United States
12     instead of this proposed instruction by Defendants. First, the United States’ instruction
13     tracks the Model Jury Instruction. Defendants’ proposed instruction provides a host of
14     extraneous material. Defendants’ “First Amendment Application” is—as discussed by the
15     United States in Part IV infra—contrary to law and the facts in this case. All of the
16     instruction following the second element, which is where the Model Instruction ends, is
17     unnecessary and represents Defendants’ legal arguments that are unsupported by law, as
18     this Court has recognized in previous Orders. (See Doc. 793 at 15 (“Defendants argue the
19     First Amendment requires the Government or prove that each Defendant was aware of each
20     ad that make up the fifty Travel Act counts and knew that each ad proposed illegal
21     transactions. The Court is not persuaded that the First Amendment demands such a
22     standard.”); Doc. 946 at 13-14 (“[T]he allegations certainly describe a course of conduct
23     where Defendants facilitated ‘unlawful activity,’ including numerous pimps, prostitutes
24     and traffickers in violation of the Travel Act. They also certainly describe how these
25     various groups continuously engaged in prostitution, which plausibly fits within the
26     definition of a ‘business enterprise.’”).)
27            Defendants also rely on United States v. Bertman, for the proposition that
28     Defendants needed the intent to violate the state prostitution offense before being found

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 1     guilty. That’s not accurate. Bertman involved a claim under 18 U.S.C. § 1952(b)(2) that
 2     the defendant violated the Travel Act by bribing a public official in Hawaii in direct
 3     violation of the Hawaii Penal Code. 686 F.2d at 773-74. The Ninth Circuit held that
 4     “[w]hen the unlawful activity charged in the indictment is the violation of state law, the
 5     commission of or the intent to commit such a violation is an element of the federal offense,”
 6     the government “must prove . . . that the defendant has or could have violated the
 7     underlying state law, and the defendant may assert any relevant substantive state law
 8     defense.” Id. at 774 (emphasis added). Here, the unlawful activity at issue is not
 9     Defendants’ direct violation of a state “extortion, bribery, or arson” statute under 18 U.S.C.
10     § 1952(b)(2) (as in Bertman), but rather Defendants’ promotion or facilitation of unlawful
11     activity under 18 U.S.C. § 1952(a)(3) and (b)(1). (See, e.g., SI¶¶9-11, 34.)           In these
12     circumstances, it would make no sense to require that the United States prove Defendants
13     did or could have directly committed the underlying state law offenses. “Promotion” or
14     “facilitation,” not commission, is all that is required. See 18 U.S.C. § 1952(a)(3).
15            Defendants’ contrary reading would render superfluous the terms “promote” and
16     “facilitate” in 18 U.S.C. § 1952(a)(3)—“a result we typically try to avoid.” N.L.R.B. v. SW
17     Gen., Inc., 137 S. Ct. 929, 941 (2017). See also Williams v. Taylor, 529 U.S. 362, 404
18     (2000) (“[W]e must give effect, if possible, to every clause and word of a statute.”). For
19     that very reason, the Ninth Circuit has recognized that the Travel Act does not require proof
20     that defendants intended to violate state law themselves; proof that defendants intended to
21     promote or facilitate violation of state law suffices. Polizzi, 500 F.2d at 876-77 (“[T]o the
22     extent that [a Sixth Circuit case] requires proof that an accused under § 1952 intended to
23     violate state law himself, we find that it conflicts with the clear meaning of the language
24     used in § 1952.”). These include cases decided post-Bertman. United States v. Winslow,
25     962 F.2d 845, 852 (9th Cir. 1992) (“Section 1952(a)(3) requires the government to prove
26     only that a defendant committed ‘a subsequent overt act in furtherance of the unlawful
27     activity.’”); United States v. Stafford, 831 F.2d 1479, 1482 (9th Cir. 1987) (“The Travel
28     Act does not require the commission of the predicate offense; rather, only an ‘attempt to

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 1     promote’ the unlawful activity . . . with a ‘subsequent overt act in furtherance of that
 2     unlawful activity.’”); see also United States v. Jones, 642 F.2d 909, 913 (5th Cir. 1981)
 3     (subsequent facilitating act required by Travel Act need only make the unlawful activity
 4     easier and need not itself be unlawful). This Court’s prior Orders discussing the adequacy
 5     of the SI are to the same effect. (See Doc. 793, Order at 15 (quoting Polizzi and describing
 6     mens rea required by Travel Act); see also Doc. 840, Order at 10-12 (discussing elements
 7     of Travel Act); Doc. 946, Order at 7-8, 11, 14-16 (same).)
 8            The Court should instruct the jury based on the United States’ proposed jury
 9     instructions describing Counts 2-51.
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 1     UNITED STATES’ PROPOSED 8.25 CONSPIRACY—LIABILITY FOR TRAVEL
 2         ACT VIOLATIONS COMMITTED BY CO-CONSPIRATOR (PINKERTON
 3                                              CHARGE)*
 4              Each member of the conspiracy is responsible for the actions of the other conspirators
 5     performed during the course and in furtherance of the conspiracy. If one member of a
 6     conspiracy commits a crime in furtherance of a conspiracy, the other members have also,
 7     under the law, committed that crime.
 8              Therefore, you may find the defendant guilty of committing a Travel Act crime as
 9     charged in Counts 2-51 of the indictment if the United States has proved each of the
10     following elements beyond a reasonable doubt:
11              First, a member of the conspiracy committed the Travel Act offense alleged in that
12     count;
13              Second, the person was a member of the conspiracy charged in Count 1 of the
14     indictment;
15              Third, the person committed the Travel Act offense in furtherance of the conspiracy;
16              Fourth, the defendant was a member of the same conspiracy at the time the offenses
17     charged in Counts 2-51 were committed; and
18              Fifth, the offense fell within the scope of the unlawful agreement and could
19     reasonably have been foreseen to be a necessary or natural consequence of the unlawful
20     agreement.
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 1                         DEFENDANTS’ PROPOSED INSTRUCTION
 2           8.25 CONSPIRACY—LIABILITY FOR TRAVEL ACT VIOLATIONS
 3              COMMITTED BY CO-CONSPIRATOR (PINKERTON CHARGE)
 4                                      (Co-Conspirator Liability)
 5            Each member of a conspiracy is responsible for the actions of the other conspirators
 6     performed during the course and in furtherance of the conspiracy. If one member of a
 7     conspiracy commits a crime in furtherance of a conspiracy, the other members have also,
 8     under the law, committed that crime.
 9            Therefore, you may find a defendant guilty of a violation of the Travel Act under
10     Section 1952(a)(3)(A) of Title 18 of the United States Code as charged in Counts 2-51 of
11     the indictment if the government has proved each of the following elements beyond a
12     reasonable doubt:
13            First, a person named in Count 1 of the indictment committed the crime of violating
14     the Travel Act by promoting, or facilitating the promotion of, prostitution offenses
15     committed by a particular business enterprise in violation of the laws of the State in which
16     they are committed;
17            Second, the person named in Count 1 was a member of the conspiracy as charged
18     in Count 1 of the indictment;
19            Third, the person named in Count 1 committed the crime of promoting, or
20     facilitating the promotion of, prostitution offenses committed by a business enterprise in
21     furtherance of the conspiracy;
22            Fourth, the defendant was a member of the same conspiracy at the time the offenses
23     charged in Counts 2-51 were committed;
24            Fifth, the offense fell within the scope of the unlawful agreement and could
25     reasonably have been foreseen to be a necessary or natural consequence of the unlawful
26     agreement.
27            To prove a conspiracy, the government must prove beyond a reasonable doubt the
28     requisite intent to commit the substantive crime, here the promotion, or the facilitation of

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 1     the promotion, of prostitution offenses committed by a particular business enterprise in
 2     violation of the laws of the State in which they are committed. The elements of the Travel
 3     Act are not satisfied if a defendant merely did an act that promoted, or facilitated the
 4     promotion of, the prostitution offenses committed by a particular business enterprise. The
 5     elements of the Travel Act are only established if the government proves beyond a
 6     reasonable doubt that a defendant knowingly and willfully intended his or her act to
 7     facilitate the prostitution offenses committed by a particular business enterprise associated
 8     with that ad.
 9            The government cannot meet its burden to prove that a defendant had the specific
10     intent to participate in and further the prostitution offenses committed by a particular
11     business enterprise associated with the ad by proving:
12               • the defendant had after-the-fact knowledge that some people who advertised
13                     on Backpage.com engaged in prostitution offenses or that some or even many
14                     past ads on Backpage.com related to unlawful activity;
15               • the defendant knew Backpage.com might facilitate prostitution in the
16                     abstract;
17               • the defendant was indifferent to the actions of the purchasers of classified
18                     ads on Backpage.com; or
19               • the defendant knew that a particular advertiser might, at times, engage in
20                     prostitution offenses.
21     Rather, to satisfy the specific intent requirements of the Travel Act, the government must
22     prove beyond a reasonable doubt, for each Count, that each defendant in some significant
23     manner associated himself or herself with a particular business enterprise associated with
24     the ad charged in that Count with the intent to promote, or facilitate the promotion of, the
25     prostitution offenses committed by that business enterprise. As such, to find a defendant
26     guilty of conspiring to violate the Travel Act, you must find that the government proved
27     beyond a reasonable doubt that the defendant joined a conspiracy with the specific intent
28     to associate himself or herself with a business enterprise for the purpose of advancing the

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 1     prostitution offenses committed by that business enterprise.
 2            The existence of a “business enterprise” is an element of this crime and, unless the
 3     government has proven to you beyond a reasonable doubt the existence of a “business
 4     enterprise” as to each count, you must return a verdict of not guilty. A defendant cannot
 5     intend to promote or facilitate a business enterprise he or she does not know exists. The
 6     government also must prove beyond a reasonable doubt that the act each defendant
 7     performed in furtherance of the business enterprise was done with the specific intent to
 8     facilitate each element of the underlying state crime.
 9
10     [This instruction should track the elements and definition of “prostitution” that the
11     government provided to the grand jury at the time this indictment was returned. See Doc.
12     No. 1171.]
13
14                                       Supporting Authorities
15            Model Crim. Jury Instr. 9th Cir. 8.25 (2021) (modified to reflect the charges in the
16     indictment).
17            To prove a conspiracy charge, the government must prove the “requisite intent for
18     the substantive crime.” United States v. Kaplan, 836 F.3d 1199, 1212 (9th Cir. 2016). A
19     violation of the Travel Act is a specific intent crime. In Woodhull Freedom Foundation v.
20     United States, the government argued that for prosecutions under the Travel Act, the
21     prosecutor must prove beyond a reasonable doubt “not simply that the defendant was aware
22     of a potential result of the criminal offense, but instead that the defendant intended to
23     ‘explicitly further[]’ a specified unlawful act.”    334 F. Supp. 3d 185, 199-201 (D.D.C.
24     2018), rev’d. 948 F.3d 363 (D.C. Cir. 2020). The court agreed with the government and
25     held that the law applies only to “specific unlawful acts with respect to a particular
26     individual, not the broad subject-matter of prostitution.” Id. Most recently, in defending
27     the district court decision in that case, DOJ repeated its position that in a prosecution under
28     the Travel Act, the government must allege that the Defendant acted to intentionally

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 1     promote or facilitate a “specific, unlawful instance of prostitution.” Brief for the United
 2     States in Woodhull Freedom Found. v. United States, No. 18-5298 (D.C. Cir. Apr. 15,
 3     2019) (Doc. No. 1782997) at 21-22.
 4            See also Backpage.com v. Dart, 807 F.3d 229, 234 (7th Cir. 2015) (“‘[A]n
 5     intermediary . . . normally is indifferent to the content of what it transmits. Even entities
 6     that know the information’s content do not become liable for the sponsor’s deeds. Does a
 7     newspaper that carries an advertisement for ‘escort services’ or ‘massage parlors’ aid and
 8     abet the crime of prostitution, if it turns out that some (or many) of the advertisers make
 9     money from that activity?’ Doe v. GTE Corp., 347 F.3d 655, 659 (7th Cir. 2003) . . .
10     Backpage is an intermediary between the advertisers of adult services and visitors to
11     Backpage’s website.”); In re Aimster Copyright Litig., 334 F.3d 643, 651 (7th Cir. 2003)
12     (“A retailer of slinky dresses is not guilty of aiding and abetting prostitution even if he
13     knows that some of his customers are prostitutes….”).
14            United States v Gibson Specialty Co., 507 F.2d 446, 450 fn. 8 (9th Cir. 1974) (“The
15     presumption that one intends the natural and probable consequences of his actions is
16     insufficient in this context to establish intent to facilitate criminal activity. It is as likely as
17     not that a vendor similar to the defendants in this proceeding is totally indifferent to the
18     actions of his purchaser.”).
19            See United States v. Rundo, 990 F.3d 709, 719-720 (9th Cir. 2021) (“’the intent to
20     engage in one of the prohibited acts is a personal prerequisite to punishment under [the
21     Anti-Riot Act] . . . Simply put, knowing that some might choose to become violent is not
22     at all the same as intending that they do so.”).
23            Backpage.com, LLC v. McKenna, 881 F. Supp. 2d 1262, 1281 (W.D. Wash. 2012)
24     (“The third-party publication of offers to engage in illegal transactions does not fall within
25     ‘well-defined and narrowly limited classes of speech’ that fall outside of First Amendment
26     protection.”) (quoting Chaplinsky v. New Hampshire, 315 U.S. 568, 571-72 (1942)).
27            See United States v. Lacey, et al. (D. Ariz.), Case No. 18-CR-00422-PHX-SMB,
28     Doc. No. 946 at 13 (Order denying motion to dismiss) (“[Defendants] were not indicted

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 1     for facilitating the amorphous notion of ‘prostitution.’ They were indicted for facilitating
 2     (via publishing ads) on fifty distinct occasions where prostitutes, prostitution-related
 3     businesses, or other groups were involved in the business of prostitution.”); see United
 4     States v. Lacey, et al. (D. Ariz.), Case No. 18-CR-00422-PHX-SMB, Transcript of
 5     December 4, 2020 Hearing (“And I think one of the key things in my reason for denying
 6     the recusal is that this case is not about Backpage. Backpage was prosecuted in a separate
 7     case, entered a plea in a separate case. This case is about these individual defendants and
 8     whether they had specific knowledge of these ads as facilitating illegal activity.”).
 9            United States v. Jones, 909 F.2d 533, 539 (D.C.Cir.1990) (a proper Travel Act jury
10     instruction “would inform the jury that the defendant must have performed or attempted to
11     perform an act in furtherance of the business, with the intent that each element of the
12     underlying state crime be completed”); Deptula v. Attorney General of U.S., 642 Fed.
13     Appx. 184 (3rd Cir. 2016) (“to obtain a Travel Act conviction, the government must prove
14     . . . that the defendant had the specific intent to facilitate each element of the relevant
15     offense.”); United States v. Bertman, 686 F.2d 772, 774 (9th Cir. 1982) (“When the
16     unlawful activity charged in the indictment is the violation of state law, the commission of
17     or the intent to commit such a violation is an element of the federal offense.”).
18                                UNITED STATES’ OBJECTIONS
19            Everything after the fifth element in Defendants’ proposed instruction should not be
20     read to the jury for the same reasons the United States articulated in its objection to the
21     Travel Act instruction infra. With that language eliminated, the parties’ instructions are
22     similar with one key difference: Defendants’ proposed instruction includes the statement
23     “a person named in Count 1” in each of the first three elements. This instruction is too
24     restrictive and does not appropriately convey Pinkerton liability.
25            For a defendant to be found guilty at trial under a Pinkerton theory, the co-
26     conspirator need not be named in the indictment. United States v. Carpenter, 961 F.2d
27     824, 828 n.3 (9th Cir. 1992) (“As an unindicted co-conspirator, Shahabian's acts and
28     statements in furtherance of the conspiracy may be attributed to Carpenter.”) (citing

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 1     Pinkerton v. United States, 328 U.S. 640, 646-47 (1946)). Here, the Court has already
 2     recognized that Pinkerton liability extends to individuals not named in the Superseding
 3     Indictment.   (Doc. 793 at 19) (discussing Pinkerton and fact that “C.F” was a co-
 4     conspirator of Defendants). See also United States v. Long, 301 F.3d 1095, 1103 (9th Cir
 5     2002) (“The Pinkerton doctrine is a judicially-created rule that makes a conspirator
 6     criminally liable for the substantive offenses committed by a co-conspirator when they are
 7     reasonably foreseeable and committed in furtherance of the conspiracy.”). Both the
 8     applicable law and facts support the Court instructing the jury using the United States’
 9     proposed instruction.
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 1       UNITED STATES’ PROPOSED INSTRUCTION 8.20 MONEY LAUNDERING
 2                                  CONSPIRACY—ELEMENTS*
 3            Defendants Lacey, Larkin, Spear, and Brunst are charged in Count 52 of the
 4     indictment with conspiring to commit money laundering in violation of Section 1956(h) of
 5     Title 18 of the United States Code. In order for a defendant to be found guilty of that charge,
 6     the United States must prove each of the following elements beyond a reasonable doubt:
 7            First, beginning in or around 2004, and continuing through April 2018, there was an
 8     agreement between two or more persons to commit at least one crime alleged in the money
 9     laundering conspiracy, namely Promotional Money Laundering, Concealment Money
10     Laundering, International Promotional Money Laundering, International Concealment
11     Money Laundering, or Transactional Money Laundering; and
12            Second, that the defendant became a member of the conspiracy knowing of at least
13     one of its objects and intending to help accomplish it.
14            A conspiracy is a kind of criminal partnership––an agreement of two or more persons
15     to commit one or more crimes. The crime of conspiracy is the agreement to do something
16     unlawful; it does not matter whether the crime agreed upon was committed.
17            For a conspiracy to have existed, it is not necessary that the conspirators made a
18     formal agreement or that they agreed on every detail of the conspiracy. It is not enough,
19     however, that they simply met, discussed matters of common interest, acted in similar ways,
20     or perhaps helped one another. You must find that there was a plan to commit at least one
21     of the crimes alleged in the indictment as an object of the conspiracy with all of you agreeing
22     as to the particular crime that the conspirators agreed to commit.
23            One becomes a member of a conspiracy by willfully participating in the unlawful plan
24     with the intent to advance or further some object or purpose of the conspiracy, even though
25     the person does not have full knowledge of all the details of the conspiracy. Furthermore,
26     one who willfully joins an existing conspiracy is as responsible for it as the originators. On
27     the other hand, one who has no knowledge of a conspiracy, but happens to act in a way which
28     furthers some object or purpose of the conspiracy, does not thereby become a conspirator.

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 1     Similarly, a person does not become a conspirator merely by associating with one or more
 2     persons who are conspirators, nor merely by knowing that a conspiracy exists.
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 1                         DEFENDANTS’ PROPOSED INSTRUCTION
 2                                 8.20 CONSPIRACY—ELEMENTS
 3                    (Conspiracy to Commit Money Laundering – Elements)
 4            Defendants Lacey, Larkin, Spear, and Brunst are charged in Count 52 of the
 5     indictment with conspiring to commit money laundering in violation of Section 1956(h) of
 6     Title 18 of the United States Code. In order for a Defendant to be found guilty of that
 7     charge, the government must prove each of the following elements beyond a reasonable
 8     doubt for that Defendant:
 9            First, beginning in or around 2004, and ending on or about April 2018, there was an
10     agreement between two or more persons to commit concealment money laundering in
11     violation of Section 1956(a)(1)(B)(i), international promotional money laundering in
12     violation of Section 1956(a)(2)(A), transactional money laundering in violation of Section
13     1957(a), and international concealment money laundering in violation of Section
14     1956(a)(2)(B)(i); and
15            Second, a Defendant became a member of the conspiracy to commit concealment,
16     international promotional, transactional, and international concealment money laundering
17     knowing of at least one of its illegal objects and with the specific intent to help commit one
18     or more of the substantive money laundering offenses charged (whose elements are listed
19     below); and
20            Third, one of the members of the conspiracy performed at least one overt act on or
21     after March 28, 2013, for the purpose of carrying out the conspiracy to commit
22     concealment, international promotional, transactional, and international concealment
23     money laundering.
24                 What Is a Conspiracy, and How Does One Become a Member?
25            A conspiracy is a kind of criminal partnership—an agreement of two or more
26     persons to commit one or more crimes. The crime of conspiracy is the agreement to do
27     something unlawful; it does not matter whether the crime agreed upon was committed.
28            For a conspiracy to have existed, it is not necessary that the conspirators made a

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 1     formal agreement or that they agreed on every detail of the conspiracy. It is not enough,
 2     however, that they simply met, discussed matters of common interest, acted in similar
 3     ways, or perhaps helped one another. You must find that there was a plan to commit at
 4     least one of the crimes alleged in the indictment as an illegal object of the conspiracy with
 5     all of you agreeing as to the particular crime – i.e., concealment, international promotional,
 6     transactional, international concealment money laundering – which the conspirators agreed
 7     to commit.
 8            One becomes a member of a conspiracy by willfully participating in the unlawful
 9     plan with the intent to advance or further some illegal object or purpose of the conspiracy,
10     even though the person does not have full knowledge of all the details of the conspiracy.
11     Furthermore, one who willfully joins an existing conspiracy is as responsible for it as the
12     originators. On the other hand, one who has no knowledge of a conspiracy, but happens to
13     act in a way which furthers some illegal object or purpose of the conspiracy, does not
14     thereby become a conspirator. Similarly, a person does not become a conspirator merely
15     by associating with one or more persons who are conspirators, nor merely by knowing that
16     a conspiracy exists. To become a co-conspirator a person must have an intention and
17     agreement to accomplish the same, specific criminal objective as his or her co-conspirators.
18            An overt act does not itself have to be unlawful. A lawful act may be an element of
19     a conspiracy if it was done for the purpose of carrying out the unlawful conspiracy. The
20     government is not required to prove that a Defendant personally did one of the overt acts.
21            Proof of an underlying substantive crime does not, without more, prove the
22     existence of a conspiracy to commit that crime.
23                                     Unanimity Requirements
24            For a Defendant to be found guilty of Count 52 (Conspiracy to Commit Money
25     Laundering), you must find beyond a reasonable doubt that there was a plan to commit at
26     least one illegal object of the alleged conspiracy – specifically intending to commit
27     concealment money laundering, international promotion money laundering, transactional
28     money laundering, and international concealment money laundering – with all of you

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 1     agreeing beyond a reasonable doubt as to which illegal object – which specific act(s) of
 2     concealment money laundering, international promotion money laundering, transactional
 3     money laundering, and international concealment money laundering – and all of you
 4     agreeing beyond a reasonable doubt that the Defendant knowingly and willfully joined the
 5     conspiracy to accomplish such object(s).
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 7                                      Supporting Authorities
 8            Ninth Circuit Manual of Model Criminal Jury Instructions 8.20, 8.147, 8.148, 8.150,
 9     8.149 (2021) (modified to reflect criminal objects charged in Count 52); Barry Tarlow,
10     Defense of a Federal Conspiracy Prosecution, 4 J.Crim.Defense 183, 201-02 (1978)
11     (explaining that the object of the conspiracy must be unlawful); United States v. Lennick,
12     18 F.3d 814, 819 (9th Cir. 1994) (“Proof of the underlying substantive crime, however,
13     does not, without more, prove the existence of a conspiracy.”); United States v. Lapier, 796
14     F.3d 1090 (9th Cir. 2015) (failure to give specific unanimity instruction was plain error
15     because half of jury could have found defendant guilty of joining one conspiracy while
16     other half of jury could have found defendant guilty of joining second conspiracy); United
17     States v. Pomponio, 429 U.S. 10, 12 (1976) (willfulness is the “intentional violation of a
18     known legal duty”).
19            Salinas v. United States, 522 U.S. 52, 63 (1997) (the government must prove a
20     defendant agreed to pursue the “same criminal objective” as his or her coconspirators);
21     United States v. Hubbard, 96 F.3d 1223, 1226 (9th Cir. 1996) (“mere association with
22     members of a conspiracy or knowledge of the conspiracy, ‘without an intention and
23     agreement to accomplish a specific illegal objective, is not sufficient to make one a
24     conspirator’”); United States v. Merino, 846 F.Appx. 494, 495 (9th Cir. 2021) (same).
25                               UNITED STATES’ OBJECTIONS
26            First, an overt act is not part of a money laundering conspiracy. Whitfield v. United
27     States, 543 U.S. 209, 210-11 (2005) (“These cases present the question whether conviction
28     for conspiracy to commit money laundering, in violation of 18 U.S.C. § 1956(h), requires

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 1     proof of an overt act in furtherance of the conspiracy. We hold that it does not.”); id. at
 2     214 (“Because the text of § 1956(h) does not expressly make the commission of an overt
 3     act an element of the conspiracy offense, the Government need not prove an overt act to
 4     obtain a conviction.”).
 5            The remainder of Defendants’ proposed instruction is similar to the Model
 6     Instruction. The United States believes the Model Instruction as articulated in its proposed
 7     instruction is appropriate. 5
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               This includes the fact that the United States need only prove that one of the
       underlying money laundering crimes listed in the instruction was the object of Defendants’
28     conspiracy, rather than all of them. The United States has properly used the disjunctive
       “or” while Defendants have improperly used the conjunctive “and.”
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 1        UNITED STATES’ PROPOSED 8.147 LAUNDERING OR ATTEMPTING TO
 2                            LAUNDER MONETARY INSTRUMENTS
 3                                     (18 U.S.C. § 1956(a)(1)(B))*
 4            Defendants Lacey, Larkin, Spear, and Brunst are charged in Counts 53-62 of the
 5     indictment with Concealment Money Laundering in violation of Section 1956(a)(1)(B)(i) of
 6     Title 18 of the United States Code. In order for a defendant to be found guilty of that charge,
 7     the United States must prove each of the following elements beyond a reasonable doubt:
 8            First, the defendant conducted a financial transaction involving property that
 9     represented the proceeds of promoting, managing, establishing, carrying on, or facilitating
10     the promotion, management, establishment, or carrying on, of any business enterprise
11     involving prostitution offenses;
12            Second, the defendant knew that the property represented the proceeds of some form
13     of unlawful activity; and
14            Third, the defendant knew that the transaction was designed in whole or in part to
15     conceal and disguise the nature, the location, the source, the ownership, or the control of the
16     proceeds of the specified unlawful activity.
17            A financial transaction is a transaction involving the movement of funds by wire or
18     other means that affects interstate or foreign commerce in any way.
19            The phrase “knew that the property represented the proceeds of some form of
20     unlawful activity” means that the defendant knew that the property involved in the
21     transaction represented proceeds from some form, though not necessarily which form, of
22     activity that constitutes a felony. I instruct you that violating the Travel Act is a felony.
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 1                          DEFENDANTS’ PROPOSED INSTRUCTION
 2                       8.147 LAUNDERING MONETARY INSTRUMENTS
 3                         (Counts 53-62—Concealment Money Laundering)
 4              Defendants Lacey, Larkin, Spear, and Brunst are charged in Counts 53-62 of the
 5     indictment with Concealment Money Laundering in violation of Section 1956(a)(1)(B)(i)
 6     of Title 18 of the United States Code. In order for a defendant to be found guilty of that
 7     charge, the government must prove each of the following elements beyond a reasonable
 8     doubt:
 9              First, the defendant conducted a financial transaction involving property that
10     represented the proceeds of the knowing and willful promotion, or facilitation of the
11     promotion of, the prostitution offenses committed by a particular business enterprise in
12     violation of 18 U.S.C. § 1952(a)(3)(A), specifically (i) a business enterprise involved in at
13     least one of the fifty advertisements that is the subject of Counts 2 – 51 and (ii) a business
14     enterprise for which you found that defendant guilty of promoting or facilitating the
15     promotion of;
16              Second, the defendant knew that the property represented the proceeds of some form
17     of unlawful activity; and
18              Third, the defendant knew that the transaction was designed in whole or in part to
19     conceal and disguise the nature, the location, the source, the ownership, or the control of
20     the proceeds of the specified unlawful activity.
21              A financial transaction is a transaction involving the movement of funds by wire or
22     other means that affects interstate or foreign commerce in any way.
23              The phrase “knew that the property represented the proceeds of some form of
24     unlawful activity” means that the defendant knew that the property involved in the
25     transaction represented proceeds from some form, though not necessarily which form, of
26     activity that constitutes a felony. I instruct you that knowingly and willfully promoting, or
27     facilitating the promotion of, the prostitution offenses committed by any business
28     enterprise in violation of 18 U.S.C. § 1952(a)(3)(A) is a felony.

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 1                                       Supporting Authorities
 2            Model Crim. Jury Instr. 9th Cir. 8.147 (2021) (modified to reflect the charges in the
 3     indictment). As this Court previously held, the “specified unlawful activity” (“SUA”) here
 4     is not the general facilitation or promotion of “any business enterprise involving
 5     prostitution offenses” in violation of the Travel Act. See United States v. Lacey, et al. (D.
 6     Ariz.), Case No. 18-CR-00422-PHX-SMB, Doc. No. 946 at 13 (Order denying motion to
 7     dismiss) (“[Defendants] were not indicted for facilitating the amorphous notion of
 8     ‘prostitution.’ They were indicted for facilitating (via publishing ads) on fifty distinct
 9     occasions where prostitutes, prostitution-related businesses, or other groups were involved
10     in the business of prostitution.”); see United States v. Lacey, et al. (D. Ariz.), Case No. 18-
11     CR-00422-PHX-SMB, Transcript of December 4, 2020 Hearing (“And I think one of the
12     key things in my reason for denying the recusal is that this case is not about Backpage.
13     Backpage was prosecuted in a separate case, entered a plea in a separate case. This case is
14     about these individual defendants and whether they had specific knowledge of these ads as
15     facilitating illegal activity.”). Therefore, the SUA referenced in each of the proposed jury
16     instructions regarding the Indictment’s money laundering charges must reference the “fifty
17     distinct” advertisements at issue in Counts 2 - 51. Id.
18                                UNITED STATES’ OBJECTIONS
19            The parties’ proposed instructions are similar except for the first element.
20     Defendants propose a much more stringent definition of the specified unlawful activity.
21     As this Court has previously recognized, that instruction is contrary to governing law.
22            For instance, the first money laundering statute that Defendants are indicted
              under does not require the Government to allege or prove the underlying
23
              offenses. See 18 U.S.C. § 1956(c)(1) (“the term ‘knowing that the property
24            involved in a financial transaction represents the proceeds of some form of
              unlawful activity’ means that the person knew the property involved in the
25            transaction represented proceeds from some form, though not necessarily
26            which form, of activity that constitutes a felony.” (emphasis added)).
27     (Doc. 946 at 17.)

28            Contrary to Defendants’ proposed instruction, a defendant can be found guilty of

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 1     money laundering even if he was found not guilty under any of the Travel Act counts.
 2     (Doc. 946 at 17, n.11) (“[A] defendant may be convicted of a money laundering offense
 3     even if he did not commit the underlying offense.”)
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 1           UNITED STATES’ PROPOSED 8.25 CONSPIRACY—LIABILITY FOR
 2     CONCEALMENT MONEY LAUNDERING VIOLATIONS COMMITTED BY CO-
 3                           CONSPIRATOR (PINKERTON CHARGE)*
 4            Each member of the conspiracy is responsible for the actions of the other conspirators
 5     performed during the course and in furtherance of the conspiracy. If one member of a
 6     conspiracy commits a crime in furtherance of a conspiracy, the other members have also,
 7     under the law, committed that crime.
 8            Therefore, you may find the defendant guilty of Concealment Money Laundering as
 9     charged in Counts 53-62 of the indictment if the United States has proved each of the
10     following elements beyond a reasonable doubt:
11            First, a member of the conspiracy committed the crime of concealment money
12     laundering as alleged in that count;
13            Second, the person was a member of the conspiracy charged in Count 52 of the
14     indictment;
15            Third, the person committed the crime of concealment money laundering in
16     furtherance of the conspiracy;
17            Fourth, the defendant was a member of the same conspiracy at the time the offenses
18     charged in Counts 53-62 were committed; and
19            Fifth, the offense fell within the scope of the unlawful agreement and could
20     reasonably have been foreseen to be a necessary or natural consequence of the unlawful
21     agreement.
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 1     DEFENDANTS’ PROPOSED INSTRUCTION 8.25 CONSPIRACY—LIABILITY
 2      FOR CONCEALMENT MONEY LAUNDERING VIOLATIONS COMMITTED
 3                      BY CO-CONSPIRATOR (PINKERTON CHARGE)
 4                                      (Co-Conspirator Liability)
 5            Each member of a conspiracy is responsible for the actions of the other conspirators
 6     performed during the course and in furtherance of the conspiracy. If one member of a
 7     conspiracy commits a crime in furtherance of a conspiracy, the other members have also,
 8     under the law, committed that crime.
 9            Therefore, you may find a Defendant guilty of a committing concealment money
10     laundering in violation of Section 1956(a)(1)(B) of Title 18 of the United States Code as
11     charged in Counts 53-62 of the indictment if the government has proved each of the
12     following elements beyond a reasonable doubt:
13            First, a person named in Count 52 of the indictment committed the crime of
14     concealment money laundering as alleged in Counts 53-62;
15            Second, the person was a member of the conspiracy as charged in Count 52 of the
16     indictment;
17            Third, the person committed the crime of concealment money laundering in
18     furtherance of the conspiracy;
19            Fourth, the Defendant was a member of the same conspiracy at the time the offenses
20     charged in Counts 53-62 were committed;
21            Fifth, the offense fell within the scope of the unlawful agreement and could
22     reasonably have been foreseen to be a necessary or natural consequence of the unlawful
23     agreement.
24            To prove a conspiracy, the government must prove beyond a reasonable doubt the
25     requisite intent to commit the substantive crime, here concealment money laundering.
26     Concealment money laundering is a specific intent crime. See the Specific Intent jury
27     instruction.
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 1                                       Supporting Authorities
 2             Model Crim. Jury Instr. 9th Cir. 8.25 (2021) (modified to reflect the charges in the
 3     indictment). As this Court previously held, the “specified unlawful activity” (“SUA”) here
 4     is not the general facilitation or promotion of “any business enterprise involving
 5     prostitution offenses” in violation of the Travel Act. See United States v. Lacey, et al. (D.
 6     Ariz.), Case No. 18-CR-00422-PHX-SMB, Doc. No. 946 at 13 (Order denying motion to
 7     dismiss) (“[Defendants] were not indicted for facilitating the amorphous notion of
 8     ‘prostitution.’ They were indicted for facilitating (via publishing ads) on fifty distinct
 9     occasions where prostitutes, prostitution-related businesses, or other groups were involved
10     in the business of prostitution.”); see United States v. Lacey, et al. (D. Ariz.), Case No. 18-
11     CR-00422-PHX-SMB, Transcript of December 4, 2020 Hearing (“And I think one of the
12     key things in my reason for denying the recusal is that this case is not about Backpage.
13     Backpage was prosecuted in a separate case, entered a plea in a separate case. This case is
14     about these individual defendants and whether they had specific knowledge of these ads as
15     facilitating illegal activity.”). Therefore, the SUA referenced in each of the proposed jury
16     instructions regarding the Indictment’s money laundering charges must reference the “fifty
17     distinct” advertisements at issue in Counts 2 - 51. Id.
18             To prove a conspiracy charge, the government must prove the “requisite intent for
19     the substantive crime.” United States v. Kaplan, 836 F.3d 1199, 1212 (9th Cir. 2016).
20     Concealment money laundering is a specific intent crime.
21                                UNITED STATES’ OBJECTIONS
22             Defendants’ proposed instruction, which is largely similar to the United States’
23     proposed instruction, includes the statement “a person named in Count 52” in the first
24     element. This instruction is too restrictive and does not appropriately convey Pinkerton
25     liability.
26             For a defendant to be found guilty at trial under a Pinkerton theory, the co-
27     conspirator need not be named in the indictment. United States v. Carpenter, 961 F.2d
28     824, 828 n.3 (9th Cir. 1992) (“As an unindicted co-conspirator, Shahabian's acts and

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 1     statements in furtherance of the conspiracy may be attributed to Carpenter.”) (citing
 2     Pinkerton v. United States, 328 U.S. 640, 646-47 (1946)). Here, the Court has already
 3     recognized that Pinkerton liability extends to individuals not named in the Superseding
 4     Indictment.   (Doc. 793 at 19) (discussing Pinkerton and fact that “C.F” was a co-
 5     conspirator of Defendants). See also United States v. Long, 301 F.3d 1095, 1103 (9th Cir
 6     2002) (“The Pinkerton doctrine is a judicially-created rule that makes a conspirator
 7     criminally liable for the substantive offenses committed by a co-conspirator when they are
 8     reasonably foreseeable and committed in furtherance of the conspiracy.”). Both the
 9     applicable law and facts support the Court instructing the jury using the United States’
10     proposed instruction.
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 1        UNITED STATES’ PROPOSED INSTRUCTION 8.148 TRANSPORTING OR
 2                                ATTEMPTING TO TRANSPORT
 3                          FUNDS TO PROMOTE UNLAWFUL ACTIVITY
 4                                      (18 U.S.C. § 1956(a)(2)(A))*
 5            Defendants Lacey, Larkin, Spear, and Brunst are charged in Counts 63-68 of the
 6     indictment with transporting funds to promote unlawful activity in violation of Section
 7     1956(a)(2)(A) of Title 18 of the United States Code. In order for a defendant to be found
 8     guilty of that charge, the United States must prove each of the following elements beyond a
 9     reasonable doubt:
10            First, the defendant transported money from a place in the United States to or through
11     a place outside the United States or to a place in the United States from or through a place
12     outside the United States; and
13            Second, the defendant acted with the intent to promote the carrying on of violations
14     of the Travel Act.
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 1                         DEFENDANTS’ PROPOSED INSTRUCTION
 2         8.148 TRANSPORTING FUNDS TO PROMOTE UNLAWFUL ACTIVITY
 3                (Counts 63-68—International Promotional Money Laundering)
 4            Defendants Lacey, Larkin, Spear, and Brunst are charged in Counts 63-68 of the
 5     indictment with transporting funds to promote unlawful activity in violation of Section
 6     1956(a)(2)(A) of Title 18 of the United States Code. In order for a defendant to be found
 7     guilty of that charge, the government must prove each of the following elements beyond a
 8     reasonable doubt:
 9            First, the defendant transported money from a place in the United States to or
10     through a place outside the United States or to a place in the United States from or through
11     a place outside the United States; and
12            Second, the defendant acted with the intent to promote, or facilitate the promotion
13     of, the prostitution offenses committed by a particular business enterprise in violation of
14     18 U.S.C. § 1952(a)(3)(A), specifically (i) a business enterprise involved in at least one of
15     the fifty advertisements that is the subject of Counts 2 – 51 and (ii) a business enterprise
16     for which you found that defendant guilty of promoting or facilitating the promotion of.
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18                                       Supporting Authorities
19            Model Crim. Jury Instr. 9th Cir. 8.147 (2021) (modified to reflect the charges in the
20     indictment). As this Court previously held, the “specified unlawful activity” (“SUA”) here
21     is not the general facilitation or promotion of “any business enterprise involving
22     prostitution offenses” in violation of the Travel Act. See United States v. Lacey, et al. (D.
23     Ariz.), Case No. 18-CR-00422-PHX-SMB, Doc. No. 946 at 13 (Order denying motion to
24     dismiss) (“[Defendants] were not indicted for facilitating the amorphous notion of
25     ‘prostitution.’ They were indicted for facilitating (via publishing ads) on fifty distinct
26     occasions where prostitutes, prostitution-related businesses, or other groups were involved
27     in the business of prostitution.”); see United States v. Lacey, et al. (D. Ariz.), Case No. 18-
28     CR-00422-PHX-SMB, Transcript of December 4, 2020 Hearing (“And I think one of the

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 1     key things in my reason for denying the recusal is that this case is not about Backpage.
 2     Backpage was prosecuted in a separate case, entered a plea in a separate case. This case is
 3     about these individual defendants and whether they had specific knowledge of these ads as
 4     facilitating illegal activity.”). Therefore, the SUA referenced in each of the proposed jury
 5     instructions regarding the Indictment’s money laundering charges must reference the “fifty
 6     distinct” advertisements at issue in Counts 2 - 51. Id.
 7                               UNITED STATES’ OBJECTIONS
 8            The parties’ proposed instructions are similar except for the second element.
 9     Defendants propose a much more stringent definition of the specified unlawful activity.
10     As this Court has previously recognized, that instruction is contrary to governing law.
11            For instance, the first money laundering statute that Defendants are indicted
              under does not require the Government to allege or prove the underlying
12
              offenses. See 18 U.S.C. § 1956(c)(1) (“the term ‘knowing that the property
13            involved in a financial transaction represents the proceeds of some form of
              unlawful activity’ means that the person knew the property involved in the
14            transaction represented proceeds from some form, though not necessarily
15            which form, of activity that constitutes a felony.” (emphasis added)).
16     (Doc. 946 at 17.)

17            Contrary to Defendants’ proposed instruction, a defendant can be found guilty of

18     money laundering even if he was found not guilty under any of the Travel Act counts.

19     (Doc. 946 at 17, n.11) (“[A] defendant may be convicted of a money laundering offense

20     even if he did not commit the underlying offense.”)

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 1           UNITED STATES’ PROPOSED 8.25 CONSPIRACY—LIABILITY FOR
 2       INTERNATIONAL PROMOTIONAL MONEY LAUNDERING VIOLATIONS
 3              COMMITTED BY CO-CONSPIRATOR (PINKERTON CHARGE)*
 4            Each member of the conspiracy is responsible for the actions of the other conspirators
 5     performed during the course and in furtherance of the conspiracy. If one member of a
 6     conspiracy commits a crime in furtherance of a conspiracy, the other members have also,
 7     under the law, committed that crime.
 8            Therefore, you may find the defendant guilty of International Promotional Money
 9     Laundering as charged in Counts 63-68 of the indictment if the United States has proved
10     each of the following elements beyond a reasonable doubt:
11            First, a member of the conspiracy committed the crime of concealment money
12     laundering as alleged in that count;
13            Second, the person was a member of the conspiracy charged in Count 52 of the
14     indictment;
15            Third, the person committed the crime of international promotional money laundering
16     in furtherance of the conspiracy;
17            Fourth, the defendant was a member of the same conspiracy at the time the offenses
18     charged in Counts 63-68 were committed; and
19            Fifth, the offense fell within the scope of the unlawful agreement and could
20     reasonably have been foreseen to be a necessary or natural consequence of the unlawful
21     agreement.
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 1                         DEFENDANTS’ PROPOSED INSTRUCTION
 2       8.25 CONSPIRACY—LIABILITY FOR INTERNATIONAL PROMOTIONAL
 3     MONEY LAUNDERING VIOLATIONS COMMITTED BY CO-CONSPIRATOR
 4                                     (PINKERTON CHARGE)
 5                                     (Co-Conspirator Liability)
 6            Each member of a conspiracy is responsible for the actions of the other conspirators
 7     performed during the course and in furtherance of the conspiracy. If one member of a
 8     conspiracy commits a crime in furtherance of a conspiracy, the other members have also,
 9     under the law, committed that crime.
10            Therefore, you may find a Defendant guilty of a committing international
11     promotional money laundering in violation of Section 1956(a)(2)(A) of Title 18 of the
12     United States Code as charged in Counts 63-68 of the indictment if the government has
13     proved each of the following elements beyond a reasonable doubt:
14            First, a person named in Count 52 of the indictment committed the crime of
15     international promotional money laundering as alleged in Counts 63-68;
16            Second, the person was a member of the conspiracy as charged in Count 52 of the
17     indictment;
18            Third, the person committed the crime of international promotional money
19     laundering in furtherance of the conspiracy;
20            Fourth, the Defendant was a member of the same conspiracy at the time the offenses
21     charged in Counts 63-68 were committed;
22            Fifth, the offense fell within the scope of the unlawful agreement and could
23     reasonably have been foreseen to be a necessary or natural consequence of the unlawful
24     agreement.
25            To prove a conspiracy, the government must prove beyond a reasonable doubt the
26     requisite intent to commit the substantive crime, here international promotional money
27     laundering. International promotional money laundering is a specific intent crime. See the
28     Specific Intent jury instruction.

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 1                                       Supporting Authorities
 2             Model Crim. Jury Instr. 9th Cir. 8.25 (2021) (modified to reflect the charges in the
 3     indictment). As this Court previously held, the “specified unlawful activity” (“SUA”) here
 4     is not the general facilitation or promotion of “any business enterprise involving
 5     prostitution offenses” in violation of the Travel Act. See United States v. Lacey, et al. (D.
 6     Ariz.), Case No. 18-CR-00422-PHX-SMB, Doc. No. 946 at 13 (Order denying motion to
 7     dismiss) (“[Defendants] were not indicted for facilitating the amorphous notion of
 8     ‘prostitution.’ They were indicted for facilitating (via publishing ads) on fifty distinct
 9     occasions where prostitutes, prostitution-related businesses, or other groups were involved
10     in the business of prostitution.”); see United States v. Lacey, et al. (D. Ariz.), Case No. 18-
11     CR-00422-PHX-SMB, Transcript of December 4, 2020 Hearing (“And I think one of the
12     key things in my reason for denying the recusal is that this case is not about Backpage.
13     Backpage was prosecuted in a separate case, entered a plea in a separate case. This case is
14     about these individual defendants and whether they had specific knowledge of these ads as
15     facilitating illegal activity.”). Therefore, the SUA referenced in each of the proposed jury
16     instructions regarding the Indictment’s money laundering charges must reference the “fifty
17     distinct” advertisements at issue in Counts 2 - 51. Id.
18             To prove a conspiracy charge, the government must prove the “requisite intent for
19     the substantive crime.” United States v. Kaplan, 836 F.3d 1199, 1212 (9th Cir. 2016).
20     International promotional money laundering is a specific intent crime.
21                                UNITED STATES’ OBJECTIONS
22             Defendants’ proposed instruction, which is largely similar to the United States’
23     proposed instruction, includes the statement “a person named in Count 52” in the first
24     element. This instruction is too restrictive and does not appropriately convey Pinkerton
25     liability.
26             For a defendant to be found guilty at trial under a Pinkerton theory, the co-
27     conspirator need not be named in the indictment. United States v. Carpenter, 961 F.2d
28     824, 828 n.3 (9th Cir. 1992) (“As an unindicted co-conspirator, Shahabian's acts and

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 1     statements in furtherance of the conspiracy may be attributed to Carpenter.”) (citing
 2     Pinkerton v. United States, 328 U.S. 640, 646-47 (1946)). Here, the Court has already
 3     recognized that Pinkerton liability extends to individuals not named in the Superseding
 4     Indictment.   (Doc. 793 at 19) (discussing Pinkerton and fact that “C.F” was a co-
 5     conspirator of Defendants). See also United States v. Long, 301 F.3d 1095, 1103 (9th Cir
 6     2002) (“The Pinkerton doctrine is a judicially-created rule that makes a conspirator
 7     criminally liable for the substantive offenses committed by a co-conspirator when they are
 8     reasonably foreseeable and committed in furtherance of the conspiracy.”). Both the
 9     applicable law and facts support the Court instructing the jury using the United States’
10     proposed instruction.
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 1                       UNITED STATES’ PROPOSED INSTRUCTION 8.150
 2                            TRANSACTIONAL MONEY LAUNDERING
 3                                           (18 U.S.C. § 1957)*
 4              Defendant Lacey is charged in Counts 69-70, 81, 83-84, 86, 88-92, and 94-99;
 5     Defendant Larkin is charged in Counts 80 and 87; Defendant Spear is charged in Counts 71-
 6     78, 85, and 93; and Defendant Brunst is charged in Counts 69-70, 78-84, and 86-93, of the
 7     indictment with transactional money laundering in violation of Section 1957 of Title 18 of
 8     the United States Code. In order for a defendant to be found guilty of that charge, the United
 9     States must prove each of the following elements beyond a reasonable doubt:
10              First, the defendant knowingly engaged or attempted to engage in a monetary
11     transaction;
12              Second, the defendant knew the transaction involved criminally derived property;
13              Third, the property had a value greater than $10,000;
14              Fourth, the property was, in fact, derived from violations of the Travel Act; and
15              Fifth, the transaction occurred in the United States.
16              The term “monetary transaction” means the deposit, withdrawal, transfer, or
17     exchange, in or affecting interstate commerce, of funds or a monetary instrument by,
18     through, or to a financial institution.
19              The term “financial institution” means an insured bank, commercial bank, or credit
20     union.
21              The term “criminally derived property” means any property constituting, or derived
22     from, the proceeds of a criminal offense. The United States must prove that the defendant
23     knew that the property involved in the monetary transaction constituted, or was derived from,
24     proceeds obtained by some criminal offense. The United States does not have to prove that
25     the defendant knew the precise nature of that criminal offense, or knew the property involved
26     in the transaction represented the proceeds of promoting or facilitating the promotion of any
27     business enterprise involving prostitution offenses.
28              Although the United States must prove that, of the property at issue more than $10,000

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 1     was criminally derived, the United States does not have to prove that all of the property at
 2     issue was criminally derived.
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 1                           DEFENDANTS’ PROPOSED INSTRUCTION
 2                                    8.150 MONEY LAUNDERING
 3                                 (Transactional Money Laundering)
 4              Defendant Lacey is charged in Counts 69-70, 81, 83-84, 86, 88-92, and 94-99;
 5     Defendant Larkin is charged in Counts 80 and 87; Defendant Spear is charged in Counts
 6     71-78, 85, and 93; and Defendant Brunst is charged in Counts 69-70, 78-84, and 86-93, of
 7     the indictment with money laundering in violation of Section 1957 of Title 18 of the United
 8     States Code. In order for a defendant to be found guilty of that charge, the government
 9     must prove each of the following elements beyond a reasonable doubt:
10              First, the defendant knowingly engaged or attempted to engage in a monetary
11     transaction;
12              Second, the defendant knew the specific transaction charged involved specific
13     criminally derived property;
14              Third, the property had a value greater than $10,000;
15              Fourth, the property was, in fact, derived from the knowing and willful promotion,
16     or facilitation of the promotion of, the prostitution offenses committed by a particular
17     business enterprise in violation of 18 U.S.C. § 1952(a)(3)(A), specifically (i) a business
18     enterprise involved in at least one of the fifty advertisements that is the subject of Counts
19     2 – 51 and (ii) a business enterprise for which you found that Defendant guilty of promoting
20     or facilitating the promotion of; and
21              Fifth, the transaction occurred in the United States.
22              The term “monetary transaction” means the deposit, withdrawal, transfer, or
23     exchange, in or affecting interstate commerce, of funds or a monetary instrument by,
24     through, or to a financial institution.
25              The term “financial institution” means an insured bank, commercial bank, or credit
26     union.
27              The term “criminally derived property” means any property constituting, or derived
28     from, the proceeds of a criminal offense. The government must prove beyond a reasonable

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 1     doubt that the defendant knew that the property involved in the monetary transaction
 2     constituted, or was derived from, proceeds obtained by some criminal offense. The statute
 3     only encompasses transactions in which a defendant first knowingly obtains “criminally
 4     derived property,” and then engages in a monetary transaction with that property.
 5            The government does not have to prove that the defendant knew the precise nature
 6     of that criminal offense, or knew the property involved in the transaction represented the
 7     proceeds of promoting, or facilitating the promotion of, the prostitution offenses committed
 8     by a particular business enterprise in violation of 18 U.S.C. § 1952(a)(3)(A). But the
 9     government must prove beyond a reasonable doubt that the defendant knew the specific
10     transaction charged involved specific criminally derived property—it is not enough that
11     the defendant knew the proceeds derived from advertisements for prostitution offenses.
12            Although the government must prove that more than $10,000 of the property at issue
13     was criminally derived, the government does not have to prove that all of the property at
14     issue was criminally derived.
15                                       Supporting Authorities
16            Model Crim. Jury Instr. 9th Cir. 8.150 (2021) (modified to reflect the charges in the
17     indictment). As this Court previously held, the “specified unlawful activity” (“SUA”) here
18     is not the general facilitation or promotion of “any business enterprise involving
19     prostitution offenses” in violation of the Travel Act. See United States v. Lacey, et al. (D.
20     Ariz.), Case No. 18-CR-00422-PHX-SMB, Doc. No. 946 at 13 (Order denying motion to
21     dismiss) (“[Defendants] were not indicted for facilitating the amorphous notion of
22     ‘prostitution.’ They were indicted for facilitating (via publishing ads) on fifty distinct
23     occasions where prostitutes, prostitution-related businesses, or other groups were involved
24     in the business of prostitution.”); see United States v. Lacey, et al. (D. Ariz.), Case No. 18-
25     CR-00422-PHX-SMB, Transcript of December 4, 2020 Hearing (“And I think one of the
26     key things in my reason for denying the recusal is that this case is not about Backpage.
27     Backpage was prosecuted in a separate case, entered a plea in a separate case. This case is
28     about these individual defendants and whether they had specific knowledge of these ads as

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 1     facilitating illegal activity.”). Therefore, the SUA referenced in each of the proposed jury
 2     instructions regarding the Indictment’s money laundering charges must reference the “fifty
 3     distinct” advertisements at issue in Counts 2 - 51. Id.
 4            See United States v. Piervinanzi, 23 F.3d 670, 677 (2d Cir. 1994) (government
 5     agreeing to vacate conviction and not disputing that “the language of the statute only
 6     encompasses transactions in which a defendant first obtains ‘criminally derived property,’
 7     and then engages in a monetary transaction with that property.”); United States v. Johnson,
 8     971 F.2d 562, 570 (10th Cir. 1992) (reversing conviction, noting that “Section
 9     1957 appears to be drafted to proscribe certain transactions in proceeds that have already
10     been obtained by an individual from an underlying criminal offense.”).
11                                UNITED STATES’ OBJECTIONS
12            Defendants proposed fourth element is an incorrect statement of law. As the Court
13     has already made clear, “In a prosecution for an offense under [18 U.S.C. § 1957], the
14     Government is not required to prove the defendant knew that the offense from which the
15     criminally derived property was derived was specified unlawful activity.” 18 U.S.C.
16     § 1957; (see also Doc. 946 at 17).
17            Further, Defendants have modified the Model Instruction’s definition of “criminally
18     derived property.” Defendants have removed the following sentence from the Model
19     Instruction: “The government does not have to prove that the defendant knew the precise
20     nature of that criminal offense, or knew the property involved in the transaction represented
21     the proceeds of [specified unlawful activity as alleged in the indictment].” Manual of
22     Model Criminal Jury Instructions 8.150. That statement should remain in the instruction
23     given to the jury.
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 1        UNITED STATES’ PROPOSED INSTRUCTION 8.149 TRANSPORTING OR
 2         ATTEMPTING TO TRANSPORT MONETARY INSTRUMENTS FOR THE
 3                                  PURPOSE OF LAUNDERING
 4                                    (18 U.S.C. § 1956(a)(2)(B))*
 5            Defendant Lacey is charged in Count 100 of the indictment with transporting money
 6     for the purpose of laundering in violation of Section 1956(a)(2)(B) of Title 18 of the United
 7     States Code. In order for the defendant to be found guilty of that charge, the United States
 8     must prove each of the following elements beyond a reasonable doubt:
 9            First, the defendant transported money from a place in the United States to or through
10     a place outside the United States;
11            Second, the defendant knew that the money represented the proceeds of Travel Act
12     offenses; and
13            Third, the defendant knew the transportation was designed in whole or in part to
14     conceal or disguise the nature, location, source, ownership, or control of the proceeds of
15     Travel Act offenses.
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 1                          DEFENDANTS’ PROPOSED INSTRUCTION
 2      8.149 TRANSPORTING MONETARY INSTRUMENTS FOR THE PURPOSES
 3                                         OF LAUNDERING
 4                  (Count 100 – International Concealment Money Laundering)
 5            Defendant Lacey is charged in Count 100 of the indictment with transporting money
 6     for the purpose of laundering in violation of Section 1956(a)(2)(B) of Title 18 of the United
 7     States Code. In order for the defendant to be found guilty of that charge, the government
 8     must prove each of the following elements beyond a reasonable doubt:
 9            First, the defendant transported money from a place in the United States to or
10     through a place outside the United States;
11            Second, the defendant knew that the money represented the proceeds of the knowing
12     and willful promotion, or facilitation of the promotion of, the prostitution offenses
13     committed by a particular business enterprise in violation of 18 U.S.C. § 1952(a)(3)(A),
14     specifically (i) a business enterprise involved in at least one of the fifty advertisements that
15     is the subject of Counts 2 – 51 and (ii) a business enterprise for which you found that
16     defendant guilty of promoting or facilitating the promotion of; and
17            Third, the defendant knew the transportation was designed in whole or in part to
18     conceal or disguise the nature, location, source, ownership, or control of the proceeds of
19     the knowing and willful promotion, or facilitation of the promotion of, the prostitution
20     offenses committed by any business enterprise in violation of 18 U.S.C. § 1952(a)(3)(A).
21                                       Supporting Authorities
22            Model Crim. Jury Instr. 9th Cir. 8.149 (2021) (modified to reflect the charges in the
23     indictment). As this Court previously held, the “specified unlawful activity” (“SUA”) here
24     is not the general facilitation or promotion of “any business enterprise involving
25     prostitution offenses” in violation of the Travel Act. See United States v. Lacey, et al. (D.
26     Ariz.), Case No. 18-CR-00422-PHX-SMB, Doc. No. 946 at 13 (Order denying motion to
27     dismiss) (“[Defendants] were not indicted for facilitating the amorphous notion of
28     ‘prostitution.’ They were indicted for facilitating (via publishing ads) on fifty distinct

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 1     occasions where prostitutes, prostitution-related businesses, or other groups were involved
 2     in the business of prostitution.”); see United States v. Lacey, et al. (D. Ariz.), Case No. 18-
 3     CR-00422-PHX-SMB, Transcript of December 4, 2020 Hearing (“And I think one of the
 4     key things in my reason for denying the recusal is that this case is not about Backpage.
 5     Backpage was prosecuted in a separate case, entered a plea in a separate case. This case is
 6     about these individual defendants and whether they had specific knowledge of these ads as
 7     facilitating illegal activity.”). Therefore, the SUA referenced in each of the proposed jury
 8     instructions regarding the Indictment’s money laundering charges must reference the “fifty
 9     distinct” advertisements at issue in Counts 2 - 51. Id.
10                                 UNITED STATES’ OBJECTIONS
11            The United States objects to Defendants’ proposed second element, which
12     improperly expands the elements of the crime. See 18 U.S.C. § 1956(c)(1) (“the term
13     ‘knowing that the property involved in a financial transaction represents the proceeds of
14     some form of unlawful activity’ means that the person knew the property involved in the
15     transaction represented proceeds from some form, though not necessarily which form, of
16     activity that constitutes a felony.”)
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 1                         DEFENDANTS’ PROPOSED INSTRUCTION
 2                               8.22 MULTIPLE CONSPIRACIES
 3                               (Count 52 – Multiple Conspiracies)
 4            Count 52 of the indictment alleges a single conspiracy to commit concealment
 5     money laundering in violation of Section 1956(a)(1)(B)(i), international promotional
 6     money laundering in violation of Section 1956(a)(2)(A), transactional money laundering
 7     in violation of Section 1957(a), and international concealment money laundering in
 8     violation of Section 1956(a)(2)(B)(i). You must decide whether the single conspiracy to
 9     commit concealment, international promotional, transactional, and international
10     concealment money laundering as charged in Count 52 of the indictment existed, and, if it
11     did, who at least some of its members were. If you find that the single conspiracy to commit
12     concealment, international promotional, transactional, and international concealment
13     money laundering as charged in Count 52 of the indictment did not exist, then you must
14     return a not guilty verdict, even though you may find that some other conspiracy existed.
15     For example, if you find that Count 52 concerns two or more conspiracies, you must find
16     the Defendants not guilty of the single conspiracy alleged in Count 52. Similarly, if you
17     find that any Defendant was not a member of the conspiracy commit concealment,
18     international promotional, transactional, and international concealment money laundering
19     as charged in Count 52, then you must find that Defendant not guilty, even though that
20     Defendant may have been a member of some other conspiracy.
21                                      Supporting Authorities
22            Model Crim. Jury Instr. 9th Cir. 8.22 (2021) (modified to reflect the charges in the
23     indictment).
24                               UNITED STATES’ OBJECTIONS
25            “A defendant is entitled to a multiple conspiracies instruction only if the defendant’s
26     theory of multiple conspiracies is supported by law and has some foundation in the
27     evidence.” United States v. Anguiano, 873 F.2d 1314, 1317 (9th Cir. 1989) (internal citations
28     and quotations omitted). As discussed above, “[a] single conspiracy exists, as compared

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 1     with multiple conspiracies, where there is ‘one overall agreement’ to perform various
 2     functions to achieve the objectives of the conspiracy.” United States v. Bauer, 84 F.3d 1549,
 3     1560 (9th Cir. 1996).
 4            This instruction should be evaluated after the evidence has been presented in order to
 5     better understand “Defendants’ theory of multiple conspiracies.”
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 1     II.    STIPULATED NON-MODEL INSTRUCTIONS
 2            N/A
 3     III.   NON-MODEL INSTRUCTIONS REQUESTED BY THE UNITED STATES
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 1       STATE LAW NEED NOT BE VIOLATED FOR DEFENDANTS TO BE FOUND
 2                              GUILTY UNDER THE TRAVEL ACT
 3            The United States does not have to prove that the referenced states’ laws were actually
 4     violated, only that defendants had intent to promote, manage, establish, carry on, or facilitate
 5     the promotion, management, establishment, or carrying on, of any business enterprise
 6     involving prostitution offenses in violation of state law, and committed a subsequent overt
 7     act in furtherance of the unlawful activity.
 8
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10                                        Supporting Authorities
11            18 U.S.C. § 1952(a)(3); United States v. Winslow, 962 F.2d 845, 852 (9th Cir. 1992)
12     (“Section 1952(a)(3) requires the government to prove only that a defendant committed a
13     subsequent overt act in furtherance of the unlawful activity. . . . Unlike the crime of attempt,
14     the Travel Act does not require that the government establish that the accused took a
15     substantial step in furtherance of the intended unlawful activity.”) (internal quotations and
16     citations omitted); United States v. Polizzi, 500 F.2d 856, 876-77 (9th Cir. 1974)
17     (Government does not need to prove that defendants had specific intent to violate the
18     underlying state law, only “specific intent to facilitate an activity which the accused knew to
19     be unlawful under state law.”).
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 1                “BUSINESS ENTERPRISE” IN THE TRAVEL ACT DEFINED
 2            “Business enterprise,” as used in the Travel Act, 18 U.S.C. 1952(b), means a
 3     continuous course of criminal conduct, that is, engaging or planning to engage in two or
 4     more violations of law, rather than a sporadic, casual, individual or isolated violation. An
 5     advertisement that invites multiple commercial transactions (like a car wash ad that informs
 6     the public of prices charged for each wash, even if only for a limited time) refers to a
 7     continuous course of conduct.
 8
 9                                       Supporting Authorities
10            18 U.S.C. § 1952(b)(i)(1); (See Doc. 946 at 10-14); United States v. Kaiser, 660
11     F.2d 724, 731 (9th Cir. 1981) (“The words ‘business enterprise’ refer to a continuous
12     course of criminal conduct rather than sporadic or casual involvement in a proscribed
13     activity.”); United States v. Donaway, 447 F.2d 940, 94 (1971) (same); United States v.
14     Roselli, 432 F.2d 879, 886 (9th Cir. 1970) (“Congress limited Section 1952 to any ‘business
15     enterprise’ because the requirement of a continuous course of conduct for profit would
16     ordinarily include the gambling operations of organized crime.”).
17            In alleging a continuous course of criminal conduct, “[n]either [allegations] of large-
18     scale operations nor long-term duration is required[.] . . . Instead, what must be [alleged]
19     is evidence of a continuous enterprise.” United States v. Tavelman, 650 F.2d 1133, 1140
20     (9th Cir. 1981). (See also Doc. 946 at 12-13 n.7 (“[E]ach ad identified [in the SI] carries
21     an indicia of a commercial or business enterprise because each one invites multiple
22     commercial transactions by soliciting the public to engage in prostitution.”)).
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 1             “USES ANY FACILITY IN INTERSTATE COMMERCE” DEFINED
 2            The phrase “uses any facility in interstate commerce” as used in the Travel Act, 18
 3     U.S.C. § 1952(a), means employing or utilizing any method of communication or
 4     transportation between one state and another, and includes, for example, the use of
 5     telephones, mails, and the Internet.
 6            In order to meet its burden of proof on this issue, it is not necessary for the United
 7     States to prove that the defendant(s) used an interstate facility. This section also applies to
 8     a person who causes another person to use an interstate facility. Therefore, if the United
 9     States has proven beyond a reasonable doubt that the defendant(s) caused another person to
10     use an interstate facility, e.g., the Internet, then you may find that the United States has
11     proven this element.
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14                                        Supporting Authorities
15            United States v. Sutcliffe, 505 F.3d 944, 952-53 (9th Cir. 2007) (“The Internet is an
16     international network of interconnected computers, similar to—and often using—our
17     national network of telephone lines. We have previously agreed that it cannot be questioned
18     that the nation’s vast network of telephone lines constitutes interstate commerce.”) (internal
19     citations and quotations omitted); United States v. Roselli, 432 F.2d 879, 890-91 (9th Cir.
20     1970) (“If the wire employed is an interstate wire the requirements for federal jurisdiction
21     are satisfied. It is wholly irrelevant to any purpose of the statute that the perpetrator of the
22     fraud knows about the use of interstate communication.”); United States v. Villano, 529 F.2d
23     1046, 1054-55 (10th Cir. 1976) (upholding Travel Act convictions based on “repeated use
24     of the interstate communications facilities by defendants’ agents”).
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 1                                      “FACILITATE” DEFINED
 2            In the context of the Travel Act, the term “facilitate” means “to make easy or less
 3     difficult.”
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 6                                         Supporting Authorities
 7            (See Doc. 793 at 21 (“‘Facilitate’ is given its ‘ordinary meaning: to make easy or less
 8     difficult.’”) (citing United States v. Gibson Specialty Co., 507 F.2d 446, 450 (9th Cir. 1974));
 9     see also United States v. Foreman, 926 F.2d 792, 796 (9th Cir. 1990) (“‘Facilitate’ is defined
10     as ‘to make easier or less difficult.’”); United States v. Adler, 879 F.2d 491, 495 (9th Cir.
11     1988) (“‘Facilitation’ is established by showing that use of a communications facility . . .
12     made easier or less difficult . . . the narcotics offense.”).
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 1                                 “SPECIFIC INTENT” DEFINED
 2            “Specific intent” under the Travel Act (Counts 2-51) means the defendants knew that
 3     they were facilitating an unlawful activity under state law.
 4
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 6                                       Supporting Authorities
 7            (Doc. 793 at 15 (“Required intent under the Travel is ‘specific intent to facilitate an
 8     activity which the accused knew to be unlawful under state law.’”) (citing United States v.
 9     Polizzi, 500 F.2d 856, 876-877 (9th Cir. 1974) (instructions on specific intent need to
10     “reasonably inform[] the jury that they had to find that [defendants] knew that what they
11     were facilitating was an unlawful activity under state law”)).) (See also Doc. 793 at 18 (“The
12     Government’s proposed mens rea standard, specific intent to promote or facilitate
13     prostitution, is consistent with Gibson, Tavelman, and Polizzi—the Ninth Circuit cases
14     discussing intent requirements of the Travel Act.”).)
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 1                              PROOF OF KNOWLEDGE OR INTENT
 2              The intent of a person or the knowledge that a person possesses at any given time
 3     may not ordinarily be proved directly because there is no way of directly scrutinizing the
 4     workings of the human mind. In determining the issue of what a person knew or what a
 5     person intended at a particular time, you may consider any statements made or acts done or
 6     omitted by that person and all other facts and circumstances received in evidence which may
 7     aid in your determination of that person's knowledge or intent.
 8              You may infer, but you are certainly not required to infer, that a person intends the
 9     natural and probable consequences of acts knowingly done or knowingly omitted. It is
10     entirely up to you, however, to decide what facts to find from the evidence received during
11     this trial.
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14                                        Supporting Authorities
15             1A O’Malley, Grenig and Lee, Federal Jury Practice and Instructions, § 17:07 (6th
16     ed. 2008).
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 1     IV.    NON-MODEL INSTRUCTIONS REQUESTED BY DEFENDANTS WITH
 2            THE UNITED STATES’ OBJECTIONS
 3                         DEFENDANTS’ PROPOSED INSTRUCTION
 4                                        SPECIFIC INTENT
 5
 6            The crimes charged in this case are serious crimes which require proof of specific
 7     intent before the defendant can be convicted. Specific intent, as the terms implies, means
 8     more than a general intent to commit the act. To establish specific intent, the government
 9     must prove beyond a reasonable doubt that the defendant knowingly did an act which the
10     law forbids, purposely and intending to violate the law. Such intent may be determined
11     from all the facts and circumstances surrounding the case. An act or a failure to act is
12     knowingly done if done voluntarily and intentionally, not because of mistake or accident,
13     or other innocent reason.
14
15                                      Supporting Authorities
16            United States v. Seymour, 576 F.2d 1345, 1347 (9th Cir. 1978) (verbatim quote);
17     see United States v. Lacey, et al. (D. Ariz.), Case No. 18-CR-00422-PHX-SMB, Doc. No.
18     946 at 13 (Order denying motion to dismiss) (“[Defendants] were not indicted for
19     facilitating the amorphous notion of ‘prostitution.’ They were indicted for facilitating (via
20     publishing ads) on fifty distinct occasions where prostitutes, prostitution-related
21     businesses, or other groups were involved in the business of prostitution.”); see United
22     States v. Lacey, et al. (D. Ariz.), Case No. 18-CR-00422-PHX-SMB, Transcript of
23     December 4, 2020 Hearing (“And I think one of the key things in my reason for denying
24     the recusal is that this case is not about Backpage. Backpage was prosecuted in a separate
25     case, entered a plea in a separate case. This case is about these individual defendants and
26     whether they had specific knowledge of these ads as facilitating illegal activity.”).
27                                 UNITED STATES’ OBJECTIONS
28            Defendants’ reliance on Seymour is misplaced because that case did not involve the

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 1     Travel Act. United States v. Seymour, 576 F.2d 1345, 1345 (9th Cir. 1978) (prosecution for
 2     violations of mail fraud (18 U.S.C. § 1341) and interstate transportation fraud (18 U.S.C.
 3     § 2314)). Under the Travel Act, the government need only prove that a defendant had
 4     “specific intent to facilitate an activity which the accused knew to be unlawful under state
 5     law.” United States v. Polizzi, 500 F.2d 856, 876-877 (9th Cir. 1974) (instructions on
 6     specific intent need to “reasonably inform[] the jury that they had to find that [defendants]
 7     knew that what they were facilitating was an unlawful activity under state law”).
 8            The sentence in the middle of Defendants’ proposed instruction is particularly
 9     problematic. This sentence reads, “To establish specific intent, the government must prove
10     beyond a reasonable doubt that the defendant knowingly did an act which the law forbids,
11     purposely and intending to violate the law.” This is a misstatement of the applicable law.
12     To be convicted under the Travel Act, one does not need to violate the underlying state law.
13     Polizzi, 500 F.2d at 876-77 (Government does not need to prove that defendants had specific
14     intent to violate the underlying state law). Rather, a defendant must have acted with specific
15     intent to “facilitate the promotion” of the underlying unlawful activity.             18 U.S.C.
16     § 1952(a)(3). And “facilitate” is given its ordinary meaning: to make easy or less difficult.
17     (Doc. 793 at 21) (“‘Facilitate’ is given its ‘ordinary meaning: to make easy or less difficult.’”)
18            Defendants’ proposed instruction imparts an intent requirement that is not part of the
19     Travel Act.
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 1                            DEFENDANTS’ PROPOSED INSTRUCTION
 2                                   DEFENDANT’S GOOD FAITH
 3               The government has the burden to prove to you, beyond a reasonable doubt, that a
 4     defendant acted with criminal intent and lacked good faith.                   The burden of
 5     proving good faith does not rest with a defendant because a defendant does not have any
 6     obligation to prove anything in this case. If the government fails to meet its burden to
 7     prove a defendant lacked good faith, its failure to do so is a complete and absolute defense
 8     to the charges in this case and you must return a not guilty verdict.
 9               If a defendant carried out his or her actions in good faith, there was no criminal
10     intent.
11               A person who acts, or causes another person to act, on a belief or an opinion honestly
12     held is not punishable under the charges in the indictment merely because the belief or
13     opinion turns out to be inaccurate, incorrect, or wrong. An honest mistake in judgment or
14     an honest error in management does not rise to the level of criminal conduct.
15               While the term “good faith” has no precise definition, it encompasses, among other
16     things, a belief or opinion honestly held and an absence of malice or ill will.
17               If the evidence in the case leaves the jury with a reasonable doubt as to whether a
18     defendant acted with criminal intent and lacked good faith, the jury must acquit that
19     defendant.
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21                                         Supporting Authorities
22               See 1A Fed. Jury Prac. & Instr. § 19:06 (6th ed.), 1A Fed. Jury Prac. & Instr. § 19:06
23     (6th ed.).
24
25                                   UNITED STATES’ OBJECTIONS
26               “A defendant is not entitled to a separate good faith instruction when the court
27     adequately instructs on specific intent.” United States. v. Bonanno, 852 F.2d 434, 439–40
28     (9th Cir. 1988) (citing United States v. Green, 745 F.2d 1205, 1209 (9th Cir.

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 1     1984), and United States v. Cusino, 694 F.2d 185, 188 (9th Cir. 1982)); see also United
 2     States v. Dees, 34 F.3d 838, 842 (9th Cir. 1994) (same); United States v. Rushton, 963 F.2d
 3     272, 274 (9th Cir. 1992) (same). The parties have submitted proposed “specific intent”
 4     instructions. Accordingly, a “good faith” instruction should not be given here.
 5              The instruction also should not be given to the extent Defendants are attempting to
 6     use it to circumvent invoking an “advice of counsel” defense. If Defendants claim that
 7     their asserted “good faith” is based in any way on legal advice, then they should be required
 8     to comply with the requirements of the “advice of counsel” defense, and the jury should
 9     receive an appropriate “advice of counsel” instruction instead of the proposed “good faith”
10     instruction. 6
11              Finally, Defendants’ “good faith” instruction deviates substantially from the source
12     of the instruction that Defendants cite. See 1A Fed. Jury Prac. & Instr. § 19:06 (6th ed.,
13     Feb. 2021 Update). If the Court is inclined to give a “good faith” instruction, the United
14     States respectfully requests that the Court use the language in 1A Fed. Jury Prac. & Instr.
15     § 19:06 instead of Defendants’ instruction.
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           See Ninth Circuit Model Criminal Jury Instruction 5.10:

25              One element that the government must prove beyond a reasonable doubt is
                that the defendant had the unlawful intent to [specify applicable unlawful
26              act]. Evidence that the defendant in good faith followed the advice of
                counsel would be inconsistent with such an unlawful intent. Unlawful intent
27              has not been proved if the defendant, before acting, made full disclosure of
                all material facts to an attorney, received the attorney’s advice as to the
28              specific course of conduct that was followed, and reasonably followed the
                attorney’s recommended course of conduct or advice in good faith.
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 1                          DEFENDANTS’ PROPOSED INSTRUCTION
 2                               DEFENSE THEORY OF THE CASE
 3            Defendants intend to request instructions on the defense’s theories of the case.
 4     Defendants reserve their right to submit that request at the close of the trial.
 5
 6
 7                                       Supporting Authorities
 8            See Fed. R. Crim. P. 30; United States v. Cortes, 757 F.3d 850, 857 (9th Cir. 2014)
 9     (“A criminal defendant is entitled to jury instructions related to a defense theory so long as
10     there is any foundation in the evidence and the instruction is supported by law.” (internal
11     quotation marks omitted)); United States v. Burt, 410 F.3d 1100, 1103 (9th Cir. 2005) (“A
12     defendant is entitled to instructions relating to a defense theory for which there is any
13     foundation in the evidence, even though the evidence may be weak, insufficient,
14     inconsistent, or of doubtful credibility.”).
15
16                                 UNITED STATES’ OBJECTIONS
17            As discussed below, Defendants’ “First Amendment” instructions are not supported
18     by law or evidence, and therefore should not be given. See, e.g., United States v. Freeman,
19     761 F.2d 549, 551-52 (9th Cir. 1985) (where the speech at issue falls outside of the First
20     Amendment’s protection, a First Amendment jury instruction should not be given).
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 1                          DEFENDANTS’ PROPOSED INSTRUCTION
 2                                (Conspiracy – Willfulness Defined)
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 4            To find a defendant guilty of conspiracy as charged in the indictment, you must be
 5     satisfied that the government has proven beyond a reasonable doubt that the defendant
 6     knowingly and willfully entered into the conspiracy, that is, that the defendant agreed to
 7     take part in the conspiracy with knowledge of its unlawful purpose and in furtherance of
 8     its unlawful objective. You must also find that the government has proven beyond a
 9     reasonable doubt that the defendant acted with criminal intent and lacked good faith. If the
10     defendant carried out his or her actions in good faith, there was no criminal intent. While
11     the term “good faith” has no precise definition, it encompasses, among other things, a belief
12     or opinion honestly held and an absence of malice or ill will. To act willfully means to act
13     with knowledge that one’s conduct is unlawful and with the intent to do something the law
14     forbids, that is to say with the specific purpose to disobey or disregard the law.
15
16                                      Supporting Authorities
17            United States v. Pomponio, 429 U.S. 10, 12 (1976) (willfulness is the “intentional
18     violation of a known legal duty”); see 1A Fed. Jury Prac. & Instr. § 19:06 (6th ed.), 1A
19     Fed. Jury Prac. & Instr. § 19:06 (6th ed.); United States v. Stagman, 446 F.2d 489, 491 (6th
20     Cir. 1971) (“the majority of the Courts of Appeals which have directly addressed this
21     question . . . have stated that knowing and wilful [sic] intent to violate state laws is an
22     element of the crime proscribed by the Travel Act”) (citing decisions of the 4th, 7th, 8th,
23     and 9th Circuits).
24                                UNITED STATES’ OBJECTIONS
25            This proposed instruction is not supported by law and is unnecessary. As discussed
26     above, “A defendant is not entitled to a separate good faith instruction when the court
27     adequately instructs on specific intent.” United States. v. Bonanno, 852 F.2d 434, 439–40
28     (9th Cir. 1988).

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 1            Defendants’ reliance on Pomponio is inapposite. In that case, the Supreme Court
 2     reversed the court of appeals, after that court had remanded for a new trial based on an
 3     improper jury instruction. 429 U.S. at 10. The Supreme Court found no error in the trial
 4     court’s jury instructions and held that “[a]n additional instruction on good faith was
 5     unnecessary.” Id. at 13. Pomponio clarified that an instruction stating that “good motive
 6     alone is never a defense where the act done or omitted is a crime” was proper. Id. at 11.
 7     In addition, the “willful” instruction approved in Pomponio looks nothing like Defendants’
 8     proposed instruction. “A willful act was defined in the instructions as one done ‘voluntarily
 9     and intentionally and with the specific intent to do something which the law forbids, that
10     is to say with the bad purpose either to disobey or to disregard the law.’” Id.
11            Further, Defendants’ reliance on United States v. Stagman is misplaced. The Ninth
12     Circuit in Polizzi made clear that Stagman is not applicable in this circuit.
13            In claiming error in the court’s instructions on specific intent, appellants urge
              us to follow United States v. Stagman . . . and hold that specific intent to
14
              violate state law is an element of the offense under § 1952. This Court
15            however, has previously approved an instruction similar to the one given in
              this case. . . . Moreover, to the extent that Stagman requires proof that an
16            accused under § 1952 intended to violate state law himself, we find that it
17            conflicts with the clear meaning of the language used in § 1952. . . . [The
              statute’s required intent is] specific intent to facilitate an activity which the
18            accused knew to be unlawful under state law.
19     Polizzi, 500 F.2d at 876-77.
20            The instruction should not be given.
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 1                          DEFENDANTS’ PROPOSED INSTRUCTION
 2           FIRST AMENDMENT PROTECTION—PROTECTED FREE SPEECH
 3
 4             Advertisements are legally protected speech under the First Amendment to the
 5     United States Constitution. A website’s hosting of a third-party’s advertisement on the
 6     internet is also protected under the First Amendment, including the publication of
 7     suggestive advertisements that might relate to either legal or illegal activity.
 8
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                                         Supporting Authorities
10
              Cent. Hudson Gas & Elec. Corp. v. Pub. Serv. Comm'n of New York, 447 U.S. 557,
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       561, (1980) (“The First Amendment . . . protects commercial speech from unwarranted
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       governmental regulation. . . . Even when advertising communicates only an incomplete
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       version of the relevant facts, the First Amendment presumes that some accurate
14
       information is better than no information at all.”); Reno v. ACLU, 521 U.S. 844, 868-70
15
       (1997) (“[O]ur cases provide no basis for qualifying the level of First amendment scrutiny
16
       that should be applied to [the Internet].”).
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                                  UNITED STATES’ OBJECTIONS
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              The first sentence of the instruction is not supported by the law or the evidence. As
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       the Court has already recognized, “Prostitution ads are ads for illegal transactions,” and
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       “[t]he First Amendment does not protect ‘offers to engage in illegal transactions.’” (Doc.
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       793 at 14, quoting United States v. Williams, 553 U.S. 285, 297 (2008).) Even the case
23
       Defendants cite makes clear that advertisements must concern lawful activity to receive
24
       First Amendment protection. Central Hudson Gas & Elec. Corp. v. Pub. Serv. Commn. of
25
       New York, 447 U.S. 557, 563-64 (1980) (“commercial speech related to illegal activity” is
26
       not protected by the First Amendment). See also Erotic Service Provider Legal Ed. and
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       Research Project v. Gascon, 880 F.3d 450, amended, 881 F.3d 792, 792 (9th Cir. 2018)
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 1     (“[f]or commercial speech to receive First Amendment protection[,] the speech must
 2     concern lawful activity”). Simply put, prostitution advertising and soliciting are forms of
 3     commercial speech that are not constitutionally protected. Pittsburgh Press Co. v. Human
 4     Relations Comm’n, 413 U.S. 376, 388 (1973) (“We have no doubt that a newspaper
 5     constitutionally could be forbidden to publish a want ad…soliciting prostitutes.”); Erotic
 6     Service Provider, 880 F.3d at 459-60 (rejecting First Amendment challenge to ordinance
 7     outlawing prostitution solicitations); Coyote Pub., Inc. v. Miller, 598 F.3d 592, 600-04 (9th
 8     Cir. 2010) (upholding Nevada ban on prostitution advertising).
 9            As the Ninth Circuit has explained, “the degree of disfavor in which prostitution is
10     held in our society, as reflected in law,” “is sui generis”: “Forty-nine of the fifty states
11     today prohibit all sales of sexual services. The federal government acknowledges the link
12     between prostitution and trafficking in women and children, a form of modern day
13     slavery.” Coyote Pub., 598 F.3d at 600-01. See also id. at 603-04 (the Thirteenth
14     Amendment “enshrines the principle that people may not be bought and sold as
15     commodities”). This “genuine objection to buying and selling [adults and children for sex]
16     means that in the context of prostitution an advertisement is an integral aspect of the harm
17     to be avoided. In contract terms, an advertisement is an invitation to deal and may operate
18     as an offer. . . .” Id. at 604 (emphasis added). Without communicating an offer to sell an
19     adult or child for sex, no sale can occur. See, e.g., A.R.S. § 13-3211(5) (crime of
20     prostitution defined in part as “offering to engage in sexual conduct under a fee
21     arrangement with any person for money”) (emphasis added)).              The United States
22     anticipates that trial evidence will show that the vast majority of “adult” and “escort” ads
23     published on the website that Defendants owned, operated and/or managed consisted of
24     ads for unlawful prostitution.
25            Defendants also provide no applicable legal authority for the second sentence of
26     their instruction—that “a website’s hosting of a third-party’s advertisement on the internet
27     is also protected under the First Amendment, including the publication of suggestive
28     advertisements that might relate to either legal or illegal activity.”       The sole case

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 1     Defendants cite, Reno v. ACLU, 521 U.S. 844 (1997), invalidated on First Amendment
 2     overbreadth grounds part of the Communications Decency Act (CDA) that prohibited the
 3     transmission to minors of “obscene” or “indecent” materials over the internet. That statute
 4     was “not limited to commercial speech”; rather, its “breadth . . . [was] wholly
 5     unprecedented.”    Id. at 877.     Reno nowhere discussed Central Hudson’s rule that
 6     commercial speech proposing an illegal transaction is excluded from First Amendment
 7     protection. Reno provides no license for disseminating over the internet commercial offers
 8     to sell humans for sex any more than it permits website operators to sell illegal drugs,
 9     computer hacking or murder-for-hire services. See, e.g., United States v. Ulbricht, 31 F.
10     Supp. 3d 540, 568 (S.D.N.Y. 2014) (rejecting website operator’s argument that his site’s
11     online marketplace for illegal narcotics involved speech protected by First Amendment).
12            The Court has already considered and rejected Defendants’ efforts to dismiss the SI
13     based on claims that Backpage merely operated as a passive host of third-party content
14     involving both legal and illegal activities. (See, e.g., Doc. 793 at 8 (“Defendants repeatedly
15     argue that the government is pursuing a theory of vicarious liability for merely hosting
16     third party content. That argument is not supported by the SI, which goes through a long
17     and fact-specific description of the Defendants[’] participation in a conspiracy to facilitate
18     and promote prostitution. The SI sufficiently explains why defendants in this case are not
19     just merely hosting third party content.”); Doc. 793 at 9 (the SI is “replete with specific
20     facts that support finding that the conspirators knew the ads were for prostitution”); Doc.
21     793 at 9 (“Here, taking the allegations in the SI as true, as the Court must, the Government
22     has met its burden of showing the fifty ads in the SI are for prostitution.”); Doc. 793 at 9-
23     11 (detailing SI’s allegations showing the ads were for prostitution); Doc. 793 at 12-15 and
24     Doc. 840 at 9-10 & n.6 (explaining that SI’s allegations differentiate Backpage’s activities
25     from passive hosting of third party content).)
26            The SI alleges Defendants pursued a number of business strategies specifically
27     designed to attract more prostitution advertising customers and increase prostitution-
28     related revenues. (SI ¶34 (Defendants “took a variety of steps to intentionally facilitate

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 1     that illegal activity”).) These steps “included, but were not limited to, creating free ads for
 2     prostitutes in an attempt to secure future advertising revenues from them (i.e., ‘content
 3     aggregation’), entering into formal business arrangements with known prostitution services
 4     and websites in an attempt to increase the volume of prostitution advertisements being
 5     posted on Backpage (i.e., reciprocal link and affiliate programs), and sanitizing ads by
 6     editing them—specifically, removing terms and pictures that were particularly indicative
 7     of prostitution and them publishing a revised version of that ad (i.e., moderation).” (SI
 8     ¶34.) As the Court has recognized: “The SI does not allege Defendants are criminally
 9     liable because they unknowingly and unintentionally operated a website used by third
10     parties to post prostitution ads. Rather, it alleges Defendants purposely sought out
11     opportunities to increase prostitution advertising on Backpage.” (Doc. 793 at 14.)
12            Furthermore, on April 5, 2018, Backpage.com, LLC and several related operating
13     entities pleaded guilty to an information charging one count of money laundering.
14     Backpage admitted it “derived the great majority of its revenue from fees charged in return
15     for publishing advertisements for ‘adult’ and ‘escort’ services,” and “[t]he great majority
16     of these advertisements are, in fact, advertisements for prostitution services.” (United
17     States v. Backpage.com, LLC, CR-18-465-PHX-SMB, Doc. 8-2 at 11.) That same day,
18     Backpage’s then-CEO and 100% owner, Carl Ferrer, pleaded guilty to an information
19     charging one count of conspiracy. (United States v. Ferrer, CR-18-464-PHX-SMB, Doc.
20     7-2.) Ferrer likewise admitted that the great majority of Backpage’s “adult” and “escort”
21     ads were for prostitution, and he further admitted that to “create a veneer of deniability for
22     Backpage,” he worked with co-conspirators “to create ‘moderation’ processes through
23     which Backpage would remove terms and pictures that were particularly indicative of
24     prostitution and then publish a revised version of the ad.” (Id., Doc. 7-2 at 13.)
25     Subsequently, Backpage’s Sales and Marketing Director Dan Hyer pleaded guilty to Count
26     1 of the SI (conspiracy to violate the Travel Act/facilitate prostitution), and admitted the
27     majority of the “escort” ads he and others at Backpage had created as part of the
28     “aggregation” process were actually offering illegal prostitution services. (Doc. 271 at 9.)

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 1            At trial, the United States anticipates introducing testimony from numerous
 2     witnesses regarding the actual contents of Backpage’s “adult” and “escort” sections,
 3     including former Backpage employees and contractors, adults and children who were
 4     advertised for sexual services on Backpage, and law enforcement agents who investigated
 5     ads on Backpage. In addition, the United States anticipates introducing evidence showing
 6     what Backpage’s “adult” and “escort” webpages actually looked like—evidence
 7     demonstrating that, rather than marketing legitimate “escort services,” these sections
 8     included page after page after page of prostitution solicitations. Moreover, consistent with
 9     the SI, the United States anticipates introducing testimony and other evidence showing that
10     Backpage’s “non-adult sections” were simply intended to provide “plausible deniability”
11     and to make the website “defensible” and more palatable to law enforcement. (SI¶ 112).
12            In United States v. Freeman, 761 F.2d 549, 551-52 (9th Cir. 1985), the Ninth Circuit
13     held that the defendant was entitled to jury instruction concerning a First Amendment
14     defense for 12 counts where he may have generally advocated for the filing of false tax
15     returns, but not for the two counts where he “also assisted in the filing of false returns.”
16     The court recognized that “[w]here there is some evidence . . . that the purpose of the
17     speaker or the tendency of his words are directed to ideas or consequences remote from the
18     commission of the criminal act, a defense based on the First Amendment is a legitimate
19     matter for the jury’s consideration.” Id. at 551. However, where the speech at issue falls
20     outside of the First Amendment’s protection, a First Amendment jury instruction should
21     not be given. Id. at 522. See also, e.g., United States v. Rowlee, 899 F.2d 1275, 1280 (2d
22     Cir. 1990) (where First Amendment did not protect defendants’ statements, district court
23     could have avoided giving any First Amendment jury instructions); United States v. White,
24     610 F.3d 956, 962 (7th Cir. 2010) (district court may await development of full factual
25     record at trial before deciding whether to instruct jury on First Amendment defenses).
26            The proposed instruction should not be given.
27
28

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 1                           DEFENDANTS’ PROPOSED INSTRUCTION
 2     FIRST AMENDMENT PROTECTION—WEBSITES HOSTING THIRD-PARTY
 3                                                   ADS
 4
 5               A website’s hosting of a third-party’s ad is presumptively protected and therefore
 6     legal, unless the government can prove beyond a reasonable doubt that:
 7        (i)       the defendant had actual knowledge of the specific ad, and
 8        (ii)      the defendant had actual knowledge that the specific ad’s content was in fact for
 9                  unlawful activity, and
10        (iii)     the defendant specifically intended to further illegal activity.
11
12
13                                           Supporting Authorities
14               See Backpage.com, LLC v. McKenna, 881 F. Supp. 2d 1262, 1281 (W.D. Wash.
15     2012) (“The third-party publication of offers to engage in illegal transactions does not fall
16     within ‘well-defined and narrowly limited classes of speech’ that fall outside of First
17     Amendment protection.”) (quoting Chaplinsky v. State of New Hampshire, 315 U.S. 568,
18     571–572 (1942)); United States v Gibson Specialty Co., 507 F.2d 446, 450 fn. 8 (9th Cir.
19     1974) (“The presumption that one intends the natural and probable consequences of his
20     actions is insufficient in this context to establish intent to facilitate criminal activity. It is
21     as likely as not that a vendor similar to the defendants in this proceeding is totally
22     indifferent to the actions of his purchaser.”); See United States v. Rundo, 990 F.3d 709,
23     719-720 (9th Cir. 2021) (“the intent to engage in one of the prohibited acts is a personal
24     prerequisite to punishment under [the Act] . . . Simply put, knowing that some might choose
25     to become violent is not at all the same as intending that they do so.”).
26               See also United States v. Lacey, et al. (D. Ariz.), Case No. 18-CR-00422-PHX-
27     SMB, Doc. No. 946 at 13 (Order denying motion to dismiss) (“[Defendants] were not
28     indicted for facilitating the amorphous notion of ‘prostitution.’ They were indicted for

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 1     facilitating (via publishing ads) on fifty distinct occasions where prostitutes, prostitution-
 2     related businesses, or other groups were involved in the business of prostitution.”); see
 3     United States v. Lacey, et al. (D. Ariz.), Case No. 18-CR-00422-PHX-SMB, Transcript of
 4     December 4, 2020 Hearing (“And I think one of the key things in my reason for denying
 5     the recusal is that this case is not about Backpage. Backpage was prosecuted in a separate
 6     case, entered a plea in a separate case. This case is about these individual defendants and
 7     whether they had specific knowledge of these ads as facilitating illegal activity.”).
 8
 9                                UNITED STATES’ OBJECTIONS
10            The United States incorporates, by this reference, its objections to Defendants’
11     proposed First Amendment instruction, supra. As explained above, the Court has already
12     considered and rejected Defendants’ efforts to dismiss the SI based on claims that
13     Backpage merely operated as a passive host of third-party content. (See, e.g., Doc. 793 at
14     8-15 and Doc. 840 at 9-10 & n.6 (explaining that the SI’s allegations differentiate
15     Backpage’s activities from passive hosting).)
16            In addition, the United States objects to Defendants’ suggestion that a website’s
17     publication of prostitution ads is “presumptively protected and thereby legal” unless the
18     government can prove beyond a reasonable doubt that one or more of the individual
19     Defendants in this case, United States v. Lacey, et al., CR-18-422-PHX-SMB, “had actual
20     knowledge of the specific ad,” “had actual knowledge that the specific ad’s content was in
21     fact for unlawful activity,” and “the [D]efendant specifically intended to further illegal
22     activity.” On April 5, 2018, Backpage.com, LLC and several related entities that operated
23     the Backpage website pleaded guilty and admitted that Backpage “derived the great
24     majority of its revenue from fees charged in return for publishing advertisements for ‘adult’
25     and ‘escort’ services” and that “[t]he great majority of these advertisements are, in fact,
26     advertisements for prostitution services.” (United States v. Backpage.com, LLC, CR-18-
27     465-PHX-SMB, Doc. 8-2 at 11.) The Court accepted Backpage’s guilty plea. (CR-18-
28     465-PHX-SMB, Docs. 10, 20.) Backpage’s guilty plea took the place of its criminal trial.

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 1     Florida v. Nixon, 543 U.S. 175, 187 (2004) (“[T]he plea is . . . itself a conviction.”). The
 2     legality of Backpage’s operations is not dependent on what the United States can prove or
 3     not prove about any individual Defendant here. To the extent the instruction suggests
 4     otherwise, it is irrelevant and confusing, and not supported by the law or the record.
 5            The instruction is unnecessary for the additional reason that the contours of the
 6     United States’ burden of proof is adequately described by its jury instructions regarding
 7     the SI’s conspiracy, Travel Act and money laundering counts, including instructions
 8     discussing Pinkerton. The First Amendment does not create any additional or heightened
 9     burdens of proof where, as here, the Defendants’ charged conduct involves the publication
10     of offers to engage in transactions that are illegal in 49 states and nearly all of Nevada. See
11     Coyote Pub., Inc. v. Miller, 598 F.3d 592, 603-04 (9th Cir. 2010).
12            Moreover, Defendants’ authorities do not support the instruction. Backpage.com,
13     LLC v. McKenna, 881 F. Supp. 2d 1262 (W.D. Wash. 2012)—and similar cases like
14     Backpage.com LLC v. Dart, 807 F.3d 229 (7th Cir. 2015)—were based largely on the false
15     notion that Backpage was nothing more than passive intermediary between advertisers and
16     visitors to its website. As explained in prior pleadings, many of these cases involved the
17     broad immunity provision of Section 230 of the Communications Decency Act, which does
18     not apply to this federal criminal prosecution. 47 U.S.C. § 230(e)(1) (“Nothing in this
19     section shall be construed to impair the enforcement of…[any] Federal criminal statute.”);
20     (see generally Doc. 840).
21            Second, since those cases were decided, there has been a sea-change in the
22     availability of evidence concerning Backpage, including Backpage’s compelled production
23     of more than 500,000 pages of internal documents to the United States Senate and the grand
24     jury. (Doc. 649 at 22-23.) As alleged in the SI, evidence obtained pursuant to the Senate
25     and grand jury investigations revealed that Backpage misrepresented itself in the above-
26     referenced cases as merely a passive “conduit” for third-party content, and exposed its
27     supposed efforts to police unlawful ads on its site as a fiction. Cf. McKenna, 881 F. Supp.
28     2d at 1266-67.      Rather, the evidence showed Backpage facilitated its customers’

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 1     prostitution ventures through “moderation” practices that edited or shaped pimps’ ads to
 2     reduce the risk of detection while still conveying the illegal message; business relationships
 3     with prostitution websites (e.g., The Erotic Review) and “super-affiliates” (e.g., Dollar
 4     Bill) calculated to increase the volume of prostitution ads on Backpage; “aggregation”
 5     practices that involved creating prostitution ads and soliciting pimps and prostitutes to
 6     advertise on Backpage; and money laundering.           (See generally SI¶¶ 9-11, 34-159.)
 7     Defendants failed to disclose this evidence to the courts that previously ruled in Backpage’s
 8     favor, including McKenna.
 9            Third, Defendants’ cases were decided before Backpage and its CEO pleaded guilty
10     in April 2018 and admitted the “great majority” of Backpage’s revenue-generating ads
11     were “for prostitution services.” (18-CR-464, Doc. 7-2 at 12-13; 18-CR-465, Doc. 8-2 at
12     11.) Following these developments, the Northern District of Illinois dismissed Dart and
13     imposed $250,000 in sanctions against Backpage. (Doc. 516-1 at 2-9; see also Doc. 446-
14     1 at 14-35.) The court held Backpage and Ferrer’s admissions provide “incontrovertible”
15     proof that Backpage misled the Seventh Circuit about whether “speech on the site was
16     protected, whether Backpage.com policed, rather than promoted, unlawful solicitations,
17     and otherwise merely published, rather than authored, content on its site.” (Doc. 516-1 at
18     4-5; see id. at 8 (“Backpage knowingly and repeatedly made false representations of fact
19     concerning relevant aspects of its operations.”). The court attempted to rewrite Backpage’s
20     complaint truthfully, as follows:
21            The Sheriff has infringed Backpage’s First Amendment rights by accurately
              advising credit card companies…that the great majority of ads on
22            Backpage’s adult services web site are for prostitution and that Backpage
              routinely doctors those ads to conceal their unlawful nature. When told about
23            these facts by Sheriff Dart, those credit card providers decided that they did
              not want to be publicly linked to…Backpage and stopped accepting
24            payments for ads placed on Backpage.com. Or at least they thought they had
              stopped accepting such payments. In reality, however, Backpage.com
25            devised ways to deceive the card companies about its continued use of their
              cards as payment for access to its adult services advertising.
26
       (Doc. 516-1 at 6.)
27
28

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 1            Defendants’ remaining authorities are inapposite. In United States v. Rundo, 990
 2     F.3d 709 (9th Cir. 2021), the Ninth Circuit reversed the dismissal of an indictment charging
 3     several defendants with violating the Anti-Riot Act, 18 U.S.C. § 2101-02. In the context
 4     of construing that statute, the court focused on separating protected advocacy from speech
 5     inciting imminent lawless violence. Id. at 716-20. This case, in contrast, does not present
 6     the same concerns—it involves different statutes, and none of the charged conduct involves
 7     anything that could be considered constitutionally-protected abstract advocacy. Cf. United
 8     States v. Williams, 553 U.S. 285, 298-89 (2008) (“To be sure, there remains an important
 9     distinction between a proposal to engage in illegal activity and the abstract advocacy of
10     illegality. . . . The Act before us does not prohibit advocacy of child pornography, but only
11     offers to provide or requests to obtain it. There is no doubt that this prohibition falls well
12     within constitutional bounds.”).
13            Moreover, Defendants’ quote from the December 4, 2020 hearing in this case does
14     not support the proposed instruction, let alone purport to define the contours of the 100
15     counts in the SI.    The Court’s statement that “[t]his case is about these individual
16     defendants and whether they had specific knowledge of these ads as facilitating illegal
17     activity” was made in the context of explaining that the focus of this case is on establishing
18     the guilt of “these defendants,” rather than Backpage (which had already been prosecuted
19     and pleaded guilty in a separate case). (12/4/20 Hr’g Tr. at 38.)
20            Defendants’ isolated quote from the Court’s May 4, 2020 Order denying their
21     Motion to Dismiss Indictment for Failure to Allege the Necessary Elements of the Travel
22     Act (Doc. 946) likewise fails to support the proposed instruction. In disagreeing with
23     Defendants’ assertion that the SI failed to identify the “unlawful activity” under the Travel
24     Act that forms the basis for Travel Act charges, the Court wrote: “Based on the allegations
25     here, Defendants are not charged with anything related to gambling, narcotics, bribery,
26     extortion or arson. Rather, they are clearly charged with intending to facilitate and
27     thereafter facilitating or attempting to facilitate businesses involved in prostitution. See 18
28     U.S.C. § 1952(b)(i)(1).” (Doc. 946 at 9; see also id. at 11 (“Additionally, and as noted, the

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 1     ‘to wit: prostitution offenses’ language directs Defendants to which ‘unlawful activity’ is
 2     charged under each Travel Act count.”) (citing SI¶ 201).) Addressing the individual
 3     substantive Travel Act charges in Counts 2-51, the Court also observed that “the SI alleges
 4     fifty instances where Defendants posted ads on Backpage.com to facilitate specific
 5     individual prostitutes or pimps involved in the business of prostitution” and used language
 6     that “almost identically mirrors the Travel Act’s text.” (Doc. 946 at 11, citing SI¶¶ 200-
 7     201.)    Later, rejecting Defendants’ suggestion that the SI indicted a “‘boundless
 8     conspiracy’ to facilitate prostitution in general,” the Court wrote that “[s]uch a claim is
 9     simply untrue” because Defendants “were not indicted for facilitating the amorphous
10     notion of ‘prostitution.’ They were indicted for facilitating (via publishing ads) on fifty
11     distinct occasions where prostitutes, prostitution-related businesses, or other groups were
12     involved in the business of prostitution.” (Doc. 946 at 13.) The Court went on to explain
13     that these fifty instances were part and parcel of “a continuous course of conduct where
14     Defendants facilitated ‘unlawful activity’ [including] numerous pimps, prostitutes and
15     traffickers in violation of the Travel Act.” (Doc. 946 at 13-14.)
16             Moreover, to the extent that Defendants’ proposed instruction purports to impose a
17     scienter requirement greater than that required by the First Amendment, the instruction is
18     not supported by any First Amendment caselaw cited by Defendants. See Part IV, infra,
19     United States’ Objections to Defendants’ proposed instruction “FIRST AMENDMENT
20     PROTECTION-PROTECTED                PUBLICATION       OF     THIRD-PARTY        SPEECH”
21     (incorporated by this reference).
22             The instruction should not be given.
23
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 1                         DEFENDANTS’ PROPOSED INSTRUCTION
 2       FIRST AMENDMENT PROTECTION—“ADULT” SERVICES ARE LEGAL
 3
 4            The phrase ‘adult,’ even in conjunction with ‘services,’ is not unlawful in itself nor
 5     does it necessarily call for unlawful content.
 6
 7                                      Supporting Authorities
 8            Dart v. Craigslist, Inc., 665 F. Supp. 2d 961, 968 (N.D. Ill. 2009) (verbatim quote).
 9
10                                UNITED STATES’ OBJECTIONS
11            This instruction is unnecessary and irrelevant, and is supported by a case that was
12     decided under the Section 230 of the Communications Decency Act, 47 U.S.C. § 230—
13     which, as this Court has already held, has no application here. (See generally Doc. 840.)
14     Moreover, distinguishing that same case, this Court has recognized that the SI “alleges
15     conduct far beyond the simple maintenance of neutral policies prohibiting certain content.
16     Cf. Dart v. Craigslist, Inc., 665 F.2d 961, 968-69 (N.D. Ill. 2009).” (Doc. 840 at 10; see
17     also Doc. 649 at 25-26.)
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 1                         DEFENDANTS’ PROPOSED INSTRUCTION
 2        FIRST AMENDMENT PROTECTION—EXAMPLES OF LEGAL “ADULT”
 3                                            SERVICES
 4
 5            Advertisements for escort services, strippers, massage services, dominatrix, and
 6     dating are presumptively legal and constitutionally protected speech, because escorting,
 7     stripping, providing massage or dominatrix services, and dating all are legal activities.
 8
 9
                                        Supporting Authorities
10
              See Dart v. Craigslist, Inc., 665 F.Supp.2d 961, 968 (N.D. Ill.2009) (Sheriff Dart
11
       “is simply wrong when he insists that [craigslist’s adult services category and related
12
       subcategories] are all synonyms for illegal sexual services;” craiglist’s “adult services”
13
       section “is not unlawful in itself nor does it necessarily call for unlawful content”);
14
       Backpage.com, LLC v. Dart, 807 F.3d 229, 234 (7th Cir. 2015), cert. denied, 137 S. Ct. 46
15
       (2016) (rejecting sheriff’s presumption that ads on Backpage.com were illegal:
16
       Backpage.com was “an avenue of expression of ideas and opinions” protected by the First
17
       Amendment, including its “classified ads for ‘adult’ service;” “Fetishism? Phone sex?
18
       Performances by striptease artists? (Vulgar is not violent.) One ad in the category ‘dom
19
       & fetish’ is for the services of a ‘professional dominatrix’—a woman who is paid to whip
20
       or otherwise humiliate a customer in order to arouse him sexually. It’s not obvious that
21
       such conduct endangers women or children or violates any laws, including laws against
22
       prostitution. The district judge remarked ‘that the majority of the advertisements [in
23
       Backpage’s adult section] are for sex’—but a majority is not all, and not all advertisements
24
       for sex are advertisements for illegal sex.”) (internal citations omitted); Backpage.com,
25
       LLC v. McKenna, 881 F. Supp. 2d 1262, 1281-82 (W.D. Wash. 2012) (rejecting similar
26
       presumption of state AG defending law targeting Backpage and noting the “third-party
27
       publication of offers to engage in illegal transactions does not fall within [the] ‘well-
28

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 1     defined and narrowly limited classes of speech’ that fall outside of First Amendment
 2     protection.” (quoting Chaplinsky v. New Hampshire, 315 U.S. 568, 571-72 (1942));
 3     Backpage.com, LLC v. Cooper, 939 F. Supp. 2d 805, 833-34 (M.D. Tenn. 2013) (rejecting
 4     state’s argument that escort ads on Backpage.com were unprotected speech);
 5     Backpage.com, LLC v. Hoffman, 2013 WL 4502097, at *9-11 (D.N.J. Aug. 20, 2013)
 6     (same); M.A. ex rel. P.K v. Village Voice Media Holdings, LLC, 809 F. Supp. 2d 1041,
 7     1049-50 (E.D. Mo. 2011) (rejecting similar presumption in dismissing plaintiff’s civil
 8     claims based on 18 U.S.C. §§ 2, 1595, and 2255); People v Ferrer, 2016 WL 7237305, at
 9     *9 (Cal. Super. Ct. Dec. 9, 2016) (dismissing state’s pimping charges against Larkin and
10     Lacey; noting that the only “whiff of illegality” in the AG’s complaint improperly
11     “require[ed] the presumption that illegal content was contained in the ads,” yet the
12     website’s actions in posting the ads “would not be illegal”).
13
14                                 UNITED STATES’ OBJECTIONS
15            The instruction is not supported by the record or the cited cases.
16            As explained in the SI, while Backpage for many years maintained an “adult”
17     “escorts” advertising category, Defendants were aware that the overwhelming majority of
18     ads in that section were for prostitution—and Defendants deliberately pursued a number of
19     business strategies specifically designed to attract more prostitution advertising customers
20     and increase its prostitution-related revenues. (SI ¶34 (Defendants “took a variety of steps
21     to intentionally facilitate that illegal activity”).) These steps “included, but were not limited
22     to, creating free ads for prostitutes in an attempt to secure future advertising revenues from
23     them (i.e., ‘content aggregation’), entering into formal business arrangements with known
24     prostitution services and websites in an attempt to increase the volume of prostitution
25     advertisements being posted on Backpage (i.e., reciprocal link and affiliate programs), and
26     sanitizing ads by editing them—specifically, removing terms and pictures that were
27     particularly indicative of prostitution and them publishing a revised version of that ad (i.e.,
28     moderation).” (SI ¶34.)

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 1           The United States anticipates that the trial evidence will show that Backpage’s
 2     “adult” and “escorts” ads predominantly consisted of ads for prostitution. (See, e.g., Doc.
 3     1176 at 15-17.) The United States anticipates introducing testimony from numerous
 4     witnesses, including former Backpage employees and contractors, adults and children who
 5     were advertised for sexual services on Backpage, and law enforcement agents who
 6     investigated ads on Backpage. This evidence is expected to include, among other things,
 7     testimony that no one who investigated or responded to an ad on Backpage’s “adult” or
 8     “escorts” sections ever encountered an advertisement for lawful “escort services.” In
 9     addition, the United States anticipates introducing evidence showing what Backpage’s
10     “adult” and “escort” webpages actually looked like—evidence demonstrating that, rather
11     than marketing legitimate “escort services,” these sections included page after page after
12     page of prostitution ads. Simply put, the term “escort” as used on Backpage was nothing
13     more than a euphemism for prostitution.
14           As also explained elsewhere, Defendants’ cited cases have all been eclipsed by
15     Backpage’s compelled disclosures of more than 500,000 pages of internal documents to
16     the U.S. Senate and the grand jury, and by the subsequent guilty pleas of Backpage and
17     several related operating entities, Backpage’s CEO and 100% owner, and Backpage’s Sales
18     and Marketing Director. (Doc. 649 at 21-26.)
19           Citing a string of cases—from Backpage.com LLC v. Dart, 807 F.3d 229 (7th Cir.
20    2015), to People v Ferrer, 2016 WL 7237305 (Cal. Super. Ct. Dec. 9, 2016)—Defendants
21    erroneously suggest that “escort” and other adult ads on Backpage were protected under the
22    First Amendment, and that providing a forum for such ads was likewise protected.
23    Defendants fail to mention that they misled courts across the United States in these cases,
24    and that recent subpoenas have unlocked hundreds of thousands of internal documents
25    undermining their claims. Many of these cases—including the Seventh Circuit’s opinion in
26    Dart—were based on the notion that Backpage was merely a passive “intermediary between
27    the advertisers of adult services and visitors to Backpage’s website.” Dart, 807 F.3d at 233-
28    34; see also, e.g., Backpage.com, LLC v. McKenna, 881 F. Supp. 2d 1262 (W.D. Wash.

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 1    2012) (using similar First Amendment and Communications Decency Act rationales to
 2    invalidate state law that attempted to regulate the online advertising of minors for sex). In
 3    Dart v. Craigslist, 665 F. Supp. 2d 961, 969 and n.9 (N.D. Ill. 2009), the court similarly
 4    found Craigslist protected by Section 230 of the Communications Decency Act, 47 U.S.C.
 5    § 230 (CDA), because it operated as merely a passive host for ads created and posted by third
 6    parties, and did not create, solicit or cause or induce anyone to create or post illegal ads.
 7           These cases are thoroughly inapposite.
 8           First, most of these cases involved Section 230 of the Communications Decency Act,
 9    which courts have construed to provide immunity from civil and state criminal claims for
10    websites that publish content created by third-parties. See, e.g., M.A. v. Village Voice Media
11    Holdings, LLC, 809 F. Supp. 2d 1041, 1058 (E.D. Mo. 2011) (dismissing trafficking victim’s
12    civil case against Backpage’s then-parent; “Congress has declared such websites to be
13    immune from suits arising from such injuries.”); People v. Ferrer, 2016 WL 7237305, at *11
14    (Cal. Super. Ct. Dec. 16, 2016) (dismissing state law criminal charges against Lacey, Larkin
15    and Ferrer; recognizing “it is for Congress, not this Court, to revisit” the CDA). As this
16    Court has recognized, however, the CDA’s immunity provision does not apply to the federal
17    criminal prosecutions of Backpage and its operators—including this case. 47 U.S.C.
18    § 230(e)(1) (“Nothing in this section shall be construed to impair the enforcement of…[any]
19    Federal criminal statute.”); see generally Doc. 840.
20            Second (as explained above), since these cases were decided, there has been a sea-
21     change in the availability of evidence concerning Backpage, including Backpage’s
22     compelled production of more than 500,000 pages of internal documents to the United
23     States Senate and the grand jury. (Doc. 649 at 22-23.) As alleged in the SI, evidence
24     obtained pursuant to the Senate and grand jury investigations revealed that Backpage
25     misrepresented itself in the above-referenced cases as merely a passive “conduit” for third-
26     party content, and exposed its supposed efforts to police unlawful ads on its site as a fiction.
27     Cf. McKenna, 881 F. Supp. 2d at 1266-67. Rather, the evidence showed Backpage
28     facilitated its customers’ prostitution ventures through “moderation” practices that edited

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 1     or shaped pimps’ ads to reduce the risk of detection while still conveying the illegal
 2     message; business relationships with prostitution websites (e.g., The Erotic Review) and
 3     “super-affiliates” (e.g., Dollar Bill) calculated to increase the volume of prostitution ads on
 4     Backpage; “aggregation” practices that involved creating prostitution ads and soliciting
 5     pimps and prostitutes to advertise on Backpage; and money laundering. (See generally
 6     SI¶¶ 9-11, 34-159.) Defendants failed to disclose this evidence to the courts that previously
 7     ruled in Backpage’s favor.
 8            Third, Defendants’ cases were decided before Backpage and its CEO pleaded guilty
 9     in April 2018 and admitted the “great majority” of Backpage’s revenue-generating ads
10     were “for prostitution services.” (18-CR-464, Doc. 7-2 at 12-13; 18-CR-465, Doc. 8-2 at
11     11.) Following these developments, the Northern District of Illinois dismissed Dart and
12     sanctioned Backpage. (Doc. 516-1 at 2-9; see also Doc. 446-1 at 14-35.)
13            Where, as here, the speech at issue falls outside of the First Amendment’s
14     protection, a First Amendment jury instruction should not be given. United States v.
15     Freeman, 761 F.2d 549, 551-52 (9th Cir. 1985).
16            The instruction should not be given.
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 1                         DEFENDANTS’ PROPOSED INSTRUCTION
 2             FIRST AMENDMENT PROTECTION—WEBSITE HAS THE RIGHT TO
 3                   EXERCISE EDITORIAL CONTROL AND JUDGMENT
 4
 5            The First Amendment prohibits the government from punishing a website that
 6     exercises “editorial control and judgment,” including decisions about whether to allow,
 7     block, or edit third-party content.
 8            Federal law also protects online providers and encourages them to engage in the
 9     editorial practices of monitoring, limiting, and/or editing user-submitted content to
10     “maintain the robust nature of Internet communication, and … keep government
11     interference in the medium to a minimum.”
12
13                                       Supporting Authorities
14            Miami Herald Publ’g Co. v. Tornillo, 418 U.S. 241, 258 (1974); Washington Post
15     v. McManus, 355 F. Supp. 3d 272, 300 (D. Md. 2019) (enjoining Maryland statute that
16     required social media and news websites to self-publish information about political ads,
17     holding that the statute infringed editorial judgments; “This respect for a publisher’s right
18     to exercise ‘editorial control and judgment’ … applies with equal force to outlets that
19     publish content on the Internet”) (quoting Tornillo, 418 U.S. at 258), aff’d., 944 F.3d 506
20     (4th Cir. 2019); e-ventures Worldwide, LLC v. Google, Inc., 2017 WL 2210029, at *4
21     (M.D. Fla. Feb. 8, 2017) (“A search engine is akin to a publisher, whose judgments about
22     what to publish and what not to publish are absolutely protected by the First Amendment”;
23     holding that “Google’s actions in … determining whether certain websites are contrary to
24     Google’s guidelines and thereby subject to removal are the same as decisions by a
25     newspaper editor regarding which content to publish, which article belongs on the front
26     page, and which article is unworthy of publication. The First Amendment protects these
27     decisions, whether they are fair or unfair, or motivated by profit or altruism.”); Zhang v.
28     Baidu.com Inc., 10 F. Supp. 3d 433, 438 (S.D.N.Y. 2014) (“a ‘search engine’s editorial

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 1     judgment is much like many other familiar editorial judgments,’ such as the newspaper
 2     editor’s judgment of which wire-service stories to run and where to place them in the
 3     newspaper”); Langdon v. Google, Inc., 474 F. Supp. 2d 622, 629-630 (D. Del. 2007) (First
 4     Amendment protects decisions about placement, ranking, or rejection of online
 5     advertisements); Search King, Inc. v. Google Tech., Inc., 2003 WL 21464568 *4 (W.D.
 6     Okla. 2003) (“Google’s PageRanks are entitled to ‘full constitutional protection.’”).
 7            Batzel v. Smith, 333 F.3d 1018, 1027-28 (9th Cir. 2003) (“‘Section 230 was enacted,
 8     in part, to maintain the robust nature of Internet communication, and accordingly, to keep
 9     government interference in the medium to a minimum.’ Making interactive computer
10     services and their users liable for the speech of third parties would severely restrict the
11     information available on the Internet.”) (internal citations omitted); Doe v. Kik Interactive,
12     Inc., 482 F. Supp. 3d 1242, 1247 (S.D. Fla. 2020) (“‘Section 230, though . . . was enacted
13     to maintain the robust nature of Internet communication and, accordingly, to keep
14     government interference in the medium to a minimum.’ Force v. Facebook, Inc., 934 F.3d
15     53, 63 (2d Cir. 2019), cert. denied, ––– U.S. ––––, 140 S.Ct. 2761, 206 L. Ed. 2d 936
16     (2020) (quotations omitted). ‘Indeed, Congress stated in Section 230 that ‘[i]t is the policy
17     of the United States – (1) to promote the continued development of the Internet and other
18     interactive computer services and other interactive media; [and] (2) to preserve the vibrant
19     and competitive free market that presently exists for the Internet and other interactive
20     computer services, unfettered by Federal or State regulation.’’ Id. (quoting 47 U.S.C. §
21     230(b)(1)-(2)).”). See Bennett v. Google, Inc., 2017 WL 2692607, at *2 (D.D.C. June 21,
22     2017) (“holding Google liable for establishing standards and guidelines would ultimately
23     create a powerful disincentive for service providers to establish any standards or ever
24     decide to remove objectionable content, which the CDA was enacted to prevent”), aff’d
25     sub nom., Bennett v. Google, LLC, 882 F.3d 1163 (D.C. Cir. 2018).
26                                UNITED STATES’ OBJECTIONS
27            The instruction should not be given because this case does not involve the exercise
28     of traditional “editorial control and judgment” functions. See, e.g., Miami Herald Publ’g

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 1     Co. v. Tornillo, 418 U.S. 241, 254-558 (1974) (newspapers cannot be compelled to publish
 2     editorials or commentary; decisions regarding the inclusion of materials in the newspaper
 3     and “treatment of public issues and public officials—whether fair or unfair—constitute the
 4     exercise of [protected] editorial control and judgment”).
 5            Rather, as this Court has recognized (in reviewing the sufficiency of the SI),
 6     Defendants’ management and operation of Backpage “fell outside ‘traditional, editorial
 7     functions’ protected by the First Amendment.         (Doc. 793 at 12-15.)      For example,
 8     Defendants “participated in [ad] moderation not merely to edit, but to ‘conceal the true
 9     nature of the ads being posted on its website.’ (SI¶ 11).” (Doc. 793 at 12.) Defendants’
10     “official policy” for posts advertising child prostitution was to delete particular words in
11     the ads indicative of underage prostitution and publish the revised version, thereby creating
12     a veneer of deniability and helping its customers evade law enforcement. (Doc. 793 at 12.)
13     Defendants followed similar policies for ads containing words or phrases indicative of
14     adult prostitution. (Doc. 793 at 12.) Backpage also permitted users to include TER ID
15     numbers in ads—that is, numbers that Johns could use to locate on-line reviews of the
16     advertisers’ sex-for-money services. (See Doc. 793 at 12.) Moreover, Backpage “taught
17     customers how to word their ads to avoid moderator restrictions,” and maintained non-
18     adult sections to provide “plausible deniability” and make the website more “defensible”
19     to law enforcement. (Doc. 793 at 12-13.) Tornillo and its progeny do not apply to these
20     policies and practices. (See Doc. 793 at 12-15; see also Doc. 649 at 26-29.)
21            Separately, Defendants’ invocation of “[f]ederal law”—namely, Section 230 of the
22     Communications Decency Act, 47 U.S.C. § 230—should be precluded in the jury
23     instructions. As this Court has already held, Section 230 has no application whatsoever in
24     this federal criminal case. (Doc. 793 at 13; Doc. 840 at 4-12.)
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 1                         DEFENDANTS’ PROPOSED INSTRUCTION
 2      FIRST AMENDMENT PROTECTION—OFFENSIVE AND SEXUAL SPEECH
 3
 4            The First Amendment prohibits the government from restricting speech because
 5     some find it offensive.     The First Amendment also prohibits the government from
 6     restricting adult sexual expression that is indecent, but not obscene.
 7
 8                                       Supporting Authorities
 9            Ashcroft v. Free Speech Coal., 535 U.S. 234, 245 (2002) (“It is also well established
10     that speech may not be prohibited because it concerns subjects offending our sensibilities.
11     . . . In evaluating the free speech rights of adults, we have made it perfectly clear that
12     ‘[s]exual expression which is indecent but not obscene is protected by the First
13     Amendment’”) (citing Reno v. American Civil Liberties Union, 521 U.S. 844, 874 (1997).
14
15                                 UNITED STATES’ OBJECTION
16            This instruction is irrelevant and confusing, and not supported by the record or the
17     law in the context of this case. This is not an “obscenity” prosecution, or one that seeks to
18     restrict or enjoin the distribution of materials (videos, magazines, books, etc.) that might
19     call for consideration of whether they are “obscene.” See Miller v. California, 413 U.S.
20     15, 24 (1973) (government may restrict dissemination of a work that, taken as a whole,
21     appeals to the prurient interest, is patently offensive in light of community standards, and
22     lacks serious literary, artistic, political, or scientific value); cf. Ashcroft v. Free Speech
23     Coal., 535 U.S. 234, 245 (2002) (invalidating statute banning “virtual child pornography”).
24     Indeed, this case does not involve any effort to restrict or enjoin the distribution of any
25     materials at all.
26            Moreover, this is not a case that seeks to restrict “offensive” speech, or “adult sexual
27     expression that is indecent, but not obscene.” Rather than involve purely expressive speech
28     subject to the highest levels of constitutional protection, this case involves a different

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 1     category of speech altogether—commercial speech, or speech that does no more than
 2     propose a commercial transaction (i.e., advertising). Central Hudson Gas & Elec. Corp.
 3     v. Pub. Serv. Commn. of New York, 447 U.S. 557, 563-64 (1980). The First Amendment
 4     confers no protection at all on speech proposing illegal transactions, including prostitution
 5     advertising and soliciting. (Doc. 793 at 14); Pittsburgh Press Co. v. Human Relations
 6     Comm’n, 413 U.S. 376, 388 (1973); Central Hudson, 447 U.S. at 563-64; United States v.
 7     Williams, 553 U.S. 285, 297 (2008); Erotic Service Provider Legal Ed. and Research
 8     Project v. Gascon, 880 F.3d 450, 459-60, amended, 881 F.3d 792, 792 (9th Cir. 2018);
 9     Coyote Pub., Inc. v. Miller, 598 F.3d 592, 600-04 (9th Cir. 2010).
10            Given this background, the instruction should not be given.
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 1                         DEFENDANTS’ PROPOSED INSTRUCTION
 2                   FIRST AMENDMENT PROTECTION—SPEECH PRESUMED
 3                                           PROTECTED
 4
 5            The Constitution does not permit the jury to presume that speech is unprotected
 6     merely because it resembles unprotected speech. The jury must presume that speech is
 7     protected.
 8            The government always has the burden to prove that particular instances of speech
 9     are not protected by the First Amendment.
10
11                                       Supporting Authorities
12            Ashcroft v. Free Speech Coal., 535 U.S. 234, 255 (2002) (“Protected speech does
13     not become unprotected merely because it resembles the latter.”); United States v. Playboy
14     Entm’t Grp., Inc., 529 U.S. 803, 816 (2000) (“When the Government restricts speech, the
15     Government bears the burden of proving the constitutionality of its actions.”); id. at 818
16     (“When First Amendment compliance is the point to be proved, the risk of nonpersuasion
17     … must rest with the Government, not with the citizen.”).
18
19                                UNITED STATES’ OBJECTIONS
20            The instruction is confusing and not supported by the record or the law—
21     particularly to the extent it might be understood as requiring the United States to prove that
22     each and every ad that ever appeared on Backpage’s “adult” or “escorts” sections was a
23     prostitution ad in order to prove the offenses charged in the SI. If Defendants’ revenue-
24     generating business model was knowingly, intentionally and overwhelmingly based on the
25     sale of prostitution ads, the Constitution does not impose the near-impossible burden of
26     proving that every ad sold on Backpage proposed an illegal transaction. Under that
27     interpretation, selling even one licit ad—among millions of illicit ones—would immunize
28     Defendants from prosecution.

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 1            That is not the law. Rather, just as “[b]ookselling in an establishment used for
 2    prostitution does not confer First Amendment coverage to defeat a valid statute aimed at
 3    penalizing and terminating illegal uses of premises,” Arcara v. Cloud Books, Inc., 478 U.S.
 4    697, 707 (1986), so too may the government seek to prosecute a website (and the individuals
 5    who directed and managed it) that operated a massive online marketplace for illegal
 6    prostitution—even if the website also gave away free (or sold for exponentially lower prices)
 7    ads for legal goods and services for the sake of “plausible deniability.” (See SI¶ 112); see
 8    also United States v. Ulbricht, 31 F. Supp. 3d 540, 556 (S.D.N.Y. 2014) (unlike other online
 9    businesses, defendant “knowingly and intentionally constructed and operated an expansive
10    black market for selling and purchasing narcotics and malicious software”); United States v.
11    Jackson, 865 F.3d 946, 949 (7th Cir. 2017) (Backpage “advertis[ed]…sex work”), cert.
12    granted, judgment vacated on other grounds, 138 S. Ct. 1983 (2018); J.S. v. Village Voice
13    Media Holdings, Inc., 359 P.3d 714, 715-16 (Wash. 2015) (discussing Backpage’s
14    involvement in minor victims’ ads); SI¶ 109 (Backpage is “a direct vehicle for prostitution”).
15           If the record warrants an instruction similar to that proposed by Defendants, cf.
16    Freeman, 761 F.2d at 551-52, and to avoid confusion and more faithfully track the law’s
17    requirements, the proposed instruction should be revised as follows (additions underlined;
18    deletions in strikeout):
19                   The Constitution does not permit the jury to presume that speech
20            is unprotected merely because it resembles unprotected speech. The
21            jury must presume that speech is protected, and the government has the
22            burden of proving otherwise.
23                   The government always has the burden to prove that particular
24            instances of speech are not protected by the First Amendment.
25            This instruction, if given, should be coupled with an instruction explaining that
26     prostitution advertisements or solicitations are not protected by the First Amendment, as
27     follows:
28                   Prostitution is illegal in 49 states and most of Nevada. In those

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 1            places, prostitution advertisements or solicitations have no First
 2            Amendment protection at all. Advertisements or solicitations must
 3            concern lawful activity to receive First Amendment protection.
 4     See Doc. 793 at 14; Central Hudson Gas & Elec. Corp. v. Pub. Serv. Commn. of New York,
 5     447 U.S. 557, 563-64 (1980) (“commercial speech related to illegal activity” is not
 6     protected by the First Amendment); Erotic Service Provider Legal Ed. and Research
 7     Project v. Gascon, 880 F.3d 450, amended, 881 F.3d 792, 792 (9th Cir. 2018) (“[f]or
 8     commercial speech to receive First Amendment protection[,] the speech must concern
 9     lawful activity”). See also United States v. Williams, 553 U.S. 285, 297 (2008) (“Offers to
10     engage in illegal transactions are categorically excluded from First Amendment
11     protection.”); Pittsburgh Press Co. v. Human Relations Comm’n, 413 U.S. 376, 388 (1973)
12     (“a newspaper constitutionally could be forbidden to publish a want ad proposing a sale of
13     narcotics or soliciting prostitutes”); Coyote Pub., Inc. v. Miller, 598 F.3d 592, 600-04 (9th
14     Cir. 2010) (explaining that prostitution is illegal nearly everywhere in the United States,
15     and upholding Nevada ban on prostitution advertising); A.R.S. § 13-3211(5) (crime of
16     prostitution defined in part as “offering to engage in sexual conduct under a fee
17     arrangement with any person for money”) (emphasis added)).
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 1                          DEFENDANTS’ PROPOSED INSTRUCTION
 2             FIRST AMENDMENT PROTECTION—ADS PRESUMED PROTECTED
 3
 4            A website’s publication of a classified ad posted by a third party is protected under
 5     the First Amendment unless the transaction proposed in the ad necessarily would be an
 6     illegal act (like an ad proposing a sale of cocaine, which always is illegal). Where the
 7     legality of a transaction proposed in an ad depends on circumstances outside the content of
 8     the ad, a website’s publication of the ad is protected by the First Amendment.
 9            The jury cannot conclude from coded language or implicit offers in a classified ad
10     that an ad necessarily proposes an illegal act. Coded language or implicit offers mean that
11     the legality of a transaction proposed in an ad will depend on circumstances outside the
12     content of the ad.
13            The classified ads charged in Counts 2 – 22 and 24 – 51 do not necessarily propose
14     unlawful acts and the legality of the transactions proposed in those ads depends on
15     circumstances outside the content of those ads. Therefore, Backpage.com’s publication of
16     those 49 ads was protected by the First Amendment.
17            A website’s publication of classified ads protected by the First Amendment does
18     not become unprotected merely because some, or even many, third-parties use the ads
19     hosted on the website to facilitate their own illegal conduct.
20
21                                      Supporting Authorities
22            Valle Del Sol Inc. v. Whiting, 709 F.3d 808, 822 (9th Cir. 2013) (rejecting Arizona’s
23     proposed “novel extension of Central Hudson’s legality requirement, which has
24     traditionally focused on the content of affected speech—i.e., whether the speech proposes
25     an illegal transaction—instead of whether the speech is associated with unlawful activity”)
26     (emphasis added).
27                                UNITED STATES’ OBJECTIONS
28            The instruction is not supported by the law or the record, and it is confusing and

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 1     misleading. The jury is entitled to consider all of the relevant facts and circumstances in
 2     determining the meaning of an ad. An advertisement is not an integrated legal instrument,
 3     and the jury may properly consider the use and meaning of coded terms (e.g., “GFE,”
 4     “incall/outcall,” “roses,” “car service,” “quickie”), incremental prices (e.g., quarter-hour,
 5     half-hour, one-hour), photos, video or other images, identification numbers from
 6     prostitution review websites, and any other evidence—including the placement and context
 7     of the ad—that conveys information about the meaning of the ad. See Pittsburgh Press
 8     Co. v. Human Relations Comm’n, 413 U.S. 376, 388 (1973) (determining that employment
 9     ads were unlawful based on the context of their placement in gender-specific categories;
10     “We have no doubt that a newspaper constitutionally could be forbidden to publish a want
11     ad proposing a sale of narcotics or soliciting prostitutes. Nor would the result be different
12     if the nature of the transaction were indicated by placement under columns captioned
13     ‘Narcotics for Sale’ and ‘Prostitutes Wanted’ rather than stated within the four corners of
14     the advertisement.”).
15            There is no requirement that an advertisement “necessarily” or explicitly propose
16     an illegal transaction, without the use of code words or other indicia of unlawful activity,
17     in order for the publication to fall outside of the First Amendment’s protection. The sole
18     case Defendants cite in support of their proposed instruction—Valle Del Sol Inc. v.
19     Whiting, 709 F.3d 808 (9th Cir. 2013)—does not support that concept and has nothing to
20     do with this case. In Whiting, the court held that Arizona could not target day laborers for
21     harsher punishment when, in the course of soliciting lawful work (i.e., engaging in lawful
22     commercial speech), they violated an unrelated traffic law. Id. at 814, 823. Whiting
23     contains no analysis or discussion of any ads that use code words or other thinly-veiled
24     indicia of illegal activity. Whiting likewise contains no language that would prevent the
25     jury from using ordinary interpretative aids in assessing the meaning of Backpage’s ads;
26     nor does it say anything that might limit Defendants’ liability here.
27            To the contrary, Whiting (id. at 822) recognized the continuing validity of Pittsburg
28     Press—which itself recognized that the context and/or content of an ad may be considered,

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 1     and that prostitution ads have no constitutional protection whatsoever. 413 U.S. at 388-39.
 2     The instruction should not be given.
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 1                          DEFENDANTS’ PROPOSED INSTRUCTION
 2               FIRST AMENDMENT PROTECTION—CODED ADVERTISEMENT
 3                                              LANGUAGE
 4
 5            Coded language in an ad does not mean the ad is for an illegal activity. For example,
 6     where a website publishes an escort advertisement posted by a third-party that uses coded
 7     language that implies the advertisement is for prostitution, the advertisement may, in fact,
 8     just be for legal escort services.
 9
10     [This instruction should track the elements and definition of “prostitution” that the
11     government provided to the grand jury at the time this indictment was returned. See Doc.
12     No. 1171.]
13                                          Supporting Authorities
14            See Backpage.com, LLC v. McKenna, 881 F. Supp. 2d 1262, 1279 (W.D. Wash.
15     2012) (“The pimp that publishes the advertisement certainly ‘knows’ whether his offer is
16     for sex, whether explicitly or implicitly. However, what does it mean for the website
17     operator to “know” that an advertisement “implicitly” offers sex? In Washington, ‘a person
18     acts knowingly or with knowledge when ... he or she has information which would lead a
19     reasonable person in the same situation to believe that facts exist which facts are described
20     by a statute defining an offense.’ Wash. Rev. Code Ann. § 9A.08.010(b)(ii).
21     However, where an online service provider publishes advertisements that employ coded
22     language, a reasonable person could believe that facts exist that do not in fact exist: an
23     advertisement for escort services may be just that. Similarly, Defendants contend that
24     ‘offer’ is used ‘to make clear that a transaction does not have to be consummated for SB
25     6251 to apply.’ However, if the offer is implicit, how can a third party ascertain that which
26     is being offered before the transaction is consummated?”).
27                                 UNITED STATES’ OBJECTIONS
28            The instruction is not supported by the facts or the law, and it is confusing and

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 1     misleading. The jury is entitled to consider all of the relevant facts and circumstances in
 2     determining the meaning and import of a Backpage ad or advertising category. The
 3     government also incorporates by reference its objections to the preceding proposed jury
 4     instruction.
 5            Backpage.com, LLC v. McKenna, 881 F. Supp. 2d 1262 (W.D. Wash. 2012), does
 6     not support the instruction.    That non-precedential case (decided in part under the
 7     inapplicable Communications Decency Act) involved a facial challenge to a Washington
 8     state statute, not a federal criminal prosecution. The quoted language contains a series of
 9     rhetorical questions and does not state a legal rule or requirement. The instruction should
10     not be given.
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 1                         DEFENDANTS’ PROPOSED INSTRUCTION
 2       FIRST AMENDMENT PROTECTION—GOVERNMENT CANNOT PUNISH
 3                    LEGAL SPEECH TO SUPPRESS ILLEGAL SPEECH
 4
 5            The First Amendment prohibits the government from restricting or punishing legal
 6     speech in an effort to eliminate illegal speech. The possible harm to society from
 7     permitting illegal speech to go unpunished is outweighed by the possibility that legal
 8     speech will be suppressed.
 9            The First Amendment prohibits the government from punishing a defendant based
10     on that defendant’s or Backpage.com’s refusal to cease publishing adult services or dating
11     ads, even if eliminating all adult-oriented ads would have reduced the number of ads
12     relating to illegal conduct on the website.
13                                       Supporting Authorities
14            Packingham v. North Carolina, 137 S. Ct. 1730, 1738 (2017) (“as a general rule,
15     the Government ‘may not suppress lawful speech as the means to suppress unlawful
16     speech’”); Ashcroft v. Free Speech Coalition, 535 U.S. 234, 255 (2002) (“The government
17     may not suppress lawful speech as the means to suppress unlawful speech.”).
18
19                                UNITED STATES’ OBJECTIONS
20            The instruction is not supported by the facts or the law, and it is confusing, irrelevant
21     and misleading. This case is about Defendants’ commission of federal offenses in the
22     course of operating, for more than a decade, the internet’s largest source of ads for the sale
23     of adults and children for sex. (See generally Doc. 793 (detailing the SI’s factual and legal
24     allegations); Doc. 230.) The suggestion that this case was brought to “punish[ ] a defendant
25     based on that defendant’s or Backpage.com’s refusal to cease publishing [otherwise lawful]
26     adult services or dating ads” mischaracterizes the SI and is untrue. (See generally Doc.
27     230.) The instruction should not be given.
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 1                            DEFENDANTS’ PROPOSED INSTRUCTION
 2        FIRST AMENDMENT PROTECTION—PROTECTED PUBLICATION OF
 3                                        THIRD-PARTY SPEECH
 4
 5               Under the First Amendment, the jury cannot find a defendant guilty of a crime based
 6     on a website’s publication of a third-party classified ad, unless the government proves
 7     beyond a reasonable doubt that:
 8        (i)       the defendant had actual knowledge of the particular ad, and
 9        (ii)      the defendant had actual knowledge that the particular ad related to unlawful
10                  activity, and
11        (iii)     the defendant personally took an action causing the particular ad to be
12                  published on, or to continue to be published on, Backpage.com with the aim of
13                  furthering the illegal activity.
14
15                                          Supporting Authorities
16               See Smith v. California, 361 U.S. 147, 153-54 (1959); Mishkin v. New York, 383
17     U.S. 502, 511 (1966) (“The Constitution requires proof of scienter to avoid the hazard of
18     self-censorship of constitutionally protected material ....”); Valle Del Sol Inc. v. Whiting,
19     709 F.3d 808, 822 (9th Cir. 2013) (rejecting Arizona’s proposed “novel extension of
20     Central Hudson’s legality requirement, which has traditionally focused on the content of
21     affected speech—i.e., whether the speech proposes an illegal transaction—instead of
22     whether the speech is associated with unlawful activity”) (emphasis added);
23     Backpage.com, LLC v. Cooper, 939 F. Supp. 2d 805, 830 (M.D. Tenn. 2013) (the First
24     Amendment burden imposed by self- censorship is magnified on the Internet, because
25     “websites … will bear an impossible burden to review all of their millions of postings or,
26     more likely, shut down their adult services section entirely.”).
27
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 1                               UNITED STATES’ OBJECTIONS
 2           The instruction is not supported by the law. (Doc. 793 at 15-20; see also Doc. 649
 3     at 32-36.) As this Court has already found, the cases on which Defendants rely do not
 4     support the scienter described above:
 5           Defendants argue the First Amendment requires the Government to prove
             that each Defendant was aware of each ad that make up the fifty Travel Act
 6           counts and knew that each ad proposed illegal transactions. The Court is not
             persuaded that the First Amendment demands such a standard.
 7
             . . . . Defendants largely rely on four cases [including Smith v. California,
 8           361 U.S. 147 (1959), and Mishkin v. New York, 383 U.S. 502, 511 (1966)].
             The Court concludes none of these cases mandate the mens rea requirement
 9           described by Defendants, and, instead, agrees with the Government that
             intent to promote or facilitate prostitution is sufficient.
10
             . . . . [In Smith, the Supreme Court] did not consider “what sort of mental
11           element is requisite to a constitutionally permissible prosecution of a
             bookseller for carrying an obscene book in stock” and explicitly left open the
12           possibility of prosecution for something less than specific knowledge of the
             contents of a particular book. [361 U.S.] at 154–55.
13
             Likewise, Mishkin upheld a scienter standard less demanding than the one
14           proposed by defendants. There, the defendant was convicted of violating a
             New York Penal Law prohibiting possession of obscene books with intent to
15           sell and hiring others to prepare and publish obscene books. Mishkin, 383
             U.S. at 503. The Court upheld the scienter standard used by the New York
16           Court of Appeals, requiring the State show defendants were “in some manner
             aware of the character of the material they attempt to distribute.” Id. at 510.
17           The Court reasoned, “proof of scienter” is required “to avoid the hazard of
             self-censorship of constitutionally protected material and to compensate for
18           the ambiguities inherent in the definition of obscenity.” Id. at 511. The
             scienter standard used in the prosecution “amply serve[d] those ends, and
19           therefore fully [met] the demands of the Constitution.” Id.
20     (Doc. 793 at 15-16.) Discussing Pinkerton liability, the Court also found:
21           The SI contains sufficient factual allegations to implicate all Defendants.
             Additionally, when there is a “continuous conspiracy,” the “overt act[s] of
22           one partner may be the act of all without any new agreement specifically
             directed to that act.” United States v. Pinkerton, 328 U.S. 640, 646–47
23           (1946); see United States v. Long, 301 F.3d 1095, 1103 (9th Cir 2002) (“The
             Pinkerton doctrine is a judicially-created rule that makes a conspirator
24           criminally liable for the substantive offenses committed by a co-conspirator
             when they are reasonably foreseeable and committed in furtherance of the
25           conspiracy.”). . . . The pleadings and this order are replete with the relevant
             factual allegations against the defendants, so the Court will only briefly
26           repeat them here. Taken as true, they show Defendants had a specific intent
             to promote prostitution.
27
28     (Doc. 793 at 19.)

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 1           In discussing Smith and Mishkin, the government similarly explained:

 2           Defendants’ cases provide a more generous mens rea standard than
             Defendants suggest. In Smith v. California, the Supreme Court invalidated
 3           an obscenity ordinance that contained no mens rea standard whatsoever; the
             ordinance imposed criminal sanctions on a bookseller “if in fact there is to
 4           be found in his shop an obscene book,” “even though [he] had not the
             slightest notice of the character of the books [that he] sold.” 361 U.S. 147,
 5           152 (1959). In requiring some mens rea requirement, Smith expressly did
             not adopt a specific standard: “We need not and most definitely do not pass
 6           today on what sort of mental element is requisite to a constitutionally
             permissible prosecution of a bookseller for carrying an obscene book in
 7           stock; [including] whether there might be circumstances under which the
             State constitutionally might require that a bookseller investigate further, or
 8           might put on him the burden of explaining why he did not, and what such
             circumstances might be.” Id. at 154. Smith accordingly contemplates that
 9           mens rea may be satisfied by something other than knowledge of the contents
             of a specific book (or ad), especially where, as here, Defendants knew the
10           vast majority of their “adult” ads were for prostitution and engaged in
             practices specifically intended to increase such advertising.[ ]
11           Mishkin v. State of New York, similarly recognizes a broader scienter
12           standard. In Mishkin, the Court noted the constitution requires proof of
             scienter to “avoid the hazard of self-censorship of constitutionally protected
13           material and to compensate for the ambiguities inherent in the definition of
             obscenity.” 383 U.S. 502, 511 (1966). The Court declined to set a firm rule
14           on what mens rea was required under Smith, and found more than sufficient
             the scienter required by the New York Court of Appeals in interpreting the
15           state law at issue: namely, that defendants were “in some manner aware of
             the character of the material they attempt to distribute” such that the punished
16           behavior was a “calculated purveyance of filth” and not innocent behavior.
             Id. at 510-11.[ ] Mishkin then rejected the defendant’s argument that the
17           evidence was insufficient to show such awareness, where the evidence
             included that the defendant had instructed artists and writers regarding the
18           contents of most of the 50 books at issue, his efforts to conceal his role in the
             enterprise, and “the massive number of obscene books [he] published, hired
19           others to prepare, and possessed for sale.” Id. at 504, 511-12.

20           Here, the SI’s allegations likewise demonstrate that Defendants were “in
             some manner aware of the character of the material” they distributed such
21           that their conduct involved the “calculated purveyance of filth” and not
             innocent behavior. Id. at 510-11. The SI alleges Defendants and their co-
22           conspirators coached users, including P.R. and Victim 13, regarding the
             contents of their ads, including many of the 50 ads identified in SI¶ 201 (see,
23           e.g., SI¶132, 172); concealed their roles in facilitating prostitution (see, e.g.,
             SI¶16 (Defendants misled the public, regulators and law enforcement), ¶77
24           (Padilla threatened to fire any employee who acknowledged in writing that a
             customer was a prostitute), ¶¶107-08 (Larkin warned Ferrer about making
25           “public” Lacey’s statements lauding Backpage’s contributions to the
             prostitution industry); knew the vast majority of their “adult” ads were for
26           prostitution (SI¶¶1, 9, 11, 15, 34); and sold massive numbers of such ads by
             operating the internet’s leading website for prostitution advertising and
27           collecting approximately $500 million in fees from such sales (see SI¶¶1,
             177). Combined with Defendants’ intentional efforts to expand Backpage’s
28           prostitution advertising, and the repeated notices Defendants received from
             law enforcement, anti-trafficking organizations, the news media and other
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              sources concerning the predominance of prostitution ads in Backpage’s
 1            “adult” section (see generally SI¶¶9-11, 34-159), the SI demonstrates
              Defendants were well “aware of the character” of Backpage’s “adult” ads
 2            such that their activity was “not [the] innocent but calculated purveyance of”
              prostitution solicitations. Mishkin, 383 U.S. at 512.
 3
       (Doc. 649 at 33-35.)
 4
              Valle Del Sol Inc. v. Whiting, 709 F.3d 808 (9th Cir. 2013), contains no language
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       supporting the instruction and has nothing to do with this case. Whiting held that Arizona
 6
       could not target day laborers for harsher punishment when, in the course of soliciting lawful
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       work (i.e., engaging in lawful commercial speech), they violated an unrelated traffic law.
 8
       Id. at 814, 823. Moreover, Whiting recognized the continuing validity of Pittsburgh Press
 9
       Co. v. Human Relations Comm’n, 413 U.S. 376 (1973), and the Ninth Circuit has
10
       repeatedly reaffirmed that the First Amendment “extends no protection” to prostitution ads
11
       and solicitations. Whiting, 709 F.3d at 822; Erotic Service Provider Legal Ed. and
12
       Research Project v. Gascon, 880 F.3d 450, 459-60 (9th Cir. 2018); Coyote Pub., Inc. v.
13
       Miller, 598 F.3d 592, 603-04 (9th Cir. 2010).
14
              Backpage.com, LLC v. Cooper, 939 F. Supp. 2d 805 (M.D. Tenn. 2013), predated
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       the factual and legal developments described supra and in Doc. 649 at 21-26 (incorporated
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       by this reference). That non-precedential decision (decided in part under the inapplicable
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       Communications Decency Act) does not support Defendants’ proposed standard. The
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       instruction should not be given.
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 1                         DEFENDANTS’ PROPOSED INSTRUCTION
 2     FIRST AMENDMENT PROTECTION—NO REQUIREMENT TO SHUT DOWN
 3
 4            The First Amendment prohibits the government from requiring a website hosting
 5     third-party ads to shut down the adult section, even if doing so could have reduced the
 6     number of ads relating to illegal conduct.
 7
 8                                      Supporting Authorities
 9            Packingham v. North Carolina, 137 S. Ct. 1730, 1738 (2017) (“as a general rule,
10     the Government ‘may not suppress lawful speech as the means to suppress unlawful
11     speech’”); Ashcroft v. Free Speech Coalition, 535 U.S. 234, 255 (2002) (“The government
12     may not suppress lawful speech as the means to suppress unlawful speech.”).
13
14                               UNITED STATES’ OBJECTIONS
15            The instruction is confusing and irrelevant. In April 2018, Backpage pleaded guilty
16     in a separate case and cooperated in its shut down. (See United States v. Backpage.com,
17     LLC, CR-18-465-PHX-SMB, Doc. 8-2 at 6-11.) The instant case involves criminal charges
18     against six individual Defendants, not Backpage.
19            Moreover, the proposed instruction is not supported by the cases Defendants cite.
20     Neither case involved a website whose revenue-generating business model consisted of
21     operating a massive online marketplace for illegal prostitution. See, e.g., United States v.
22     Ulbricht, 31 F. Supp. 3d 540, 558 (S.D.N.Y. 2014) (rejecting website operator’s argument
23     that his site’s online marketplace for illegal narcotics involved speech protected by First
24     Amendment); see also Doc. 793 at 14 (“The SI does not allege Defendants are criminally
25     liable because they unknowingly and unintentionally operated a website used by third
26     parties to post prostitution ads. Rather, it alleges Defendants purposely sought out
27     opportunities to increase prostitution advertising on Backpage. The SI alleges the
28     Defendants intentionally identified prostitutes, created free Backpage ads for them, and

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 1     used those ads to try to secure future business. (SI¶ ¶ 9, 36). . . . Defendants also sought
 2     to expand their traffic through TER, a ‘prostitution website’ where ‘johns’ could rate and
 3     review escorts including the ‘prices charged for particular sex acts.’ (SI ¶¶ 10, 54). As
 4     alleged, Backpages’ efforts to promote its website facilitated prostitution and were not
 5     protected business practices.”). See also Doc. 793 at 8 (“The SI sufficiently explains why
 6     defendants in this case are not just merely hosting third party content.”); Doc. 840 at 9-10
 7     & n.6 (explaining that the SI’s allegations differentiate Backpage’s activities from passive
 8     hosting of third party content).
 9            The instruction should not be given.
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 1                         DEFENDANTS’ PROPOSED INSTRUCTION
 2              FIRST AMENDMENT PROTECTION—NO REQUIREMENT TO
 3                                          INVESTIGATE
 4
 5            An internet provider is not required to investigate or learn what its users are doing
 6     and whether anyone is hurt as a result.
 7
 8                                      Supporting Authorities
 9            Doe v. GTE Corp, 347 F.3d 655, 661 (7th Cir. 2003) (“Plaintiffs do not cite any case
10     in any jurisdiction holding that a service provider must take reasonable care to prevent
11     injury to third parties. Consider the Postal Service or Federal Express, which sell
12     transportation services that could be used to carry harmful articles. As far as we can
13     discover, no court has held such a carrier liable for failure to detect and remove harmful
14     items from shipments. . . . Similarly, telephone companies are free to sell phone lines to
15     entities such as [the Wrongdoer], without endeavoring to find out what use the customers
16     make of the service. See, e.g., Anderson v. New York Telephone Co., 35 N.Y.2d 746, 361
17     N.Y.S.2d 913, 320 N.E.2d 647 (1974) (no liability for phone company that furnished
18     service to someone who used the connection to play a defamatory recording to all callers).
19     . . . Landlord, phone company, delivery service, and web host all could learn, at some cost,
20     what [Wrongdoer] was doing with the services and who was potentially injured as a result;
21     but state law does not require these providers to learn, or to act as Good Samaritans if they
22     do. The common law rarely requires people to protect strangers, or for that matter
23     acquaintances or employees. See generally Stockberger v. United States, 332 F.3d 479 (7th
24     Cir. 2003).”).
25
26                                UNITED STATES’ OBJECTIONS
27            This “First Amendment” instruction is irrelevant, confusing and not supported by
28     First Amendment or other law. In the case Defendants cite, Doe v. GTE Corp, 347 F.3d

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 1     655 (7th Cir. 2003), the Seventh Circuit affirmed the district court’s dismissal, under
 2     Section 230 of the Communications Decency Act, of a civil suit brought against an internet
 3     service provider. As this Court has already found, the CDA has no applicability in this
 4     federal criminal prosecution. (Doc. 793 at 13; see generally Doc. 840.) Moreover, the
 5     quoted language from GTE involved an analysis of the plaintiff’s “negligent entrustment
 6     of chattel” argument—a legal theory that has no relationship to this case. See GTE, 347 F.
 7     3d at 660-62. The instruction should not be given.
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 1                         DEFENDANTS’ PROPOSED INSTRUCTION
 2      FIRST AMENDMENT PROTECTION—PUBLICATION DOES NOT CREATE
 3                                  CRIMINAL CULPABILITY
 4
 5            A defendant’s operation of a website does not in and of itself provide culpable
 6     assistance to a wrongdoer; to prove a defendant guilty of assisting a criminal, the
 7     government must prove beyond a reasonable doubt that the defendant had a desire to
 8     promote the wrongful venture’s success.
 9
10                                     Supporting Authorities
11            Doe v. GTE Corp, 347 F.3d 655, 659 (7th Cir. 2003) (evaluating internet service
12     provider’s liability under section 230 where wrongdoer posted surreptitiously obtained
13     photos of naked college athletes: “GTE’s activity does not satisfy the ordinary
14     understanding of culpable assistance to a wrongdoer, which requires a desire to promote
15     the wrongful venture’s success. See generally United States v. Pino-Perez, 870 F.2d 1230
16     (7th Cir. 1989) (en banc). A web host, like a delivery service or phone company, is an
17     intermediary and normally is indifferent to the content of what it transmits. Even entities
18     that know the information’s content do not become liable for the sponsor’s deeds. Does a
19     newspaper that carries an advertisement for “escort services” or “massage parlors” aid and
20     abet the crime of prostitution, if it turns out that some (or many) of the advertisers make
21     money from that activity? How about Verizon, which furnishes pagers and cell phones to
22     drug dealers and thus facilitates their business? GTE does not want to encourage the
23     surreptitious interception of oral communications, nor did it profit from the sale of the
24     tapes. It does profit from the sale of server space and bandwidth, but these are lawful
25     commodities whose uses overwhelmingly are socially productive. That web hosting
26     services likewise may be used to carry out illegal activities does not justify condemning
27     their provision whenever a given customer turns out to be crooked. [The wrongdoer] did
28     not demand a quantity or type of service that is specialized to unlawful activities, nor do

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 1     plaintiffs allege that the bandwidth or other services required were themselves tipoffs so
 2     that GTE, like the seller of sugar to a bootlegger, must have known that the customer had
 3     no legitimate use for the service. Just as the telephone company is not liable as an aider
 4     and abettor for tapes or narcotics sold by phone, and the Postal Service is not liable for
 5     tapes sold (and delivered) by mail, so a web host cannot be classified as an aider and abettor
 6     of criminal activities conducted through access to the Internet.”).
 7
 8                                 UNITED STATES’ OBJECTIONS
 9             The instruction is not supported by law. In Defendants’ sole supporting case, Doe
10     v. GTE Corp, 347 F.3d 655 (7th Cir. 2003), the Seventh Circuit affirmed the dismissal
11     under Section 230 of the Communications Decency Act of a civil suit against an internet
12     service provider. As this Court has already found, the CDA has no application to this
13     federal criminal prosecution. (Doc. 793 at 13; see generally Doc. 840.) Moreover, GTE
14     does not address the Travel Act or other charged offenses set forth in the SI. And while
15     Defendants style this as a “First Amendment” instruction, they cite no First Amendment
16     caselaw in support. The instruction should be rejected.
17            In all events, and contrary to GTE, there are many independent ways of proving that
18     a seller of goods or services (including a website operator) intended to facilitate unlawful
19     activity. See, e.g., People v. Lauria, 59 Cal. Rptr. 628, 632-33 (Cal. Ct. App. 1967) (a
20     seller’s intent to facilitate prostitution may be inferred from, inter alia: (1) “proof . . . of
21     inflated charges” for goods or services used for prostitution; (2) “evidence of any unusual
22     volume of business with prostitutes,” such as where “sales for illegal use amount to a high
23     proportion of the seller’s total business”; or (3) sales that “serve no other purpose than to
24     advertise the professional services of the prostitutes”); Wayne R. LaFave, 2 Substantive
25     Criminal Law (SUBCRL) § 12.2(c)(3), Providing goods or services, (3d ed., Oct. 2020
26     update) (intent may also be inferred from “the fact that the seller has made inflated charges,
27     that he has supplied goods or services which have no legitimate use, [] that the sales to the
28     illegal operation have become the dominant proportion of the seller’s business,” or the

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 1     seller’s use of deceptive or “secretive” tactics); Monica J. DeLateur, From Craigslist to
 2     Backpage.com: Conspiracy as a Strategy to Prosecute Third-Party Websites for Sex
 3     Trafficking, 56 Santa Clara L. Rev. 531, 581 (2016) (intent can be proven, inter alia, by
 4     showing “the illegal activity was a high proportion of the business, the presence of a stake
 5     in the venture, or deliberate ignorance”). Moreover, no inference of intent is needed in
 6     cases involving “[d]irect evidence of participation, such as advice from the supplier of legal
 7     goods or services to the user of those goods or services on their use for illegal purposes.”
 8     Lauria, 59 Cal. Rptr. at 632.
 9            Furthermore, a website operator may be found to have the requisite intent when the
10     defendant’s website was designed or tailored to further illegal activity. See, e.g., United
11     States v. Ulbricht, 31 F. Supp. 3d 540, 556 (S.D.N.Y. 2014) (“The Indictment does not
12     allege that Ulbricht is criminally liable simply because he is alleged to have launched a
13     website that was—unknown to and unplanned by him—used for illicit transactions. . . .
14     Rather, Ulbricht is alleged to have knowingly and intentionally constructed and operated
15     an expansive black market for selling and purchasing narcotics and malicious software and
16     for laundering money. This separates Ulbricht’s alleged conduct from the mass of others
17     whose websites may—without their planning or expectation—be used for unlawful
18     purposes.”); United States v. Omuro, N.D. Cal. No. 14-CR-336, Doc. 70 at 1-3 (court
19     accepted guilty plea and convicted www.myRedBook.com founder Eric Omuro under the
20     Travel Act, 18 U.S.C. § 1952(a)(3)(A); Omuro’s website hosted thousands of ads posted
21     by prostitutes in the western United States, and generated profits from fees paid by
22     “escorts” to post their ads more prominently); United States v. Hurant, E.D.N.Y. No. 16-
23     CR-45, Doc. 117 at 1, 6 13-14 (court accepted guilty plea and convicted
24     www.Rentboy.com founder Jeffrey Hurant for violating the Travel Act; Hurant admitted
25     he “was well aware…that the escort ads he posted…were thinly-veiled proposals of sexual
26     services in exchange for money”; id. Doc. 125 at 2 (like Backpage, Hurant’s employees
27     often rejected ads with explicit offers of sex for money “but allow[ed] the ad to be
28     resubmitted with different language. In many cases, Rentboy.com employees would just

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 1     edit the advertisement’s language and approve it.”).
 2            Finally, the instruction is unnecessary to the extent it merely reiterates any
 3     requirements from other instructions, including those regarding the substantive offenses
 4     charged in the SI.
 5            The instruction should not be given.
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